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                  EXHIBIT A
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 In re:
                                                              MASTER DOCKET
 CUSTOMS AND TAX ADMINISTRATION OF
 THE KINGDOM OF DENMARK                                  Case No. 1:18-MD-02865-LAK
 (SKATTEFORVALTNINGEN) TAX REFUND
 SCHEME LITIGATION                                           Jury Trial Demanded

 This document relates to 1:18-CV-05053-LAK.


  DEFENDANTS THE GOLDSTEIN LAW GROUP PC 401(K) PROFIT SHARING
 PLAN’S AND SHELDON GOLDSTEIN’S AMENDED ANSWER, AFFIRMATIVE
  DEFENSES, AND COUNTERCLAIMS AGAINST SKATTEFORVALTNINGEN
         AND AMENDED THIRD-PARTY COMPLAINT AGAINST
       ED&F MAN CAPITAL MARKETS, LTD. AND JOHN DOES 1–10

          Defendants the Goldstein Law Group PC 401(K) Profit Sharing Plan (the “Plan”)

and Sheldon Goldstein (collectively, the “Goldstein Parties”), by their attorneys Gusrae

Kaplan Nusbaum PLLC, answer the complaint (the “Complaint”) as follows:

                                    GENERAL DENIAL

          The Complaint contains allegations that pertain to the conduct of other unnamed

entities that applied for Danish tax refunds. 1 Unless otherwise expressly admitted or

denied, the Goldstein Parties deny such allegations because they lack knowledge or

information sufficient to form a belief regarding the truth of these allegations. No answer

is required to these allegations or other allegations that pertain to Danish withholding tax



1 The Complaint contains allegations referring to conduct of unnamed entities, referred

to in the Complaint as “claimants,” that purportedly submitted fraudulent applications
for repayment of taxes withheld from dividends paid on shares of Danish companies.
Compl. ¶¶ 4–7; 9; 11; 23–24; 26–28; 32–36; 39; 41–45.
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or the Danish Withholding Tax Act Convention and Protocol between the United States

and Denmark for the Avoidance of Double Taxation and the Prevention of Fiscal Evasion

with Respect to Taxes on Income, U.S.–Den., art. ¶¶ 10(3)(c), 22(2)(e), May 6, 1948, S.

Treaty Doc. No. 106-12 (effective date Jan. 1, 2001) (the “Double-Taxation Treaty”), which

call for legal conclusions.

                                 SPECIFIC RESPONSES

       1.     The Goldstein Parties lack knowledge or information sufficient to form a

belief regarding the truth of the allegations of Paragraph 1.

       2.     Paragraph 2 asserts legal conclusions to which no response is required. To

the extent that a response is required, Paragraph 2 is denied.

       3.     Paragraph 3 asserts legal conclusions to which no response is required. To

the extent that a response is required, Paragraph 3 is denied.

       4.     The Goldstein Parties lack knowledge or information sufficient to form a

belief regarding the truth of the allegations of Paragraph 4, except deny the allegations to

the extent they purport to implicate the Goldstein Parties in wrongful conduct.

       5.     The Goldstein Parties lack knowledge or information sufficient to form a

belief regarding the truth of the allegations of Paragraph 5, except deny the allegations

that the Plan knowingly submitted fraudulent requests for tax refunds to Plaintiff

Skatteforvaltningen (“SKAT”).

       6.     The Goldstein Parties lack knowledge or information sufficient to form a

belief regarding the truth of the allegations of Paragraph 6, except deny the allegations to

the extent they purport to implicate the Goldstein Parties in wrongful conduct.


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       7.     The Goldstein Parties lack knowledge or information sufficient to form a

belief regarding the truth of the allegations of Paragraph 7, except deny the allegations to

the extent they purport to implicate the Goldstein Parties in wrongful conduct.

       8.     The Goldstein Parties lack knowledge or information sufficient to form a

belief regarding the truth of the allegations of Paragraph 8, except aver that Plaintiff has

wrongfully withheld no less than DKK 1,080,000 to which the Goldstein Parties are

rightfully entitled, as detailed infra in the Goldstein Parties’ Counterclaims.

       9.     The Goldstein Parties lack knowledge or information sufficient to form a

belief regarding the truth of the allegations of Paragraph 9, except deny the allegations to

the extent they purport to implicate the Goldstein Parties in wrongful conduct.

       10.    The Goldstein Parties deny the allegations of Paragraph 10.

       11.    The Goldstein Parties lack knowledge or information sufficient to form a

belief regarding the truth of the allegations of Paragraph 11, except deny the allegations

to the extent they purport to implicate the Goldstein Parties in wrongful conduct.

       12.    The Goldstein Parties lack knowledge or information sufficient to form a

belief regarding the truth of the allegations of Paragraph 12.

       13.    The Goldstein Parties deny the allegations of Paragraph 13.

       14.    The Goldstein Parties admit the allegations of Paragraph 14.

       15.    The Goldstein Parties admit the allegations of Paragraph 15.

       16.    The Goldstein Parties lack knowledge or information sufficient to form a

belief regarding the truth of the allegations of Paragraph 16.




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      17.    The Goldstein Parties admit the allegations of Paragraph 17, except deny

the allegations to the extent that they suggest that the Plan was not a bona fide trust

forming part of a pension plan qualified and exempt from taxation under the U.S. Internal

Revenue Code and resident of the United States of America for purposes of U.S. taxation.

The Plan is, indeed, a bona fide trust forming part of a pension plan qualified under

Section 401(a) of the U.S. Internal Revenue Code, exempt from taxation under Section

501(a) of the U.S. Internal Revenue Code, and resident of the United States of America

for purposes of U.S. taxation.

      18.    The Goldstein Parties admit the allegations of Paragraph 18.

      19.    Paragraph 19 asserts legal conclusions to which no response is required. To

the extent that a response is required, the Goldstein Parties admit the allegations of

Paragraph 19.

      20.    Paragraph 20 asserts legal conclusions to which no response is required. To

the extent that a response is required, the Goldstein Parties admit the allegations of

Paragraph 20.

      21.    Paragraph 21 asserts legal conclusions to which no response is required. To

the extent that a response is required, the Goldstein Parties admit the allegations of

Paragraph 21.

      22.    Paragraph 22 asserts legal conclusions to which no response is required. To

the extent that a response is required, the Goldstein Parties admit the allegations of

Paragraph 22.




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       23.    The Goldstein Parties lack knowledge or information sufficient to form a

belief regarding the truth of the allegations of Paragraph 23, except deny the allegations

to the extent that they suggest that the Goldstein Parties did not actually own the relevant

shares giving rise to the claims filed with SKAT. The Goldstein Parties only knowingly

submitted refund claims for taxes paid on shares that the Goldstein Parties owned at the

time of the relevant dividends.

       24.    The Goldstein Parties lack knowledge or information sufficient to form a

belief regarding the truth of the allegations of Paragraph 24, except aver that the

Goldstein Parties purchased the relevant shares and applied for the concomitant tax

refunds in reliance on SKAT’s “normal practice [of] accept[ing] claims from designated

payment agents and[] transmit[ting] refunds to claimants through their designated

payment agents.”

       25.    The Goldstein Parties lack knowledge or information sufficient to form a

belief regarding the truth of the allegations of Paragraph 25, except deny the allegations

to the extent they purport to implicate the Goldstein Parties in wrongful conduct.

       26.    The Goldstein Parties lack knowledge or information sufficient to form a

belief regarding the truth of the allegations of Paragraph 26, except deny the allegations

to the extent they purport to implicate the Goldstein Parties in wrongful conduct.

       27.    The Goldstein Parties lack knowledge or information sufficient to form a

belief regarding the truth of the allegations of Paragraph 27, except deny the allegations

to the extent they purport to implicate the Goldstein Parties in wrongful conduct.




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        28.   The Goldstein Parties lack knowledge or information sufficient to form a

belief regarding the truth of the allegations of Paragraph 28, except admit that the

Goldstein Parties submitted to SKAT similar documentation of the Plan’s ownership of

shares and payment of tax on dividends when applying for tax refunds.

        29.   The Goldstein Parties lack knowledge or information sufficient to form a

belief regarding the truth of the allegations of Paragraph 29.

        30.   The Goldstein Parties lack knowledge or information sufficient to form a

belief regarding the truth of the allegations of Paragraph 30, except aver that the Plan

purchased the relevant shares and applied for the concomitant tax refunds in reliance on

SKAT’s “practice to pay claims that included the required supporting documentation.”

        31.   The Goldstein Parties lack knowledge or information sufficient to form a

belief regarding the truth of the allegations of Paragraph 31, except admit that SKAT

properly refunded the Plan for eight of the nine refund claims that the Plan made to

SKAT.

        32.   The Goldstein Parties lack knowledge or information sufficient to form a

belief regarding the truth of the allegations of Paragraph 32.

        33.   The Goldstein Parties lack knowledge or information sufficient to form a

belief regarding the truth of the allegations in Paragraph 33 of the Complaint, except

admit that the Plan made nine withholding tax refund claims to SKAT through its reclaim

agent, Goal Taxback Ltd. (“Goal”).

        34.   The Goldstein Parties lack knowledge or information sufficient to form a

belief regarding the truth of the allegations in Paragraph 34 of the Complaint, except deny


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that the Goldstein Parties knowingly made any “fraudulent claims” to SKAT; admit that

the Plan “represented that Goldstein was its Authorized Representative and agent who

had authority to act on its behalf with respect to Defendant Goldstein Law Plan’s claims;”

and deny any implication that such representation was false.

         35.   The Goldstein Parties lack knowledge or information sufficient to form a

belief regarding the truth of the allegations in Paragraph 35 of the Complaint, except deny

that the Goldstein Parties knowingly made any “fraudulent claims” to SKAT; admit that

the Plan “represented that non-party Goal was its agent and had authority to act on its

behalf with respect to its claims;” and deny any implication that such representation was

false.

         36.   The Goldstein Parties lack knowledge or information sufficient to form a

belief regarding the truth of Paragraph 36, except admit that the Plan made nine separate

withholding tax refund claims totaling approximately DKK 11,343,510 on or around

March 26, 2014; April 4, 2014; May 2, 2014; May 6, 2014; December 10, 2014; March 3, 2015;

March 4, 2015; March 26, 2015; and August 10, 2015; and deny any implication that any

claim made by the Goldstein Parties was fraudulent or otherwise knowingly or

intentionally wrongful.

         37.   The Goldstein Parties deny the allegations of Paragraph 37.

         38.   The Goldstein Parties deny the allegations of Paragraph 38. The Goldstein

Parties admit that the Plan received refund payments from SKAT on or around April 30,

2014; May 2, 2014; January 20, 2015; and May 18, 2015.




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      39.    The Goldstein Parties lack knowledge or information sufficient to form a

belief regarding the truth of Paragraph 39, except admit that the Plan granted Goal

authority to submit refund claims to SKAT on the Plan’s behalf.

      40.    Paragraph 40 purports to summarize a document that speaks for itself. To

the extent that a response is required, the Goldstein Parties admit the allegations of

Paragraph 40.

      41.    The Goldstein Parties lack knowledge or information sufficient to form a

belief regarding the truth of the allegations of Paragraph 41, except deny that the

Goldstein Parties ever knowingly directed anyone to submit fraudulent withholding tax

refund claims.

      42.    The Goldstein Parties lack knowledge or information sufficient to form a

belief regarding the truth of Paragraph 42, except admit that the Plan authorized Goal to

submit tax refund claims on its behalf, and deny any implication that they ever

knowingly authorized anyone to submit fraudulent claims on their behalf.

      43.    Paragraph 43 purports to summarize documents that speak for themselves.

To the extent that a response is required, the Goldstein Parties lack knowledge or

information sufficient to form a belief regarding the truth of Paragraph 43, except admit

that Goal submitted cover letters attaching documentation similar to that summarized in

Paragraph 28.

      44.    Paragraph 44 purports to summarize documents that speak for themselves.

To the extent that a response is required, the Goldstein Parties lack knowledge or

information sufficient to form a belief regarding the truth of the allegations of Paragraph


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44, except admit that Goal submitted cover letters attaching documentation similar to that

summarized in Paragraph 28.

      45.    The Goldstein Parties lack knowledge or information sufficient to form a

belief regarding the truth of the allegations of Paragraph 45, except admit that the Plan

received proceeds from eight of the refund claims submitted to SKAT, and deny that said

claims were knowingly fraudulent or that the Goldstein Parties were “participants in the

fraud.”

      46.    The Goldstein Parties lack knowledge or information sufficient to form a

belief regarding the truth of the allegations of Paragraph 46, except admit that tax

vouchers reflecting the Plan’s ownership of the relevant shares were prepared by ED&F

Man Capital Markets, Ltd. and submitted with each refund claim to SKAT.

      47.    Paragraph 47 purports to summarize a document that speaks for itself. To

the extent that a response is required, the Goldstein Parties admit the allegations of

Paragraph 47.

      48.    The Goldstein Parties deny the allegations of Paragraph 48.

      49.    The Goldstein Parties lack knowledge or information sufficient to form a

belief regarding the truth of the allegations of Paragraph 49, except deny that any refund

claims submitted by the Plan were knowingly fraudulent, and admit that SKAT refused

to refund the Plan for one of its claims and demanded repayment of the refunds SKAT

had already paid to the Plan.




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                                  CAUSES OF ACTION

                                       COUNT I
                           (Fraud – Against both Defendants)

       50.    In response to Paragraph 50, the Goldstein Parties repeat and reallege their

foregoing responses as if fully set forth herein.

       51.    The Goldstein Parties deny the allegations of Paragraph 51.

       52.    The Goldstein Parties deny the allegations of Paragraph 52.

       53.    The Goldstein Parties deny the allegations of Paragraph 53.

       54.    The Goldstein Parties deny the allegations of Paragraph 54.

                                     COUNT II
                (Aiding and Abetting Fraud – Against both Defendants)

       55.    In response to Paragraph 55, the Goldstein Parties repeat and reallege their

foregoing responses as if fully set forth herein.

       56.    The Goldstein Parties lack knowledge or information sufficient to form a

belief regarding the truth of the allegations in paragraph 56 of the Complaint, except deny

any implication that the Goldstein Parties knowingly perpetrated, indirectly or directly,

any fraud on SKAT.

       57.    The Goldstein Parties deny the allegations of Paragraph 57.

       58.    The Goldstein Parties deny the allegations of Paragraph 58.

       59.    The Goldstein Parties deny the allegations of Paragraph 59.

       60.    The Goldstein Parties deny the allegations of Paragraph 60.

       61.    The Goldstein Parties deny the allegations of Paragraph 61.




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                                    COUNT III
                   (Payment by Mistake – Against Both Defendants)

       62.    In response to Paragraph 62, the Goldstein Parties repeat and reallege their

foregoing responses as if fully set forth herein.

       63.    The Goldstein Parties deny the allegations of Paragraph 63.

       64.    The Goldstein Parties deny the allegations of Paragraph 64.

       65.    The Goldstein Parties deny the allegations of Paragraph 65.

       66.    The Goldstein Parties deny the allegations of Paragraph 66.

       67.    The Goldstein Parties deny the allegations of Paragraph 67.

                                    COUNT IV
                    (Unjust Enrichment – Against both Defendants)

       68.    In response to Paragraph 68, the Goldstein Parties repeat and reallege their

foregoing responses as if fully set forth herein.

       69.    The Goldstein Parties deny the allegations of Paragraph 69

       70.    The Goldstein Parties deny the allegations of Paragraph 70.

       71.    The Goldstein Parties deny the allegations of Paragraph 71.

       72.    The Goldstein Parties deny the allegations of Paragraph 72.

                                   COUNT V
                (Money Had and Received – Against Both Defendants)

       73.    In response to Paragraph 73, the Goldstein Parties repeat and reallege their

foregoing responses as if fully set forth herein.

       74.    The Goldstein Parties deny the allegations of Paragraph 74.

       75.    The Goldstein Parties deny the allegations of Paragraph 75.



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                                     COUNT VI
               (Negligent Misrepresentation – Against Both Defendants)

       76.    In response to Paragraph 76, the Goldstein Parties repeat and reallege their

foregoing responses as if fully set forth herein.

       77.    The Goldstein Parties deny the allegations of Paragraph 77.

       78.    The Goldstein Parties deny the allegations of Paragraph 78.

       79.    The Goldstein Parties deny the allegations of Paragraph 79.

       80.    The Goldstein Parties deny the allegations of Paragraph 80.

                               AFFIRMATIVE DEFENSES

                            FIRST AFFIRMATIVE DEFENSE

       81.    The Complaint fails to state a claim upon which relief can be granted.

                          SECOND AFFIRMATIVE DEFENSE

       82.    Plaintiff’s claims are barred, in whole or in part, under the doctrines of

laches, waiver, and/or ratification.

                           THIRD AFFIRMATIVE DEFENSE

       83.    Plaintiff’s claims are barred, in whole or in part, because Plaintiff has failed

to join necessary and indispensable parties.

                          FOURTH AFFIRMATIVE DEFENSE

       84.    Plaintiff’s claims are barred, in whole or in part, because any and all losses

sustained were due to Plaintiff’s own acts and/or omissions.




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                            FIFTH AFFIRMATIVE DEFENSE

       85.    Plaintiff’s claims are barred, in whole or in part, under the doctrines of

accord and satisfaction.

                            SIXTH AFFIRMATIVE DEFENSE

       86.    Plaintiff’s claims are barred, in whole or in part, under the doctrine of

estoppel.

                           SEVENTH AFFIRMATIVE DEFENSE

       87.    Plaintiff’s claims for equitable relief are barred, in whole or in part, by the

doctrine of unclean hands and Plaintiff’s bad faith in initiating its suit in this jurisdiction

while, upon information and belief, Plaintiff is simultaneously pursuing remedies for the

same allegations contained in the Complaint in foreign jurisdictions and referring the

same and / or similar allegations contained in the Complaint to other agencies in other

jurisdictions for identical and / or substantially similar relief.

                           EIGHTH AFFIRMATIVE DEFENSE

       88.    Plaintiff’s claim for unjust enrichment seeks to recover damages that

Plaintiff is not entitled to recover in this case and award of the judgment sought by

Plaintiff would unjustly enrich Plaintiff.

                            NINTH AFFIRMATIVE DEFENSE

       89.    Defendant reserves the right to add additional Affirmative Defenses as may

become apparent during the course of this litigation.




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                                        DEFENSES

                                     FIRST DEFENSE

      90.      Plaintiff’s claims are barred as the Goldstein Parties did not knowingly

participate in any fraudulent scheme or other wrongful conduct. Demonstrative of the

lack of any wrongful conduct by the Goldstein Parties are, inter alia, the following:

            a. All transactions in Danish securities were arranged and executed by ED&F
               Man Capital Markets Ltd. (“ED&F Man” or the “Brokerage”), a registered
               broker–dealer subject to the rule of law governing broker–dealers in the
               United Kingdom, which issued various confirmations and written
               verifications of the transactions for the Plan;

            b. In the United States, the use of derivative securities and other arbitrage
               strategies is legal and routine in securities markets;

            c. Neither of the Goldstein Parties had any control over ED&F Man’s internal
               procedures nor was in any way, directly or indirectly, involved in the
               custody and control of the Danish securities that the Plan transacted in its
               brokerage account at ED&F Man. The Goldstein Parties relied on the
               excellent reputation of ED&F Man and the laws of the United Kingdom and
               United States and had no reason to believe that ED&F Man would
               inaccurately represent the Plan’s ownership of the relevant Danish
               securities or payment of the relevant Danish taxes. The course of activity
               relating to the trading and arbitrage activity in the Plan’s ED&F Man
               account was similar to various arbitrage strategies developed and used in
               the United States securities markets.

                                   SECOND DEFENSE

      91.      The claims are barred, in whole or in part, because at all times the Goldstein

Parties acted with reasonable care with respect to the matters alleged in the Complaint,

including, but not limited to, those matters represented in the Plan’s applications

claiming repayment of tax withheld on dividends earned on shares of Danish companies

(the “Reclaim Applications”). Relying on ED&F Man’s compliance with U.K. laws and




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regulations, the Goldstein Parties had reasonable grounds to believe, and did believe,

that the Reclaim Applications were true.

                                    THIRD DEFENSE

       92.    Plaintiff’s claims are barred, in whole or in part, because neither of the

Goldstein Parties acted to induce any act or acts alleged in the Complaint to constitute

any fraud.

                                   FOURTH DEFENSE

       93.    The Goldstein Parties hereby reserve and assert all defenses and affirmative

defenses available under any applicable federal or state law. The Goldstein Parties have

insufficient knowledge or information upon which to form a belief regarding whether

they may have available other defenses or affirmative defenses. The Goldstein Parties

reserve their right to assert any additional defenses or affirmative defenses that discovery

indicates may be appropriate.




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         COUNTERCLAIMS AGAINST SKATTEFORVALTNINGEN AND
                    THIRD-PARTY CLAIMS AGAINST
          ED&F MAN CAPITAL MARKETS, LTD. AND JOHN DOES 1–10

      As and for their counterclaims against SKAT and third-party claims against ED&F

Man and John Does 1–10, the Goldstein Parties respectfully allege:

      94.    This action is one of hundreds filed by SKAT throughout the United States,

consolidated for pre-trial purposes into this multi-district litigation in the Southern

District of New York (the “MDL”).

      95.    SKAT alleges that the MDL defendants engaged in a scheme to wrongfully

obtain tax refunds from SKAT by falsely representing that (a) they owned shares in

Danish companies and received dividends issued by them, (b) the issuer had withheld

Danish taxes on the dividends received by the MDL defendants, and (c) as tax-exempt

entities, the MDL defendants were entitled to refunds pursuant to the Double-Taxation

Treaty. See Dkt. 37, Transfer Order, In re: Customs and Tax Admin. of the Kingdom of

Denmark (SKAT) Tax Refund Scheme Litigation, 18-md-2865 (Oct. 3, 2018); see also, e.g.,

Compl. ¶¶ 3–4, 22 n.2, 37.

      96.    SKAT’s counsel has told the Court that SKAT believes that U.K. national

Sanjay Shah is the “mastermind” of the alleged fraudulent scheme set forth in the

Complaint (the “Shah Scheme”).

      97.    SKAT has repeated the Shah-centric theory in other jurisdictions, including

in the High Court of Justice, Business and Property Courts of England and Wales,

Commercial Court, where it has sued Mr. Shah and ED&F Man, among other parties (the

“English Action”).


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       98.    SKAT has not, however, alleged any connection between the Goldstein

Parties and the Shah Scheme.

       99.    The Goldstein Parties have no commonality with or connection to the Shah

Scheme’s “mastermind,” Mr. Shah’s allegedly-numerous accomplices, the overwhelming

majority of MDL defendants, or the SKAT employee sentenced to six years in Danish

prison for stealing millions from SKAT.

       100.   Neither the Plan nor Mr. Goldstein has ever attempted to defraud SKAT.

       101.   Mr. Goldstein is 81 years old and worked in Manhattan as a securities

lawyer for decades before retiring approximately ten years ago.

       102.   In 1998, Mr. Goldstein founded non-party the Goldstein Law Group PC,

which was the successor to law firms formed and managed by Mr. Goldstein since 1980.

       103.   Each of Mr. Goldstein’s law firms really existed: they had real offices, real

employees, real payrolls, real benefit plans, and real clients.

       104.   The Goldstein Plan is a bona fide pension plan, established in 1999 to

safeguard firm personnel’s retirement savings and other investments.

       105.   All of the Plan’s transactions at issue in this case were solicited, arranged,

funded, and executed by third-party defendant ED&F Man, with which the Plan had a

brokerage account from 2012 to 2019.

       106.   In 2012, ED&F Man’s equity finance personnel (the “Equity Finance Desk”)

solicited the Plan to open a brokerage account for the purpose of engaging in dividend

arbitrage transactions.




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          107.   Upon information and belief, the Plan’s citizenship and status as a U.S. tax-

exempt entity caused ED&F Man to solicit and pursue the Plan’s business.

          108.   As detailed infra, the Equity Finance Desk’s business model revolved

around soliciting, structuring, funding, clearing, and executing European and cross-

border transactions for American investors.

          109.   Indeed, each and every contract that the Plan executed with ED&F Man

expressly left open the possibility that the Plan would hale ED&F Man into American

courts.

          110.   Those forum non-selection clauses were commercially reasonable and

logical: the Brokerage’s entire business model demands its purposeful availment of New

York.

          111.   ED&F Man’s promotional materials, including its website, emphasizes its

access to “all U.S. equity and options markets,” which are centered in Manhattan.

          112.   ED&F Man also advertises that it has co-location facilities—essentially, on-

site servers that facilitate faster securities trading—at the New York Mercantile Exchange

in Brookfield Place, the Intercontinental Exchange on Wall Street, and BrokerTec, which

is across the street from Bryant Park.

          113.   Furthermore, instead of requiring its U.S. clients to open English bank

accounts, ED&F Man regularly deposits into and withdraws from its clients’ U.S.

accounts.




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      114.   For example, ED&F Man transferred money to and from the Plan via a

National Financial Services brokerage account located at J.P. Morgan Chase at One Chase

Plaza, New York, New York 10005.

      115.   Because the New York-based Plan was a U.S. nonprofit entity exempt from

taxation, ED&F Man promised that in exchange for the Plan’s business (and significant

fees for facilitating the dividend arbitrage proceeds), ED&F Man would (1) through the

Plan’s Authorized Agent, 2 bring dividend arbitrage opportunities to the Plan; (2)

structure, facilitate, and fund the Plan’s pre-dividend purchases of securities in a manner

that would entitle the Plan to tax-free dividends; and (3) create the certifications of

securities ownership and dividend receipts necessary for the Plan to apply for the tax

refunds.

      116.   In soliciting the Plan to open an account and engage ED&F Man to arrange

and execute dividend arbitrage trading, ED&F Man directly and indirectly reassured the

Plan that such activity was wholly proper and, through simultaneous hedges, posed

minimal market risk.

      117.   To enable tax-exempt clients like the Plan to engage in dividend arbitrage,

ED&F Man provided securities lending and financing.

      118.   In doing so, the Equity Finance Desk earned millions of dollars for ED&F

Man, ED&F Man’s affiliates, and the Desk’s personnel.




2 All communications between ED&F Man and the Plan were conducted via the Plan’s

authorized agent, Acer Investment Group, LLC (the “Authorized Agent”).


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      119.   Beginning in 2013, ED&F Man introduced the Plan to the Danish securities

transactions that gave rise to the Plan’s nine tax refund applications to SKAT (the “Danish

Transactions”).

      120.   ED&F Man solicited the Plan because it needed the Plan and similarly-

situated clients to effectuate the Danish Transactions: without U.S.-based tax-exempt

pension plans, there was no party that could be entitled to Double-Taxation Treaty

dividend refunds.

      121.   ED&F Man solicited the Plan to engage in the Danish Transactions,

arranged and executed all of the Transactions, and provided trade confirmations

reflecting the Plan’s purchases of the securities and receipts of the ensuing dividends.

      122.   After the dividends issued, ED&F Man prepared “Tax Vouchers”

identifying the Plan’s New York residency and certifying that the Plan had “[held]” the

securities over the dividend dates, received the dividends net withholding, and

“suffered” the withheld Danish taxes.

      123.   ED&F Man then sent the Tax Vouchers directly to Goal, the tax reclaim

agent that ED&F Man had recommended and introduced to the Plan.

      124.   Throughout their relationship with the Brokerage, the Goldstein Parties

reasonably relied on ED&F Man’s strong reputation and 230-year history to trust that all

activity in the Plan’s account was lawful.

      125.   The Goldstein Parties also trusted the veracity of the years of steady

communications and hundreds of trade documents and account statements that ED&F

Man created for and provided to the Plan.


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      126.      Most relevant to this action, the Goldstein Parties trusted that ED&F Man

actually arranged and executed all of the Danish Transactions that gave rise to the Tax

Vouchers.

      127.      After all, dividend arbitrage was the fundamental purpose of the parties’

relationship, and there could be no dividend arbitrage unless ED&F Man actually

facilitated those Transactions and created truthful Tax Vouchers.

      128.      In September 2018, SKAT sued ED&F Man in the English Action for

tortiously creating and issuing the Tax Vouchers.

      129.      After SKAT initiated this action in June 2018, and even after the Goldstein

Parties filed their initial amended complaint and third-party claims against ED&F Man,

the Brokerage continued to reassure the Goldstein Parties that the Plan’s Danish

Transactions and Tax Vouchers had been proper.

      130.      But in September 2019, ED&F Man filed an amended answer in the English

Action (the “Amended English Answer”) and admitted that at least four of the nine Tax

Vouchers it created for the Plan’s submission to SKAT were false (the “Disavowed

Vouchers”). Amended Defence of ED&F Man Capital Markets Ltd., Annex E, SKAT v.

ED&F Man Capital Markets Ltd. et al., Nos. CL-2018-000297, CL-2018000590 (Sept. 6,

2019) (the “Amended English Answer”).

      131.      A true and correct copy of the Amended English Answer is annexed hereto

as Exhibit A.

      132.      True and correct copies of the four Disavowed Vouchers are annexed hereto

as Exhibits B (TDC), C (Danske Bank), D (Novo Nordisk), and E (D/S Norden).


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      133.      ED&F Man has refused to explain why—five years after the trades

occurred, and nearly two years after SKAT sued the Brokerage in England—it now says

that the Disavowed Vouchers were improper.

      134.      ED&F Man also has refused to explain whether and how the Transactions

underlying the Disavowed Vouchers differed from the Plan’s remaining five Danish

Transactions.

      135.      But considering that ED&F Man created an entirely separate list of Tax

Vouchers that were wrongful because ED&F had incorrectly calculated the refunds due,

it is safe to assume that the Disavowed Vouchers’ flaws are not merely arithmetic.

Compare Amended English Answer Annex A and Annex E.

      136.      Subsequent investigation has revealed that ED&F Man defrauded the

Goldstein Parties.

      137.      As it admitted by disavowing the Vouchers, ED&F Man falsely certified

that the Plan had received dividends net of withholding.

      138.      ED&F Man then compounded its wrongful conduct by issuing the

Disavowed Vouchers to Goal with the intention and expectation that Goal would send

them to SKAT.

      139.      Once SKAT processed the Reclaim Applications—whose linchpins were the

false Tax Vouchers—it remitted the refunds to an ED&F Man account, and ED&F

allocated the appropriate amounts to the Plan.

      140.      ED&F Man then charged the Plan fees that amounted to a significant

amount of the tax refunds.


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       141.   In other words, ED&F created and issued fraudulent Tax Vouchers to

SKAT, and then reaped the rewards.

       142.   Upon information and belief, ED&F Man fabricated trading records to give

the false impression that the dividends’ issuers had paid the Plan the net dividends

underlying the Disavowed Vouchers.

       143.   Furthermore, despite legal and contractual obligations to the contrary,

ED&F Man failed to disclose that after it solicited the Plan to engage in the Danish

Transactions, it surreptitiously caused the Plan to trade with, from, and through ED&F

Man affiliates.

       144.   In reality, ED&F Man’s recent admissions suggest that it solicited and

structured at least four of the nine Danish Transactions in order to create the mere

appearance of legitimacy, instead of ensuring that the Plan actually had received the net

dividends from the issuer.

       145.   Now, ED&F Man is attempting to cover its tracks: it closed the Equity

Finance Desk, fired all of Equity Finance personnel, and forced its European CEO to

“resign” just two weeks before it filed the Amended English Answer and admitted that

dozens of the Tax Vouchers are baseless.

       146.   Consequently, the Goldstein Parties implead ED&F Man, which had sole

responsibility for, unique knowledge of, and actively committed the misconduct SKAT

has alleged against the Goldstein Parties.




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                                        The Parties

       147.   Defendant–Counterclaim-Plaintiff–Third-Party Plaintiff the Goldstein Law

Group PC 401(K) Profit Sharing Plan (the “Plan”) is a trust forming part of a pension,

profit sharing, or stock bonus plan qualified under section 401(a) of the United States

Internal Revenue Code, exempt from taxation under section 501(a) of the United States

Internal Revenue Code, and resident of the United States of America for purposes of U.S.

taxation.

       148.   While the Plan’s current address is 6179 Seascape Terrace, Boynton Beach,

Florida 33437, at all times relevant to this Complaint, the Plan was located at 61

Broadway, New York, New York 10006.

       149.   All of the correspondence and contracts between ED&F Man and the Plan

are addressed to the Plan’s Manhattan address.

       150.   At all times relevant to the Complaint, Defendant–Counterclaim-Plaintiff –

Third-Party Plaintiff Sheldon Goldstein was a participant in the Plan. Mr. Goldstein

served as a trustee for the Plan at all relevant times.

       151.   Plaintiff–Counterclaim-Defendant SKAT purports to be the Danish

national agency charged with assessing and collecting taxes.

       152.   Third-Party Defendant ED&F Man is headquartered at 3 London Bridge

Street, London, SE1 9SG United Kingdom, and is authorized and regulated by the United

Kingdom Financial Conduct Authority (“FCA”) and registered in England.




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       153.     ED&F Man is a wholly-owned subsidiary of non-party ED&F Man

Holdings Ltd. (“Holdings”), which advertises itself as an “agricultural commodities

merchant with 7,000 people in 60 countries.”

       154.     In the English Action, ED&F Man pleaded that it is a global financial

brokerage business authorized by the FCA to provide, inter alia, (1) specialized securities

lending and financing services, (2) clearing and settlement for equities and fixed-income

securities, and (3) custodian services for exchange-traded and over-the-counter

transactions.

       155.     SKAT has not sued ED&F Man or any of its affiliates in the United States.

                                        Jurisdiction

       156.     These counter- and third-party claims arise from the facts and

circumstances relating to the transactions set forth in the Complaint filed by SKAT.

       157.     As conceded in SKAT’s Complaint, this Court has jurisdiction over these

counterclaims pursuant to 28 U.S.C. § 1332(a)(4) because the amount in controversy

exceeds $75,000, exclusive of interest and costs, and because it is between U.S. citizens

and a foreign State.

       158.     This Court also has jurisdiction over this matter as the Goldstein Parties

assert a third-party claim for securities fraud arising under the Securities Exchange Act

of 1934, 15 U.S.C. § 78a et seq. (the “Exchange Act”), specifically the action for fraud

prohibited by 15 U.S.C. § 78j(b) and Rule 10b-5 promulgated thereunder.

       159.     This Court has jurisdiction over the remaining third-party claims pursuant

to 28 U.S.C. § 1332(a)(2) because the amount in controversy exceeds $75,000, exclusive of


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interest and costs, and because it is between citizens of the United States and subjects of

a foreign State.

       160.   This Court may exercise specific jurisdiction over U.K.-domiciled ED&F

Man pursuant to N.Y. C.P.L.R. § 302(a)(3) because ED&F Man’s fraud, securities fraud,

breach of fiduciary duty, and negligence caused injury to New York people and property,

including the Goldstein Parties.

       161.   This Court also may exercise specific jurisdiction over ED&F Man pursuant

to N.Y. C.P.L.R. § 302(a)(1) because the Goldstein Parties’ third-party claims arise from

New York business transacted by ED&F Man.

       162.   As detailed infra, this Court has jurisdiction over ED&F Man because it

solicited and executed contracts with the New York-based Plan; solicited the Plan to

engage in the Danish Transactions; arranged and executed the Danish Transactions;

created fraudulent Tax Vouchers; and, knowing that the Plan was domiciled in New

York, defrauded the Plan and breached its contractual and fiduciary duties in connection

with the Danish Transactions.

       163.   Exercising personal jurisdiction over ED&F Man also is appropriate

because it arranged and executed the Danish transactions for at least 31 U.S. pension

plans sued by SKAT in this MDL: three domiciled in New Jersey, three in the Southern

District of New York, two in Connecticut, 15 in the Eastern District of Kentucky, one in

the Eastern District of Pennsylvania, one in the Northern District of Illinois, and six in the

Central District of Utah.




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       164.      SKAT alleges that ED&F Man created dozens of fraudulent Tax Vouchers

that caused it to pay out hundreds of millions of dollars in unjustified tax refunds.

       165.      In the Amended English Answer, ED&F Man, itself, admitted that it created

and issued approximately 80 wrongful Tax Vouchers for U.S. pension plans that caused

SKAT to pay out tens of millions of dollars.

       166.      These Counterclaims and Third-Party Claims are properly venued in this

Court because their facts and circumstances arise out of the same transactions that are the

subject of the Complaint initiated by SKAT in this District.

       167.      These Counterclaims and Third-Party Claims also are properly venued in

this Court because the facts and circumstances relating to the claims occurred in part in

this District.




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                         COUNTER-STATEMENT OF FACTS

          ED&F Man’s Core Dividend Arbitrage Business Depended Upon
                      Targeting U.S. Tax-Exempt Entities

      168.    For the purposes of this litigation, “dividend arbitrage” is the practice of

tax-exempt entities purchasing securities in order to receive the full benefit of the

dividends.

      169.    Dividend arbitrage is designed to generate profit where the security’s

purchaser will be entitled to net more of the dividend than the security’s seller would

have been able to.

      170.    As early as 2008, the U.S. Senate recognized that as a condition of business,

New York-based institutional investors demand that brokerages offer dividend arbitrage.

      171.    To do so, brokerages must match their for-profit clients with tax-exempt

purchasers.

      172.    Here, the Plan was an ideal Danish dividend arbitrageur for ED&F Man.

      173.    By prohibiting Denmark from taxing Danish dividends paid to U.S. pension

plans, the Double-Taxation Treaty creates an opportunity for dividend arbitrage.

      174.    Unlike with American securities, where the dividend recipient is

responsible for reporting and remitting taxes, Danish issuers must withhold tax when

they pay out dividends and pay these withheld sums to the Danish government.

      175.    To receive Danish dividend tax refunds, tax-exempt entities like the Plan

must submit Reclaim Applications to SKAT.




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      176.     If not for SKAT’s promise to refund dividend taxes to U.S. pensions, the

Plan would never have invested in the Danish companies, let alone paid taxes on the

resulting dividends.

      177.     Indeed, as a general matter, it would have made no sense for the non-profit,

U.S.-tax-exempt Plan to purchase stock that would incur a 27% Danish dividend tax,

particularly when the United States has taxation treaties with over 60 other countries.

      178.     Until August 2015, so long as the Reclaim Applications included the

necessary documents and properly calculated the amounts due, SKAT promptly remitted

the refunds.

 The Goldstein Parties Had No Reason to Doubt the Reclaim Applications’ Validity

      179.     Relying on ED&F Man’s compliance with all applicable laws and

regulations, the Plan agreed to open a Brokerage account and participate in the nine

Danish Transactions.

      180.     ED&F Man solicited, structured, and executed the Danish Transactions so

the Plan could apply for tax refunds on dividends issued by (1) TDC Group on March 7,

2014; (2) Danske Bank on March 24, 2014; (3) Novo Nordisk on March 26, 2014; (4) D/S

Norden on April 29, 2014; (5) Coloplast on December 9, 2014; (6) Novozymes on March

2, 2015; (7) Danske Bank on March 23, 2015; (8) Novo Nordisk on March 24, 2015; and (9)

TDC Group on August 12, 2015.

      181.     ED&F Man purports to explain the mechanics of these transactions in the

Amended English Answer. See generally Amended English Answer ¶¶ 10.2–10.5.




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       182.   ED&F Man claims that when it became aware of a Danish issuer’s intent to

issue dividends, ED&F Man would solicit a U.S. pension plan client and, after

ascertaining the plan’s interest, acquire the security.

       183.   Then, ED&F Man would sell the security to the U.S. tax-exempt pension

plan while simultaneously hedging the transaction.

       184.   ED&F Man says that at the time the dividend issued, the Brokerage would

hold the securities as a bare trustee on behalf of the plan in the plan’s ED&F Man custody

account in accordance with a custody agreement and a security and set-off deed.

       185.   Once the Danish company paid the dividend net of withholding into a

general ED&F Man account, the Brokerage would credit the relevant amount to a U.S.

plan’s brokerage account.

       186.   ED&F Man then would prepare a Tax Voucher and, in the case of the Plan’s

Reclaim Applications, submit it to the Plan’s reclaim agent Goal, which ED&F Man had

introduced to the Plan.

       187.   After receiving ED&F Man’s Tax Voucher, Goal would compile the Reclaim

Application and submit it to SKAT.

       188.   SKAT generally would process the Reclaim Application within a few weeks

of receipt and refund the withheld tax to Goal, which, after deducting its own fees,

transferred the balance to ED&F Man.

       189.   ED&F Man would then credit the remaining refund to the pension plan’s

brokerage account.




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      190.      ED&F Man also would charge the plan additional fees for providing the

dividend arbitrage opportunity and facilitating the transaction.

      191.      ED&F Man purports to have followed this process for each of the Danish

Transactions.

      192.      Indeed, an ED&F Man-created general ledger purporting to reflect all nine

Danish Transactions suggests that for each and every Reclaim Application submitted to

SKAT, the Plan (a) owned the relevant shares on their respective record dates and (b) was

paid the dividends, minus Danish taxes (the “General Ledger”).

      193.      At all relevant times herein, the Goldstein Parties had no reason to doubt

the communications that ED&F Man made or transaction confirmations, Tax Vouchers,

General Ledger or the other documents that ED&F Man prepared in connection with the

Danish Transactions.

 SKAT Had No Particularized Basis to Reject the Plan’s Ninth Reclaim Application

      194.      SKAT issued refunds to the Plan for the first eight dividends.

      195.      But after SKAT paid those eight refunds, it began publicly claiming that Mr.

Shah “masterminded” a scheme whereby foreign pension plans would fraudulently

submit refund claims.

      196.      Soon thereafter, SKAT denied the Plan’s Reclaim Application for the

August 2015 TDC Group dividend.

      197.      On August 26, 2015, SKAT revealed that a “foreign authority” had notified

SKAT of the allegations underlying this MDL and that SKAT had reported those




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allegations to the Danish Public Prosecutor for Serious Economic and International Crime

(“SØIK”).

       198.   Since then, SKAT has argued that one individual, Dubai-based and U.K.-

born Sanjay Shah, is the “mastermind” of the allegedly-fraudulent Shah Scheme. 3

       199.   In England, SKAT alleged that Mr. Shah perpetrated the scheme through

entities he controlled, including several that SKAT has discussed in its MDL complaints:

Old Park Lane Capital Ltd., Salgado Capital, Solo Capital Partners LLP, Syntax GIS Ltd.,

Telesto Markets LLP, and West Point Derivatives Ltd. (the “Shah Entities”).

       200.   SKAT alleges connections to the Shah Entities in 154 of its 183 MDL

complaints.

       201.   But SKAT has never alleged that the Goldstein Parties are connected to Mr.

Shah or his Entities.

       202.   Upon information and belief, SKAT has never identified any connection

between the Goldstein Parties and Mr. Shah or the Shah Entities.

       203.   Indeed, the Goldstein Parties are fundamentally different from the Shah

Entities and the vast majority of this MDL’s defendants.

       204.   SKAT’s own allegations reveal that the Goldstein Parties simply are not

part of the Shah Scheme.




3 See generally Transcript of Record, In re SKAT Tax Refund Scheme Litig., 18-cv-4047

(June 26, 2018); see also, e.g., Compl. ¶¶ 2, 3, 5, 25.


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       205.   For example, while a total of seven people served as the authorized

representatives for 157 of the 183 MDL plan defendants, Mr. Goldstein only represented

the Plan.

       206.   While the average MDL plan defendant submitted approximately 14

Reclaim Applications, the Plan submitted only nine.

       207.   While SKAT alleges an average of more than $5.8 million in damages per

complaint, it only alleges $1.49 million against the Plan.

       208.   And while SKAT alleges that the majority of the MDL plan defendants were

formed shortly before they began submitting Danish reclaim applications, the Goldstein

Plan existed for 15 years before it filed its first Reclaim Application.

       209.   The Goldstein Parties simply bear none of the many indicia of fraud that

SKAT alleges.

                  SKAT’S Deficient Refund Processes Cannot Justify
                     Its Breaches of the Double-Taxation Treaty

       210.   Upon information and belief, SKAT failed to review the specific facts and

circumstances relating to the Danish Transactions before it denied the Plan’s ninth refund

and haled the Goldstein Parties into this Court.

       211.   In August 2016, Denmark’s tax minister announced that the country would

budget billions of kroner to implement a new information technology infrastructure and

hire 2000 new employees by 2020.

       212.   He did so because of public outrage over SKAT’s many flagrant missteps.




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      213.   Throughout the relevant time period, SKAT entrusted just one man, Sven

Nielsen, with processing all tax refund applications.

      214.   But SKAT failed to provide Mr. Nielsen with the necessary tools to examine

whether a pension plan had actually owned the shares it claimed to own or had actually

received the net dividends.

      215.   Instead, Mr. Nielsen merely checked whether applications included the

necessary documents and had properly calculated refunds.

      216.   Mr. Nielsen’s former supervisor, who had raised concerns about

application processing for years before her 2013 retirement, told The New York Times

that “[Mr. Nielsen’s] job was reduced to bookkeeping, essentially, checking if a form was

filled out properly. A monkey could do it.”

      217.   Furthermore, as early as 2011, SKAT suspected Mr. Nielsen of stealing $5.7

million from SKAT.

      218.   However, SKAT did not fire Mr. Nielsen until 2015, after Danish police

raided his home in connection with the Shah Scheme.

      219.   Moreover, Mr. Nielsen had at least one personal contact with Mr. Shah.

      220.   The founder of Syntax, whom SKAT alleges to be an accomplice of Mr.

Shah, requested to meet and struck up a friendship with Mr. Nielsen immediately after

he founded Syntax.

      221.   At those meetings, Mr. Nielsen freely explained exactly how to submit

reclaim applications.

      222.   Shortly thereafter, the founder sold Syntax to Mr. Shah.


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      223.   SKAT has alleged that Syntax facilitated fraudulent refunds in

approximately 40% of the cases consolidated in this MDL.

      224.   A Danish court has convicted Mr. Nielsen of defrauding SKAT and

sentenced him to six years in prison.

      225.   In 2017, Denmark revealed that it would close SKAT entirely and divide its

responsibilities among seven new authorities.

      226.   The tax minister justified the reforms to Denmark’s oldest continuously-

operating newspaper, Berlingske: “[I[nstead of using money on patching up a SKAT that

doesn’t deliver, or if we are being completely honest has never really functioned, we

should just completely stop SKAT from existing.”

      227.   The tax minister also proclaimed that Denmark “will fight for every single

nickel that was taken from the treasury.”

      228.   Consequently, SKAT not only reported the allegedly-criminal conduct to

SØIK, but also filed the dozens of lawsuits in this MDL.

      229.   Yet several years and hundreds of lawsuits later, SKAT still lacks the tools

to determine whether any given applicant did own particular Danish securities on record

dates or did receive dividends, net of withheld tax.




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  ED&F Man Solicited, Structured, Funded, Executed, and Cleared the Plan’s Nine
                              Danish Transactions

       230.     Neither the Plan nor Mr. Goldstein has ever attempted to defraud or

otherwise harm SKAT.

       231.     ED&F Man is solely responsible for any irregularities with the Plan’s

Danish Transactions and Tax Vouchers.

       232.     ED&F Man’s Equity Finance Desk created and managed the Plan’s Danish

Transactions.

       233.     While “equity finance” is a broad term, financial institutions’ equity finance

departments generally specialize in securities lending and financing.

       234.     Historically, ED&F Man did not offer equity finance services.

       235.     Instead, the Holdings subsidiary was well-regarded for providing futures

and options that complemented its parent company’s core business: soft commodities

like coffee, molasses, and sugar.

       236.     In late 2011 and early 2012, ED&F Man expanded into equity finance by

hiring dozens of executives, traders, and other brokerage personnel from MF Global,

whose Manhattan-based parent company had just filed for bankruptcy.

       237.     ED&F Man and its New York-based affiliate hired over 150 former MF

Global traders from MF Global’s general brokerage unit.

       238.     MF Global existed to structure, clear, and settle European transactions on

behalf of its parent company’s American clients.




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      239.   MF Global’s business had been particularly dependent on dividend

arbitrage and had frequently clashed with its New York-based risk managers.

      240.   Many of the Plan’s direct ED&F Man contacts were former MF Global

employees.

      241.   They continued to specialize in dividend arbitrage for American clients

when they joined ED&F Man.

      242.   For example, ED&F Man European CEO Stephen Hawksworth, who

personally signed all four custody fee letters relating to the Disavowed Vouchers, had

been MF Global’s London Head of Equities and Fixed Income.

      243.   In early 2012, ED&F Man induced the Plan to open an account by promising

that the Brokerage would find, structure, arrange, finance, and execute dividend

arbitrage opportunities for the Plan.

      244.   The parties memorialized their understanding in several agreements,

including a (1) Custody Agreement, (2) Security and Set-Off Deed, and (3) Letter

Agreement dated June 21, 2012. Each agreement is annexed hereto as Exhibits F, G, and

H, respectively.

      245.   In or around late 2013, ED&F Man solicited the Plan to engage in Danish

dividend arbitrage transactions.

      246.   ED&F Man explained that because clients like the Plan were exempt from

the 27% Danish dividend tax, ED&F Man could arrange transactions whereby the clients

would purchase Danish securities before the issuance of a dividend and be entitled to

100% of the dividend, instead of 73%.


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       247.   ED&F Man further explained that it would structure the transactions so

they would be risk-free for its tax-exempt clients.

       248.   In exchange for facilitating these transactions, ED&F Man charged fees that

amount to a significant amount of the dividend arbitrage “profits” it purported to

generate for the Plan.

       249.   As discussed supra, when it did purportedly conduct the Danish

Transactions, ED&F Man told the Plan that it (1) paid for a given security on behalf of the

Plan, (2) debited the Plan’s brokerage account for that sum, (3) sold or loaned the security

on behalf of the Plan, and (4) credited the Plan’s brokerage account accordingly.

       250.   In doing so, ED&F Man created situations whereby the dividend’s recipient

would be a U.S. pension plan that would be entitled to 100% of the dividend, instead of

a non-tax-exempt client, such as a U.S. hedge fund, that would receive only 73% of the

dividend.

       251.   To actually receive the 27% refund, tax-exempt dividend recipients needed

to submit the Reclaim Applications.

       252.   To facilitate the submission of these Applications, ED&F Man prepared and

issued the Tax Vouchers, which certified to SKAT that the pension plans (1) “[held]” the

security “over the dividend date,” (2) had received the specified amount of money in

dividends from the issuer, and (3) had “suffered’ the specified Danish withholding tax.

       253.   In exchange for recommending, creating, financing, and structuring the

transactions and preparing the Tax Vouchers, ED&F Man charged large fees.




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       254.    ED&F Man documented the fees underlying each Disavowed Voucher in

custody fee letters signed by European CEO Steve Hawksworth and addressed to the

Plan at its Manhattan address. True and correct copies of these custody fee letters are

annexed hereto as Exhibits I (TDC), J (Danske Bank), K (Novo Nordisk), and L (D/S

Norden).

       255.    From 2012 to 2015, ED&F Man solicited, recommended, structured, created,

and executed similar Danish dividend transactions for at least 36 U.S. pension plan

clients.

       256.    In connection with those transactions, ED&F Man created for submission to

SKAT at least 420 Tax Vouchers certifying its clients’ receipt of dividends net

withholding.

       257.    SKAT has sued at least 31 ED&F Man pension plan clients in this MDL.

       258.    SKAT alleges that at least 397 of the fraudulent Tax Vouchers involved in

this MDL were created by ED&F Man.

       259.    ED&F Man needed U.S. pension plans like the Plan to execute the dividend

tax arbitrage strategies: without tax-exempt dividend recipients, there could be no

“extra” 27% profit to be paid out pursuant to the Double-Taxation Treaty.




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  ED&F Man Recently Admitted that it Created and Issued Baseless Tax Vouchers

      260.   From 2012 to 2019, the Goldstein Parties trusted ED&F Man’s repeated and

explicit assurances that the Danish Transactions were legal and appropriate and that all

documents that ED&F Man had prepared for the Plan were accurate and trustworthy.

      261.   Even after SKAT sued the Goldstein Parties and ED&F Man, ED&F Man

reiterated that the Plan’s Danish Transactions were legitimate and documented properly.

      262.   Indeed, both at the time of the Danish Transactions and after SKAT initiated

this lawsuit, ED&F Man provided the Plan with dozens of documents, including trade

confirmations and account statements, that facially support ED&F Man’s assurances that

the trades were proper.

      263.   However, ED&F Man’s 2019 behavior and statements increasingly have

suggested that the Brokerage defrauded the Plan and its agents.

      264.   In early 2019, the Equity Finance personnel who had serviced the Plan

began resigning from ED&F Man.

      265.   On April 3, 2019, ED&F Man announced that it was closing the Equity

Finance Desk.

      266.   On April 23, 2019, out of an abundance of caution, the Goldstein Parties

filed the third-party complaint against ED&F Man, alleging breach-of-contract essentially

as indemnification: if SKAT was right, and something was wrong, that wrongdoing was

ED&F Man’s fault.

      267.   On May 22, 2019, ED&F Man sent the Plan a termination notice that it

would close the Plan’s account effective June 21, 2019.


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       268.      Thereafter, ED&F Man continued to reassure the Goldstein Parties that the

Plan’s Danish securities trading and documentation were legal and accurate.

       269.      The remaining Equity Finance traders’ FCA registrations terminated on

July 31, 2019.

       270.      On or around August 20, 2019, ED&F Man’s European CEO, Mr.

Hawksworth, quietly resigned—effective immediately.

       271.      Just two weeks later, ED&F Man filed the Amended English Answer and

admitted—for the very first time—that 80 of the Tax Vouchers it had prepared for

submission to SKAT had falsely certified its clients’ receipt of the Danish dividends and

“suffering” of the Danish taxes.

       272.      Four of those false Tax Vouchers were the Disavowed Vouchers that ED&F

Man created for the Plan: those relating to the (1) March 2014 TDC Group, (2) March 2014

Danske Bank, (3) March 2014 Novo Nordisk, and (4) April 2014 D/S Norden dividends

(the “Spring 2014 Transactions”). See Amended English Answer Annex E.

       273.      ED&F Man did not warn the Plan that it had determined that the

Disavowed Vouchers were wrongful.

       274.      In fact, ED&F Man never directly notified the Plan, at all.

       275.      Instead, on September 27, 2019, ED&F Man filed a letter with this Court to

“apprise[]” the court of its “most recent pleadings.” See Dkt. 202 (Sept. 27, 2019).

       276.      Despite multiple inquiries from the Goldstein Parties, ED&F Man has

refused to explain why it now admits that the Disavowed Vouchers are false.




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       277.   Among other failures of explanation, ED&F Man has not explained how the

Plan owned the securities, yet did not actually receive the dividends, net of withholding.

       278.   Furthermore, ED&F Man has refused to explain how the Spring 2014

Transactions differ from the other five that it arranged for the Plan.

       279.   ED&F Man also has refused to explain why the Plan should trust that the

remaining five transactions are legitimate.

       280.   On its face, the Amended English Answer suggests that ED&F Man

disavowed the Spring 2014 Transactions because, contrary to the confirmations and other

documents that ED&F Man prepared for and communications made to the Plan and

SKAT, the Plan did not actually receive the dividends from the issuers and thus had not

been entitled to tax refunds. See Amended English Answer Annex E.

       281.   Instead, ED&F Man created the mere illusion of the Plan’s receipt of the

dividends, manipulating the Spring 2014 Transactions’ underlying records in order to

create legal fictions whereby multiple entities simultaneously “owned” the shares.

                    ED&F Man Failed to Disclose Affiliate Trading

       282.   One way that ED&F Man was able to manipulate those records was by

trading with its Switzerland- and Dubai-based affiliates—without ever disclosing its self-

dealing to the Goldstein Parties.

       283.   ED&F Man failed to disclose to the Goldstein Parties that the Plan bought

all of the Spring 2014 Transactions’ securities from its affiliate Volcafe Ltd. (“Volcafe”),

Holdings’s Switzerland-based coffee-trading unit.




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       284.    Upon information and belief, ED&F Man did not purchase the remaining

five Danish Transactions’ securities directly from Volcafe.

       285.    In connection with the Spring 2014 Transactions, ED&F Man typically

would contact the Authorized Agent by phone or text message to present the trading

opportunity.

       286.    If the Plan was interested in that particular security, ED&F Man instructed

the Plan to email an explicit order to buy the Danish securities.

       287.    In each of the Spring 2014 Transactions, ED&F Man also instructed the Plan

to explicitly request settlement on a T+4 basis.

       288.    For example, in April 2014, ED&F Man approached the Plan with the

opportunity to invest in D/S Norden.

       289.    ED&F Man had told the Plan to express interest by emailing an order for

the desired number of shares and request T+4 settlement.

       290.    When ED&F Man received the Plan’s written D/S Norden order, ED&F

Man purchased the D/S Norden shares from Volcafe and then sold the shares to the Plan.

       291.    ED&F Man also arranged for Volcafe to purchase those same shares from

affiliate ED&F Man Professional Trading Dubai (“ED&F Dubai”).

       292.    Despite numerous legal, regulatory, and contractual obligations to the

contrary, ED&F Man never disclosed the affiliate transactions to the Plan.

       293.    Upon information and belief, ED&F Man solicited the Plan to engage in the

2014 trades for its own and its affiliates’—including Volcafe’s, ED&F Dubai’s, and

Holdings’s—profit.


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       294.   Volcafe, founded in 1851, became one of the world’s largest coffee traders

before being acquired by ED&F Man in 2004.

       295.   Volcafe trades raw coffee beans and purports to provide coffee beans for up

to 50 billion cups of coffee per year.

       296.   Upon information and belief, Volcafe supplied the financing of the Plan’s

purchases and was the source of the securities for all of the Spring 2014 Transactions.

       297.   Upon information and belief, due to the seasonal nature of its business,

Volcafe periodically has large amounts of unused cash.

       298.   Upon information and belief, ED&F Man and its affiliates hatched a plan to

maximize Volcafe’s returns on its cash reserves by involving Volcafe in the dividend

arbitrage business.

       299.   In 2014 and 2015, the London Interbank Offering Rate (“LIBOR”) was a

benchmark interest rate that purported to represent the rates of interest at which banks

would lend cash to each other.

       300.   LIBOR was at historically low rates in 2014 and 2015:

                      Year               U.S.D. Three-Month LIBOR

                      2006                         5.198%

                      2014                         .234%

                      2015                         .316%

                      2018                         2.307%




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      301.   Lending cash and securities to ED&F Man clients allowed Volcafe to amass

profits and revenue significantly higher than prevailing market interest rates.

      302.   Upon information and belief, ED&F Man and its affiliates compensated

each other via internal debits and credits for soliciting, structuring, and executing the

Danish dividend arbitrage transactions.

      303.   In doing so, Volcafe and its affiliates, including ED&F Man and ED&F

Dubai, were able to extract profits from the Plan significantly higher than the prevailing

market interest rates that ED&F Man and its affiliates would have earned on their cash

balances.

      304.   ED&F Man’s failures to disclose its material transactions with affiliates

violate the federal securities laws and ED&F Man’s own contracts with the Plan.

      305.   Upon information and belief, ED&F Man’s trading with its affiliates also

caused the Disavowed Vouchers to be wrongful: ED&F Man has only rejected the

Transactions it conducted with Volcafe.




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                  ED&F Man Structured the Spring 2014 Transactions to
                      Fake the Disavowed Vouchers’ Legitimacy

       306.     ED&F Man’s fundamental “business strategy” appears to have required the

Brokerage to create artificial tax certifications to paper up fraudulent Reclaim

Applications.

       307.     In each of the Spring 2014 Tax Vouchers, ED&F Man purported to certify

the Plan’s (1) “ownership of the[] security over the dividend date,” (2) dividend payments

that the Plan had received from the issuer, and (3) Danish tax that had been withheld on

the dividend, which the Plan would seek to recover via the Reclaim Application.

       308.     As the entire point of the parties’ relationship was to engage in dividend

arbitrage trading, and certification from ED&F Man was necessary for the Plan to apply

for Danish tax refunds, ED&F Man’s creation and submission of accurate Tax Vouchers

was fundamental not only to the parties’ relationship, but also to each of the four Spring

2014 Transactions.

       309.     In the Amended English Answer, ED&F Man admitted, for the very first

time, that the Disavowed Vouchers were “inaccurate” insofar that the Plan had not

actually (1) received the dividend net of withholding or (2) “suffered” the withholding

tax.

       310.     These admissions contradict all of the relevant statements and documents

that ED&F Man has issued to the Plan.




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        311.   For example, ED&F Man memorialized each of the Spring 2014

Transactions with custody fee letters sent from ED&F Man European CEO Steve

Hawksworth to the Plan at its Manhattan address.

        312.   Each of those letters referred to the Custody Agreement between the parties

and stated that ED&F Man had provided “custodian and related services” “in connection

with [ED&F Man] entering into with, or arranging for [the Plan] [ . . . ] the specific

transaction in respect of[] shares in the capital of” each of the Spring 2014 Transaction

securities: TDC, Danske Bank, Novo Nordisk, and D/S Norden.

        313.   As discussed supra, each of those “custodian and related services”

necessarily included ED&F Man’s creation of accurate Tax Vouchers for submission to

SKAT.

        314.   But ED&F Man has now admitted that it made at least two material

misstatements in each Disavowed Voucher: (1) the dividend amount that the Plan had

“received,” and (2) the withheld tax that the Plan had “suffered.”

        315.   ED&F Man’s refusal to explain how it came to issue the 80 incorrect

vouchers—at least 160 materially false statements—suggests that its misstatements were

intentional and systemic, not accidental or casual.

        316.   The fact that the European CEO personally signed the Spring 2014

Transactions’ custody letters further suggests that something is amiss.

        317.   ED&F Man’s signatory on each of the Spring 2014 Transaction custody

letters was its European CEO, Steve Hawksworth.




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       318.   Mr. Hawksworth did not personally sign any of the Plan’s other, numerous

agreements with ED&F Man. See generally, e.g., Custody Agreement; Security and Set-

Off Deed.

       319.   Throughout the relevant time period, ED&F Man continued MF Global’s

business strategy of focusing on dividend arbitrage and clearing and settling European

transaction for primarily U.S. based clients.

       320.   Upon information and belief, Mr. Hawksworth and his team devised and

implemented similar trading strategies at MF Global before its liquidation.

       321.   In late 2011 and early 2012, ED&F Man recruited the MF Global traders with

the goal of moving beyond soft commodities trading to offer a wider variety of securities

services demanded by sophistical institutional investors.

       322.   The Brokerage simply could not compete with top-tier financial services

firms unless it offered complex cross-border tax solutions under one roof.

       323.   To fulfill its end of the bargain, the MF Global personnel needed to bring

not only those institutional investors, but also the tax-exempt clients necessary to profit

from dividend arbitrage.

       324.   Upon information and belief, the Plan was one of hundreds of U.S. clients

that MF Global personnel brought to ED&F Man.

       325.   In 2014, ED&F Man posted profits of $17 million.

       326.   In 2015, however, ED&F Man made just $2.8 million.

       327.   ED&F Man issued 77 of the 80 Disavowed Vouchers in 2014.




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       328.     While ED&F Man secured all of the Spring 2014 Transactions’ securities

from Volcafe, the Goldstein Parties have seen no indication that Volcafe participated in

the Plan’s other five Danish Transactions.

       329.     And while Mr. Hawksworth personally signed all four Spring 2014

Transactions’ custody letters, upon information and belief, he is not a signatory on any

other document with the Plan.

       330.     The Spring 2014 Transactions were not careless mistakes; they were

intrinsic to ED&F Man’s fundamental business model.

       331.     There is no reason why the Spring 2014 Transactions could not have been

conducted in a legal manner: ED&F Man simply could have ensured that the Plan owned

the securities on record date and actually received the net dividends, instead of creating

illusory transactions.

       332.     But instead of explaining the Danish Transactions to the Plan—which

ED&F Man has had the legal, contractual, and fiduciary duty to do—ED&F Man shut

down the Equity Finance Desk entirely and, over the course of approximately six months,

terminated the employment of each and every one of the Plan’s contacts on the Danish

Transactions.

       333.     Given ED&F Man’s continual evasions to its clients and the English court,

it is, for the moment, impossible to tell whether the Plan’s remaining five transactions

and concomitant Tax Vouchers were legitimate and qualified for Danish refunds.




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                                  COUNTERCLAIMS

                             COUNTERCLAIM COUNT I
 (Declaratory Judgment that Decisions of this Court are Binding on SKAT and Estop
 SKAT from any other Efforts Outside this Jurisdiction to Obtain Remedies Arising
               out of or Relating to the Transactions in this Complaint)

      334.   The Goldstein Parties repeat the foregoing allegations as if fully set forth

herein.

      335.   This is a counterclaim for judgment declaring that this Court’s decisions in

this action arising out of the transactions set forth in the Complaint are binding on SKAT

in all jurisdictions and venues, including other U.S. courts and arbitrations, Danish

administrative proceedings and/or investigations, Danish court actions, and any and all

others.

      336.   This Court “may declare the rights and other legal relations of any

interested party seeking such declaration whether or not further relief is or could be

sought.” 28 U.S.C. § 2201(a).

      337.   “The intent [of the Declaratory Judgment Act] is to allow a party to be free

from the whim of its opponent in deciding when to resolve the legal dispute between

them.” Great Am. Ins. Co. v. Houston Gen. Ins. Co., 735 F. Supp. 581, 585 (S.D.N.Y. 1990).

      338.   SKAT voluntarily availed itself of this Court’s jurisdiction.

      339.   SKAT alleges that the Goldstein Parties engaged in fraud in connection with

applications for tax dividend reimbursement in connection with the Danish Transactions.




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      340.    Concurrently with this litigation, SKAT is pursuing multiple actions and

investigations against the Goldstein Parties arising out of the same transactions in

Denmark and, upon information and belief, other jurisdictions.

      341.    The Goldstein Parties will suffer substantial harm if SKAT pursues multiple

actions against them, prosecuting the exact same conduct across multiple jurisdictions

and venues.

      342.    Moreover, SKAT’s pursuit of the same causes of action against the

Goldstein Parties across multiple jurisdictions and venues gives rise to the likelihood of

conflicting outcomes, which will only exacerbate the disputes between the parties.

                            COUNTERCLAIM COUNT II
                    (Preliminary and Permanent Injunctive Relief)

      343.    The Goldstein Parties repeat the foregoing allegations as if fully set forth

herein.

      344.    By pursuing its claims in multiple jurisdictions, SKAT has forced the

Goldstein Parties to expend significant resources in defending the exact same conduct

under different substantive and procedural laws in multiple jurisdictions.

      345.    SKAT’s actions also threaten conflicting outcomes that will only exacerbate

and prolong the parties’ disputes.

      346.    The Goldstein Parties will continue to suffer substantial harm if SKAT

pursues these foreign actions while prosecuting its claims before this Court.

      347.    Therefore, the Goldstein Parties respectfully request that this Court issue

preliminary and permanent injunctions prohibiting SKAT from taking any action that



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would impair or otherwise impact matters that SKAT has submitted for determination to

this Court.

                             COUNTERCLAIM COUNT III
                              (Recovery of Denied Claim)

       348.   The Goldstein Parties repeat the foregoing allegations as if fully set forth

herein.

       349.   Although the Plan had nothing to do with Mr. Shah, SKAT refused to pay

a refund due to the Plan in the amount of DKK 1,080,000 for a TDC Group dividend

issued on August 10, 2015.

       350.   On or about June 10, 2015, the Plan purchased four million shares of TDC

Group.

       351.   TDC Group’s record date for determining payment to shareholders of its

August 11, 2015 dividend was August 10, 2015.

       352.   The Plan owned four million shares of TDC Group on August 10, 2015.

       353.   On or around August 12, 2015, Plan received the TDC Group dividend

payment, minus the Danish tax withheld.

       354.   Thereafter, the Plan submitted an application for tax dividend

reimbursement of DKK 1,080,000, along with the necessary documentation to establish

ownership of shares of TDC Group.

       355.   Despite rejecting the Disavowed Vouchers, ED&F Man continues to stand

by the Tax Voucher it issued for this Transaction. See, e.g., Amended English Answer ¶

4.2.



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      356.   The amount SKAT owes to the Plan as a result of the improper denial of

this Reclaim Application is no less than DKK 1,080,000 (which as of April 8, 2019 is

approximately USD 162,951.48), excluding interest and costs.

                           COUNTERCLAIM COUNT IV
                              (Promissory Estoppel)

      357.   The Goldstein Parties repeat the foregoing allegations as if fully set forth

herein.

      358.   Upon information and belief, for years, SKAT refunded Danish tax paid to

all U.S. pension plans that submit the documentation requested by SKAT.

      359.   In reliance on SKAT’s practice of paying all properly-documented claims,

the Plan purchased shares of the Danish companies delineated supra in order to receive

dividends from those companies.

      360.   In reliance on SKAT’s practice of paying all properly-documented claims,

the Plan submitted the nine Reclaim Applications to SKAT.

      361.   But for SKAT’s practice of paying all properly-documented claims, the Plan

never would have invested in those Danish companies, let alone paid Danish tax on their

dividends.

      362.   Indeed, as a non-profit pension plan, the Plan was exempt from all income

tax levied by the United States and various countries with which the United States has

tax treaties, including Denmark.

      363.   Thus, SKAT is estopped from demanding that the Plan pay Danish income

tax on the dividends.



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       364.   The amount owed to the Plan as a result of the improper denial of its

application is no less than DKK 1,080,000 (which as of April 8, 2019 is approximately USD

162,951.48), excluding interest and costs.

                                THIRD-PARTY CLAIMS

                          THIRD-PARTY CLAIM COUNT I
(Section 10(b) / Rule 10b-5 Securities Fraud – Against ED&F Man and John Does 1–10

       365.   The Goldstein Parties repeat the foregoing allegations as if fully set forth

herein.

       366.   Throughout the Plan’s brokerage relationship with ED&F Man, ED&F

Man purchased and sold securities on behalf of the Plan.

       367.   The Plan reasonably relied on ED&F Man’s assurances of propriety and its

status as a FCA-licensed broker-dealer and as a fiduciary to the Plan.

       368.   In connection with the Plan’s purchase and sale of securities, ED&F Man

knowingly, intentionally, and / or recklessly failed to disclose material facts necessary

to make ED&F Man’s statements not misleading, including, among others, failing to

disclose the affiliate relationship between ED&F Man and Volcafe; that pricing for the

transactions was pre-arranged among ED&F Man and its affiliates; and that on at least

four occasions, the Plan did not hold the Danish Transactions’ securities on record date

in the manner required for ED&F Man to properly create and issue the Tax Vouchers

for Goal to submit to SKAT on behalf of the Plan.

       369.   ED&F Man repeatedly failed to disclose facts material to the Plan’s

investment decisions, including the conflicts of interest detailed above.



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       370.   ED&F Man charged the Plan numerous undisclosed and / or unexplained

fees in connection with its transactions that ED&F Man caused the Plan to engage in,

purportedly for the Plan’s own benefit.

       371.   In admitting the falsity of the Disavowed Vouchers, ED&F Man

necessarily also has admitted that numerous other documents for and communications

with the Plan were false, including the trading records and account statements that

suggested that the Plan had actually received net dividends on the Spring 2014

Transactions and “suffered” the Danish taxes.

       372.   Simply put, despite its duties to the contrary, ED&F Man made the Plan

subservient to its own activities and control thereof.

       373.   John Does 1–10 aided, abetted, facilitated, and / conspired with ED&F

Man to perpetrate this wrongful activity.

       374.   ED&F Man’s and / or John Does 1–10’s violations of Section 10(b) of the

Exchange Act and Rule 10b-5 promulgated thereunder have damaged the Goldstein

Parties in an amount to be revealed during discovery and proven at trial.

                         THIRD-PARTY CLAIM COUNT II
                      (Common-Law Fraud – Against ED&F Man)

       375.   The Goldstein Parties repeat the foregoing allegations as if fully set forth

herein.

       376.   The Goldstein Parties reject SKAT’s allegations that they knowingly

defrauded or otherwise unlawfully obtained tax refunds from SKAT.




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      377.   However, if any of the Plan’s Reclaim Applications were improper, ED&F

Man is responsible.

      378.   ED&F Man directly and indirectly solicited the Goldstein Parties to

engage in and then executed the Danish Transactions.

      379.   ED&F Man caused the Goldstein Parties to believe that Reclaim

Applications were only submitted for taxes (a) the Plan actually paid to Denmark (b) on

dividends the Plan actually received (c) on stock the Plan actually owned (d) on the

dates necessary to be paid those dividends.

      380.   The Goldstein Parties’ reliance on those representations set forth in the

Reclaim Applications and submitted to SKAT via the Tax Vouchers was reasonable.

      381.   If these representations were false, ED&F Man has demonstrated a high

degree of moral turpitude and wanton dishonesty, entitling the Goldstein Parties to (a)

full compensation for any remedies the Goldstein Parties are found to owe SKAT, (b)

reimbursement of all costs and fees without limitation, including legal fees, and (c)

punitive damages.




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                           THIRD-PARTY CLAIM COUNT III
                           (Negligence – Against ED&F Man)

       382.   The Goldstein Parties repeat the foregoing allegations as if fully set forth

herein.

       383.   ED&F Man had a duty to provide only truthful information regarding the

transactions it performed on behalf of the Plan.

       384.   ED&F Man has admitted that at least four of the Tax Vouchers it created

for submission to SKAT were false.

       385.   By admitting that these Tax Vouchers were false, ED&F Man has also

admitted that the trading confirmations, account documents, and communications it

created and made to the Goldstein Parties regarding the Disavowed Vouchers’

transactions also are false.

       386.   In issuing these false statements and documents, ED&F Man breached its

duties of care.

       387.   Upon information and belief, the circumstances that caused ED&F Man to

issue these false documents show that ED&F Man was negligent in structuring,

funding, arranging, clearing, and executing the Danish Transactions, as well.

       388.   ED&F Man’s negligence entitles the Goldstein Parties to (a) full

compensation for any remedies the Goldstein Parties are found to owe SKAT and (b)

compensation for additional damages to the Goldstein Parties.




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                         THIRD-PARTY CLAIM COUNT IV
                      (Breach of Contract – Against ED&F Man)

      389.   The Goldstein Parties repeat the foregoing allegations as if fully set forth

herein.

      390.   In connection with opening the Plan’s brokerage account, ED&F Man and

the Plan entered into various agreements.

      391.   Pursuant to those agreements, ED&F Man agreed to create only truthful

and accurate documents for the Goldstein Plan.

      392.   When ED&F Man created false, misleading, and/or inaccurate Tax

Vouchers, it breached its agreements with the Plan.

      393.   The Goldstein Parties are entitled to (a) full compensation for any

remedies the Goldstein Parties are found to owe SKAT, (b) reimbursement of all

expenses and costs without limitation, including legal fees, and (c) punitive damages to

the Goldstein Parties for subjecting them to and prolonging SKAT’s prosecution in

Denmark, the United States, and any other jurisdictions.




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                        THIRD-PARTY CLAIM COUNT V
   (Breach of the Covenant of Good Faith and Fair Dealing – Against ED&F Man)

       394.   The Goldstein Parties repeat the foregoing allegations as if fully set forth

herein.

       395.   Any agreements between ED&F Man and the Goldstein Parties, including

the brokerage agreements, carry covenants of good faith and fair dealing.

       396.   Regardless of the relevance of any explicit term of an agreement between

ED&F Man and the Goldstein Parties, ED&F Man had a duty to create only truthful,

accurate documents on behalf of the Goldstein Plan.

       397.   By creating and issuing the Disavowed Vouchers, ED&F Man breached its

implied covenant(s) with the Goldstein Parties.

       398.   The Goldstein Parties are entitled to (a) full compensation for any

remedies the Goldstein Parties are found to owe SKAT and all related costs thereto, (b)

reimbursement of all expenses and costs, including legal fees, and (c) punitive damages.

                           THIRD-PARTY CLAIM COUNT VI
                        (Breach of Contract – Against ED&F Man)

       399.   The Goldstein Parties repeat the foregoing allegations as if fully set forth

herein.

       400.   Pursuant to the brokerage and other agreements between ED&F Man and

the Goldstein Parties, ED&F Man agreed, inter alia, that it would only charge the Plan

custodian fees for transactions that it actually facilitated on behalf of the Plan.

       401.   ED&F Man did, in fact, charge the Plan custodian fees in connection with

arranging and executing the Danish Transactions.


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       402.   If, as SKAT has alleged, the Plan did not actually own the shares and / or

receive the net dividends giving rise to the nine Reclaim Applications, ED&F Man

breached the agreements with the Plan by falsely reporting transactions to the Plan and

charging custodian and other fees for transactions that ED&F Man never actually

effected on behalf of the Plan.

       403.   In fact, ED&F Man already has admitted that the Plan did not receive the

net dividends associated with the Spring 2014 Transactions.

       404.   Moreover, the General Ledger reflects dozens of other unexplained and

undisclosed charges to the Plan, which include undisclosed charges paid to affiliates of

ED&F Man.

       405.   If ED&F Man breached the contracts in this manner, the Goldstein Parties

are entitled to (a) full compensation for any remedies the Goldstein Parties are found to

owe SKAT and all related costs thereto, (b) reimbursement of all expenses and costs,

including legal fees, and (c) punitive damages.




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                        THIRD-PARTY CLAIM COUNT VII
    (Breach of the Covenant of Good Faith and Fair Dealing – Against ED&F Man)

       406.   The Goldstein Parties repeat the foregoing allegations as if fully set forth

herein.

       407.   ED&F Man induced the Goldstein Plan to execute brokerage agreements

by, inter alia, promising to properly execute securities transactions on the Plan’s behalf

and bring sound investment opportunities to the Plan.

       408.   However, ED&F Man frustrated the purpose of the brokerage agreements

by soliciting and facilitating the transactions underlying the Reclaim Applications,

which ED&F Man knew or should have known were wrongful and subjected the

Goldstein Parties to legal, financial, reputational, and other exposure that the Goldstein

Parties could not have anticipated when the Plan entered into the brokerage

agreements.

       409.   ED&F Man frustrated the purpose of the brokerage agreements between

ED&F Man and the Plan by effectuating transactions in order to enrich itself and its

affiliates at the Plan’s expense.

       410.   Moreover, ED&F Man’s creation of the false Tax Vouchers has exposed

the Goldstein Parties to unjustifiable liabilities.

       411.   ED&F Man’s breach of the covenant has harmed the Goldstein Parties in

an amount no less than all money they have ever paid to ED&F Man, plus all damages,

fees, and other expenditures the Goldstein Parties incur in connection with this

litigation.



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                           THIRD-PARTY CLAIM COUNT VIII
              (Tortious Interference with Contract – Against John Does 1–10)

       412.    The Goldstein Parties repeat the foregoing allegations as if fully set forth

herein.

       413.    Upon information and belief, John Does 1–10 caused ED&F Man to effect

transactions for ED&F Man’s and its affiliates’ own benefit, at the Plan’s expense.

       414.    Upon information and belief, John Does 1–10 also caused ED&F Man to

hide the affiliate relationships and its payments thereto from the Goldstein Parties.

       415.    Upon information and belief, John Does 1–10 also caused ED&F Man to

issue the Disavowed Vouchers.

       416.    Upon information and belief, this wrongful conduct has harmed the

Goldstein Parties in an amount no less than all money they have ever paid to ED&F

Man, plus all damages, fees, legal fees, and other expenditures the Goldstein Parties

incur in connection with this litigation and related disputes.

                           THIRD-PARTY CLAIM COUNT IX
                (Breach of Fiduciary Duty by Charging Undisclosed Fees –
                                   Against ED&F Man)

       417.    The Goldstein Parties repeat the foregoing allegations as if fully set forth

herein.

       418.    ED&F Man owed fiduciary duties to the Plan.

       419.    ED&F Man’s fiduciary duties included the duty to only charge fees for

transactions that it actually arranged, executed, and certified on the Plan’s behalf.




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       420.   ED&F Man charged the Plan significant fees in connection with each of

the nine Danish Transactions.

       421.   However, ED&F Man has now admitted that it behaved deficiently with

regard to at least four of the nine Danish Transactions.

       422.   ED&F Man’s charging and collection of fees in relation to the Disavowed

Vouchers is wrongful and breaches numerous fiduciary and brokerage standards of

conduct and duties owed to the Goldstein Parties.

       423.   ED&F Man’s breaches of fiduciary and brokerage duties has damaged the

Plan in an amount to be revealed during discovery and proven at trial.

                        THIRD-PARTY CLAIM COUNT X
      (Aiding and Abetting Breach of Fiduciary Duty – Against John Does 1–10)

       424.   The Goldstein Parties repeat the foregoing allegations as if fully set forth

herein.

       425.   Upon information and belief, John Does 1–10 caused ED&F Man to charge

and collect unauthorized fees relating to the Disavowed Vouchers.

       426.   In doing so, John Does 1–10 have damaged the Plan in an amount to be

revealed during discovery and proven at trial.

                         THIRD-PARTY CLAIM COUNT XI
           (Breach of Fiduciary Duty by Self-Dealing – Against ED&F Man)

       427.   The Goldstein Parties repeat the previous allegations as if fully set forth

herein.

       428.   By its conduct, ED&F Man became a fiduciary to the Plan with all of the

duties of a fiduciary.


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       429.   ED&F Man’s fiduciary duties included the duty not to engage in self-

dealing with respect to the Goldstein Plan’s assets.

       430.   However, ED&F Man did exactly that.

       431.   Upon information and belief, ED&F Man created, structured, and sold the

Danish Dividend Transactions to the Plan with the primary motive of enriching ED&F

Man entities, including, among others, ED&F Man and Volcafe.

       432.   In brokerage terms, ED&F Man’s acts comprised the quintessential

“solicited trade.”

       433.   Upon information and belief, ED&F Man failed to explain material terms

regarding these transactions, including that ED&F Man and its affiliates were benefiting

directly and indirectly in fees ED&F Man charged to the Plan.

       434.   Upon information and belief, with regard to those transactions, ED&F

Man was acting not only as the Plan’s broker, but also in other, undisclosed capacities

that conflicted with the Plan’s interests.

       435.   ED&F Man never adequately disclosed that it was acting in various

conflicting and undisclosed capacities in connection with the transactions.

       436.   ED&F Man’s multiple roles in participating directly and / or indirectly in

fees and charges presented multiple conflicts of interest.

       437.   In the English Action, ED&F Man has pleaded that it may be impossible

for SKAT to recover because ED&F Man already compensated its personnel for the

activity underlying SKAT’s claims against it.




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       438.   Upon information and belief, ED&F Man and its affiliates paid bonuses to

personnel for structuring and executing the Danish Transactions.

       439.   ED&F Man failed to adequately disclose its self-dealing.

       440.   The Plan never consented to ED&F Man’s self-dealing.

       441.   ED&F Man’s conflicts of interest in these transactions encouraged and

caused it to overcharge the Goldstein Parties for transactions it performed with regard

to the Goldstein Plan.

       442.   Upon information and belief, ED&F Man did overcharge the Plan

throughout their relationship.

       443.   ED&F Man’s self-dealing has damaged the Goldstein Parties in an amount

to be revealed during discovery and proven at trial.

                       THIRD-PARTY CLAIM COUNT XII
      (Aiding and Abetting Breach of Fiduciary Duty – Against John Does 1–10)

       444.   The Goldstein Parties repeat the foregoing allegations as if fully set forth

herein.

       445.   John Does 1–10 knew or should have known that ED&F Man owed

fiduciary duties to the Plan.

       446.   Upon information and belief, John Does 1–10 incentivized ED&F Man to

cause the Plan to trade with its affiliates without proper disclosure.

       447.   John Does 1–10’s aiding and abetting of ED&F Man’s breach of fiduciary

duty has damaged Counterclaim–Plaintiffs in an amount to be revealed during

discovery and proven at trial.



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      WHEREFORE, for the reasons outlined above, Counterclaim–Plaintiffs request

that this Court enter judgment in their favor as follows:

              A.     Deny SKAT all relief sought in its Complaint against the
      Goldstein Parties;
              B.     For Counterclaim Count I, SKAT is bound by the decisions
      of this Court relating to or arising out of the transactions and facts set
      forth in the Complaint against the Goldstein Parties in all other
      jurisdictions and venues;
              C.     For Counterclaim Count II, SKAT is preliminarily and
      permanently enjoined from pursuing actions in other jurisdictions arising
      out of the same transactions at issue in the Complaint;
              D.     For Counterclaim Counts III and IV, SKAT is liable to the
      Goldstein Parties for damages sustained by SKAT’s wrongful conduct in
      refusing to reimburse the Plan in connection with the Plan’s Reclaim on
      dividends received in the amount of DKK 1,822,230, plus pre- and post-
      judgment interests, fees, costs and expenses;
              E.     For Third-Party Claims I through IX and XI, ED&F Man is
      liable to the Goldstein Parties for all damages caused by ED&F Man’s
      wrongful conduct;
              F.     For Third-Party Claims I, X, and XII, John Does 1–10 are
      liable to the Goldstein Parties for all damages caused by their inducement
      and facilitation of ED&F Man’s wrongful conduct;
              G.     For all Counts, SKAT, ED&F Man and John Does 1–10 are
      jointly and severally liable for the costs of this action; and
              H.     For all Counts, SKAT, ED&F Man and John Does 1–10 are
      jointly and severally liable for all other and further relief that is just and
      proper.




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                                  JURY DEMAND

     The Goldstein Parties demand a jury trial on all issues so triable.


                                        Respectfully submitted,

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Dated: November 5, 2019
       New York, New York




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              EXHIBIT A
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Amended by Order of The Honourable Mr Justice Teare date                             varied by Order of
The Honourable Mrs Justice Cockerill dated 20 May 2019)
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                           Claim Nos.: CL-2018-000297; CL- 028000404; CL-2018-000590
IN THE HIGH COURT OF JUSTICE
BUSINESS AND PROPERTY COURTS OF ENGLAND AND WALES
COMMERCIAL COURT
BETWEEN:
                                     SKAT
                   (The Danish Customs and Tax Administration)
                                                                            Claimant
                                     - and -

                  ED&F MAN CAPITAL MARKETS LIMITED & OTHERS
                                                                                            Defendants




                                      AMENDED DEFENCE

            [References to paragraph numbers and defined terms in this Amended
            Defence are (save where otherwise indicated) to paragraph numbers and
            defined terms in the Amended Particulars of Claim ("POC")]

     OVERVIEW

1    This is the Amended Defence of the 69th Defendant, ED&F Man Capital Markets Limited (`'ED&F
     Man"), to the First Claim (issued on 4 May 2018), as now consolidated with the Second and Third
     Claims (together, the "Consolidated Claims"), by which SKAT alleges that:

            it was the victim of a sophisticated and extensive financial fraud which resulted in SKAT
            mistakenly paying out approximately £1.512 billion between August 2012 and July 2015 in
            respect of 4,590 WHT Applications for the refund of withholding tax ("WHT") payable in
            relation to shares held in Danish companies: and in particular that

     1.2.   the WHT Applications were made pursuant to a fraudulent scheme (the so-called WHT
            Scheme described at POC/49-51) perpetrated by Mr Sanjay Shah and a network of 75 further
            individual and corporate defendants related to him (the Alleged Fraud Defendants).

2.   However and for the avoidance of doubt:



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     2.1.    ED&F Man is not an Alleged Fraud Defendant a                                of: (1) the WHT
             Scheme to which it was not (and is not alleged to have                    ) the Alleged Fraud
             Defendants who it is said were behind it;

     2.2.    on the contrary, and as set out further below, ED&F Man's role in connection with the WHT
             Applications was limited to preparing a single document described as a "Tax Voucher" ("the
             Tax Vouchers"), which SKAT alleges was included in 420 of the WHT Applications (the
            "Relevant WHT Applications") on behalf of the applicants identified therein (the "Relevant
             WHT Applicants").

3.   Instead SKAT's primary case is that ED&F Man is liable to SKAT in negligence (under English law)
     on the grounds, in short summary, that (POC/21-24, 91-94):

     3.1.    ED&F Man owed a duty of care to SKAT to take reasonable care to avoid causing SKAT loss
             due to inaccuracies in the Tax Vouchers;

     3.2.    in respect of each of the Relevant WHT Applications, the Tax Vouchers contained
             representations (the so-called "Custodian Representations") that (inter alia) a specific
             number of shares in the Danish company identified therein "...were heldfi r the named WHT
            Applicant..." (POC/21(a)) on the day before the dividend ex-date (being the date on or after
             which a security is traded without a previously declared dividend ("the Ex-Date"));

     3.3.    in reliance on the Custodian Representations SKAT paid DKK582 million in respect of the
             Relevant WHT Applications; however

     3.4.   the Custodian Representations were false principally because the Relevant WHT Applicants
            "...did not awn the relevant shares in the Danish companies beneficially or at all..." prior to
            the Ex-Date (POC/23(a)).

4.   These allegations are unsustainable. In particular:

     4.1.    no duty of care: ED&F Man owed no duty of care to SKAT in circumstances where (1) there
            was not a sufficiently proximate relationship between ED&F Man and SKAT; (2) ED&F Man
             had no involvement in the Relevant WHT Applications; and (3) ED&F Man did not assume



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            responsibility to SKAT for the contents of the Tax                           repared for ED&F
            Man's client only (and were not submitted by ED&F

     4.2.   no misstatements: with respect to the Tax Vouchers (with the exception of(]) the 9 identified
            at Annex A hereto ("the Annex A Tax Vouchers") and (2) the 80 identified at Annex E
            hereto ("the Annex E Tax Vouchers")) the Custodian Representations were accurate (as
            evidenced by the contemporaneous documentary records retained by ED&F Man in respect
            of the Relevant WHT Applications);


     4.3.   no breach: by reference to the same records (with the exception of the Annex A Tax Vouchers)
            ED&F Man did exercise reasonable skill and care in the preparation of the Tax Vouchers;

     4.4.   no reasonable reliance: in any event it was not reasonable for SKAT to rely on the alleged
            Custodian Representations in circumstances where it was SKAT, as the tax authority in
            Denmark with overall responsibility for processing WHT applications; yet further

     4.5.   contributory negligence: if (which is denied) SKAT has suffered loss and damages as a result
            of any representations made by ED&F Man, such loss was caused or contributed to by its own
            negligence in circumstances where its systems and procedures for managing the review and
            assessment of WI-IT reclaim applications were manifestly deficient.

     PREAMBLE TO PARTICULARS OF CLAIM
5.   As to paragraph I (description and legal status of SKAT):


     5.1.   it is admitted that until 1 July 2018 (and therefore at the time the First Claim was issued on 4
            May 2018) SKAT was a function of the Danish Government and was charged with the
            assessment and collection of Danish taxes; however

     5.2.   it is not admitted (and SKAT is required to prove) that it has a legal entitlement to bring this
            claim against ED&F Man (SKAT having been replaced by 7 new agencies on 1 July 2018);
            in any event

     5.3.   it is denied (for the reasons set out below) that ED&F Man has committed any "civil wrongs"
            as alleged or at all.



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6.      As to paragraph 2 (references in the Amended Particula                o Claim): (1) D F Man (the 69th
        Defendant to the First Claim) is (see POC/2(c)) a "Non-Fra                 d (2) SKAT's claim
                                                                         JUS-C
        against ED&F Man is supplemented by the facts and matters set out I • mended Schedule 5T to the
        Amended Particulars of Claim, to which ED&F Man pleads in the Schedule to this Amended
        Defence. For the avoidance of doubt ED&F Man:

        6.1.     is a global financial brokerage business, authorised and regulated by the Financial Conduct
                 Authority ("FCA") to provide (among other services): (1) specialised securities lending and
                 financing services; (2) clearing and settlement for equities and fixed-income securities; and
                 (3) custodian services for on-exchange and over-the-counter transactions;

        6.2.     from 2012 and 2015, in relation to the trading of shares in companies listed on the Danish
                 stock exchange ("Danish Listed Companies"), acted for 36 pension plans (the "PPs")'.

        A. SUMMARY
7.      As to paragraph 3 (SKAT's summary of its case):

        7.1.     subparagraph 3 (a) (the potential refund of WHT) is admitted;

        7.2.     subparagraph 3 (b) (the WHT Applications) is not admitted (being outside ED&F Man's
                 knowledge);

        7.3.     subparagraphs 3 (c) to (i) (the WHT Representations, WHT Applications and fraudulent
                 scheme on the part of the Alleged Fraud Defendants and the claims against them) are noted
                 but not pleaded to (as they do not concern ED&F Man);

        7.4.     subparagraph 3(j) and the allegation against ED&F Man (as a Non-Fraud Defendant) of
                "...negligent participation in the WHT Scheme and/or [itsJ receipt of the proceeds of the
                fraud..." is denied for the reasons summarised above and amplified below.

        B. DEFENDANTS
8.      Paragraph 4 (details of Defendants and alleged wrongdoing set out in Schedule 5) is noted.



 Comprising 33 United States pension plans and 3 Canadian pension plans identified in POC/Schedule 1 of which (1) 32 were
direct clients of ED&F Man (see Annex B hereto); and (2) 4 were members of Gibraltarian partnerships, which were themselves
clients of ED&F Man (the "Gibraltarian Partnerships") (see Annex C hereto).
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9.    As to paragraph 5 (categorisation of Defendants) subparagr                                   re noted; and as to
      subparagraph 5 (b):

      9.1.    ED&F Man is (1) one of the 9 Defendants collectively described (at POC/5(b)) as
              "Custodians"; and (2) one of just two Non-Fraud Defendants amongst the "Custodians";

      9.2.    as to SKAT's allegation that the Custodians provided "..."credit advice" notes (or
              similar)..." (1) ED&F Man provided Tax Vouchers as set out below; and (2) pending
              disclosure of the "credit advice" notes allegedly provided by the other Custodians, it is not
              admitted that Tax Vouchers are "similar" to the same.

10.   The circumstances in which ED&F Man produced the Tax Vouchers were, in summary, as follows:

      10.1.   the PP's Investment Manager: by means of a power of attorney ("the Power of Attorney")
              the PP would: (1) appoint an investment manager ("the Investment Manager"); and (2)
              authorise the Investment Manager (inter alia) to take all actions required to conduct trading
              in equities and/or other financial instruments and to reclaim any deducted taxes in the name
              of and on behalf of the PP;

      10.2.   the Declaration Date: from time to time each of the Danish Listed Companies would make a
              "Declaration" ("the Declaration Date") as to the gross dividend rate and payable currency
              in relation to specified shares, which Declaration Date would be published by Bloomberg
              approximately one month prior to the reference date on which the holder of a
              dividend-bearing share has the right to receive a dividend ("the Reference Date");

      10.3.   the Dividend Window: the period between the Declaration Date and the Reference Date
              would give rise to a window ("the Dividend Window") in which the PP could acquire the
              shares in respect of which the dividend was payable ("the Security");

      10.4.   the PP's acquisition and sale of the Security:
              10.4.1.   on a date on or prior to the Reference Date ("the Trade Date"), ED&F Man would
                        (1) (upon instruction from the PP's Investment Manager) purchase the Security by
                        means of an over-the-counter transaction; or (2) acquire tlie-Sec-ufity--puFsufm-l-te-aft
                        inklu-str-).-statithod-stoe-k--1-enditig-afrangemen4-k-Hfowii-ers-the Gle-13a1.-Master-Seeufities
                        heu-di         ngeui-en+-(-Ake-C-MS1.       ); (3) on a principal to principal basis, on sell
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                  the Security to the PP; and (4) enable the                        ction to hedge the
                  risk of adverse market movements in the                         city ("the Hedge");
                  alternatively

        10.4.2.   on the Trade Date, the PP would recall the Security from ED&F Man by way of
                  redelivery of equivalent securities pursuant to ED&F Man's obligation to replace
                  securities provided by the PP to ED&F Man as fi nancial collateral the terms of a
                  CAISI.A;

        10.4.3.   from the Trade Date (and pursuant to (1) a Custody Agreement ("the Custody
                  Agreement") (utilising the client securities and cash accounts defined therein
                  (together "the Custody Account")); and (2) a Security and Set Off Deed ("the
                  Security and Set Off Deed"), entered into between each of PP and ED&F Man at
                  the inception of their relationship), ED&F Man would (1) hold the Security as a bare
                  trustee on behalf of the PP in the Custody Account; and (2) hold a charge over the
                  Security and the Custody Account; accordingly

        10.4.4.   on the Reference Date, which would fall at least one day after the Trade Date, ED&F
                  Man would hold the Security as a bare trustee on behalf of the PP in the Custody
                  Account;

        10.4.5.   on an agreed date after the Trade Date ("the Settlement Date"), ED&F Man would
                  (-1-) pay for the Security on behalf of the PP (and debit the PP's Custody Account in
                  that sum); and (21) on-sell or loafs the Security on behalf of the PP or (2) exercise
                  its right to use and dispose of the Security in discharge of the PP's obligation to
                  make payment (and credit the PP's Custody Account accordingly)

10.5.   the dividend Pay Date: shortly after the Settlement Date (1) the Danish company would pay
        the dividend net of WHT in respect of the Security ("the Pay Date"); (2) ED&F Man would
        receive payment of the dividend into a general account held in the name of ED&F Man (and
        administered by its sub-custodian BNP Paribas) which recorded transactions relating to
        multiple clients ("the Omnibus Account"); and (3) ED&F Man would credit the relevant
        amount of the dividend net of WHT to the PP's Custody Account;



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      10.6.    the WHT reclaim: (1) shortly after the Settlement              a   ED&F Man       o Id produce a Tax
               Voucher and send the same to the Investment Manage                                 agent would submit
               the Tax Relief Form to SKAT; and (3) upon acceptance o tie application (typically a few
               weeks after the Settlement Date) (a) SKAT would credit the amount of the WHT to the
               reclaim agent; (b) the reclaim agent (after deducting its fees) would credit the Omnibus
               Account; and (c) ED&F Man would credit the PP's Custody Account.


11.   As to the nature and content of the Tax Voucher produced by ED&F Man:


      1 1.1.   it contained information in 1 1 information categories as set out in the following format:


                             Information category        Information supplied
                  1          Security Description        Name of Danish Listed Company
                  2          ISIN                        Identification of International Securities Identification
                                                         Number
                  3          SEDOL                       Identification of Stock Exchange Daily Official List number
                  4          Ex Date                     Date supplied
                  5          Record Date                 Date supplied
                  6          Pay Date                    Date supplied
                  7          Quantity                    Specification of number of Danish shares
                  8          Gross Div Rate              Dividend rate applicable per share
                  9          Amount Received             Amount received by way of dividend
                  10         WHT Suffered                Amount withheld by way of withholding tax
                  11         WHT %                       Percentage rate (27%) of withholding tax applied

      1 1.2.   it confirmed (in the circumstances summarised at paragraph 10 above):
               1 1 .2. 1 .     (in 380 of the 420 Tax Vouchers) that the PP "...was holding..." the security
                               (identified in entries 1, 2, 3 and 7)"...over the dividend date...";


               1 1.2.2.        (in the 40 Tax Vouchers where ED&F Man's direct client was a Gibraltarian
                               Partnership), that (1) the Gibraltarian Partnership "held" the security (identified in
                               entries 1, 2, 3 and 7) "over dividend date" for the PP; and (2) the PP was the
                               "beneficial owner" of the security (the "GP Tax Vouchers");


      1 1.3.   it (1) stated that ED&F Man (a) had "no beneficial interest" in the security; and (b) "...will
               not be reclaiming..." the WHT; (2) stated that the dividend (identified in entry 9) was paid
               to (or received by) the PP (or Gibraltarian Partnership) net of the WHT (identified in entry
               10); and (3) was signed on behalf of ED&F Man by one or two authorised signatories.


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      C. DIVIDEND WHT REGIME
12.   Paragraph 6 (description of withholding tax) is admitted.

13.   Paragraphs 7 and 8 (Danish tax law provisions) are not admitted: ED&F Man does not hold itself out
      as a tax adviser and had no knowledge at any material time of the provisions of Danish law relating
      to withholding tax.

14.   As to paragraph 9 (double taxation treaty provisions), at the time of preparing the Tax Vouchers (all
      of which related to shares held by PPs in Danish companies) ED&F Man was aware that:

      14.1.   there existed double taxation treaties between (1) Denmark and the United States; and (2)
              Denmark and Canada, the effect of each of which was that the PPs were not subject to any
              tax by the Danish tax authority on dividends received in respect of shareholdings held in
              Danish companies;

      14.2.   as a result, PPs could submit a claim to the Danish tax authority for a refund of the totality of
              all such withholding tax paid in respect of such dividends; however

      14.3.   save as set out above, ED& Man does not plead to the existence and effect of the alleged
              double tax treaties between Denmark and (I) Malaysia, (2) the United Kingdom or (4)
              Luxembourg as set out at POC/9(b), (d) and (e).

15.   Paragraph 10 (the requirements of Tax Relief Form) is admitted. For the avoidance of doubt the Tax
      Relief Form makes clear that the key declaration as to beneficial ownership is made (1) in the Tax
      Relief Form itself (in the first prominent entry "Beneficial Owner"); and (2) by (or on behalf of) the
      person claiming the WHT refund.

16.   Paragraphs 11 (signature of the Tax Relief Form) and 12 (payment of the WHT) are admitted.
      However and for the avoidance of doubt ED&F Man (1) did not sign any of; and (2) had no
      involvement in the completion of, the 420 Relevant WHT Applications.


      D. WHT APPLICATIONS
17.   Save that between approximately August 2012 and April 2015 ED&F Man prepared 420 Tax
      Vouchers (1) on behalf of 36 PPs; (2) which were submitted to the PPs' Investment Managers,


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      paragraphs 13 (time period of SKAT's claim) and 14 (identi                       ) are not admitted.
      However (and for the avoidance of doubt):

      17.1.   ED&F Man infers from Schedule 1 but does not know that the Investment Managers
              submitted Tax Vouchers to tax reclaim agents as follows:
                  No Tax reclaim agent                                       No of Tax Vouchers
                  1     Acupay                                               16
                  2     Global                                               266
                  3     Globe Tax Securities Incorporated Limited ("GTS")    4
                  4     Goal                                                 134
                  Total                                                      420

      17.2.   ED&F Man notes that (1) the definition of Agents in POC/5(a) does not include GTS: (2)
              SKAT makes no claim at all against (a) GTS; or (b) (under English or Danish law) no claim
              against Global (save in relation to 35 of the 266 Relevant WHT Applications submitted by
              Global as set out in Amended Schedule 5P (paragraph 5) and Schedule 5P1); accordingly (3)
              SKAT advances no claims in English or Danish law against the reclaim agents which (it is
              alleged) submitted NG 235 of the 420 (6456%) Relevant WHT Applications.

18.   As to paragraph 15 (extent of withholding tax claim relating to US, Canada and Malaysia), it is
      admitted that the Tax Vouchers prepared by ED&F Man on behalf of the PPs which were its clients
      were in respect of all the tax withheld.

19.   Paragraph 16 (extent of withholding tax claim relating to United Kingdom and Luxembourg) is not
      admitted.

20.   As to paragraph 17 (documentary content of each WHT Application), the actual documents
      comprising each Relevant WHT Application are not admitted. Paragraph 15 above is repeated.

21.   As to paragraph 18 (identity of Danish companies), the Relevant WHT Applications were made in
      relation to shareholdings in 16 of the Danish Listed Companies.

      E. THE WHT REPRESENTATIONS
22.   In Section E SKAT purports to set out: (1) the representations allegedly made by the Agents (the so-
      called "Agent Representations") and the Custodians (the so-called "Custodian Representations"); and
      (2) the falsity of such representations. However SKAT's case against ED&F Man in this regard is
      obscurely pleaded and difficult to comprehend given that:

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      22.1.   the Agent Representations (POC/19) and the Cus                Repr-       ions (POC/21) are
              materially different (the Agent Representations alleging t              Applicant was "...the
              beneficial owner..." of the Danish shares and - ...had beneficially received the dividend...";
              whilst the Custodian Representations contain no allegation in relation to beneficial ownership
              and dividend receipt); yet

      22.2.   for the purposes of the allegation of falsity, the representations are treated collectively and
              without differentiation as the "WHT Representations" (POC/22 and 23) relying on the same
              particulars of falsity (POC/23(a) - (d)); further

      22.3.   in the case of ED&F Man and the fourth Custodian Representation (to the effect that "...the
              Credit Advice Note was an honest and accurate statement of the facts set out therein...")
              (POC/21(d)) SKAT's case against ED&F Man (as clarified in its Response to Request for
              Further Information dated 31 May 2019 ("SKAT RFI Response")) is that "...the Tax
              Vouchers were inaccurate (but not dishonest)..." (Response 2)); yet

      22.4.   the alleged grounds for inferring falsity (POCI 24) are pleaded generically and without
              distinction between (1) the Agent Representations and the Custodian Representations; and (2)
              the (very different) positions of (a) ED&F Man and (b) the Alleged Fraud Defendants.

      El. The Agent Representations and the Custodian Representations
23.   ED&F Man does not plead to paragraphs 19 and 20 (the Agent Representations) in circumstances
      where paragraph 92(f) alleges that ED&F Man (as one of the Non-Fraud Custodians) only made the
      Custodian Representations.

24.   As to paragraph 21 (the Custodian Representations (POC/21)):

      24.1.   the representations (if any) made by the Tax Vouchers fall to be construed in context and
              objectively according to their effect on a reasonable representee in the position and with the
              characteristics of the actual representee. Yet SKAT would (or should) have known the
              following matters:

              24.1.1.   ED&F Man: (1) provided custody services to its clients in relation to shares held in
                        companies domiciled across multiple jurisdictions and subject to numerous different

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                  tax regimes; but (2) did not hold itself out                      was not qualified
                  to advise on (a) the legal or beneficial o                     y held in a Danish
                  company under Danish law; or (b) the relevant dou        ation treaty;

        24.1.2.   the Tax Voucher (1) was addressed by ED&F Man to its client only, and not to
                  SKAT; and (2) (save for the GP Tax Vouchers) did not address the question of the
                  PP's beneficial ownership of the security; by contrast

        24.1.3.   the Tax Relief Form, which was submitted by or on behalf of the PP (1) was
                  addressed to SKAT; and (2) did contain the PP's declaration as to beneficial
                  ownership of the security; further

        24.1.4.   the concept of beneficial ownership was at the material time (and remains) legally
                  uncertain in Danish law because: (1) historically Danish law did not distinguish
                  between legal and beneficial ownership (a common law concept unfamiliar to
                  Danish law); and (2) the Danish Supreme Court had not (and still has not)
                  determined the meaning of the concept: and

        24.1.5.   as the tax authority in Denmark with overall responsibility for processing WHT
                  applications, SKAT was responsible for determining the beneficial ownership of
                  shares held in Danish companies (which included publishing non-binding opinions
                  in Danish on its website in relation to this issue);

24.2.   in the premises, it is denied that the Tax Vouchers contained the Custodian Representations:

        24.2.1.   the Relevant WHT Applications did not contain any representations by ED&F Man
                  to SKAT;

        24.2.2.   such representations as the Relevant WHT Applications contained were made by
                  (1) the tax reclaim agents which submitted the Relevant WHT Applications: and/or
                  (2) the entity described as the "beneficial owner" on the Tax Relief Form, on whose
                  behalf the Relevant WHT Applications were submitted;




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              24.2.3.   the Tax Vouchers (1) did not contain any s                        representations to
                        SKAT; and (2) (save for the GP Tax Vouche                        any statement as to
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                        the beneficial ownership of the securities described in the Tax Vouchers.

25.   Paragraph 22 (definition of WHT Representations) is noted: paragraph 22.2 above is repeated.

      E2. Falsity of the WHT Representations
26.   Paragraph 23 (falsity of WHT Representations) is denied in circumstances where:

      26.1.   (as noted above) the allegations of falsity applicable to ED&F Man (POC/23(a)-(c)) do not
              correspond to the Custodian Representations allegedly made by ED&F Man (POC/21(a)-(c));

      26.2.   it is not alleged that ED&F Man made any representation as to the beneficial ownership of
              shares and beneficial receipt of dividends described in the Tax Vouchers; and for the
              avoidance of doubt (and save in relation to the GP Tax Vouchers) (1) ED&F Man did not;
              and (2) SKAT could not reasonably have believed that it did, make any such representations;
              in any event

      26.3.   the Custodian Representations (if made, which is denied) were true in circumstances where
              (with the exception of the Annex A and Annex E Tax Vouchers) the ED&F Man Records (as
              defined at subparagraph 27.5 below) confirmed that:
              26.3.1.   the PP (or the Gibraltarian Partnership on its behalf) was holding the security
                        (identified at entries I, 2, 3 and 7) on the Reference Date;
              26.3.2.   the PP (or the Gibraltarian Partnership on its behalf) had received the dividend
                        (identified at entry 9) on the security; and
              26.3.3.   the dividend had been received by the PP (or by the Gibraltarian Partnership on its
                        behalf) net of WHT (identified at entry 10).

27.   As to paragraph 24 (grounds for inferring falsity of WHT Representations):

      27.1.   in circumstances where (1) ED&F Man is not an Alleged Fraud Defendant; (2) ED&F Man
              was not a party to and had no knowledge of the WHT Scheme; and (3) (so far as ED&F Man
              understands the same) these subparagraphs do not contain allegations against ED&F Man,
              ED&F Man does not plead to: subparagraphs 24(b)(ii)(B) (the 6 individuals involved in WHT
              Scheme); 24(d) (Agents' payments to SCP); 24(e) and (f) (the BaFin Report); 24(e 1 ) (the
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        Solo Model): 24(g) (same day Credit Advice Notes or ame company ; (h) (facts relating
        to WHT Scheme); 24 (i) (ii) (B) and (C) ("circular tray                         y the Alleged Fraud
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        Defendants); 24 (i) (iii) (A) to (F) ("sham transactions" ma              ured by the Alleged Fraud
        Defendants); 24(i)(iv)(A) (trading of same shares multiple times around Ex-Date); and
        24(i)(iv)(B)(i) and (ii) (WHT Applicant not the "beneficial owner of the shares");

27.2.   subparagraph 24(a) (substantial increase in WHT refund applications from August 2012 to
        July 2015) is not admitted. In any event it is not admitted that there is any correlation between
        (1) the matters pleaded in subparagraphs 24 (a) (i) to (iv) (if true); and (2) the accuracy of the
        Tax Vouchers used in the Relevant WHT Applications;

27.3.   subparagraph 24(b) (1) and (ii) (B) (PPs' lack of assets) is denied. The allegation that the
        Relevant WHT Applicants "...did not have the assets necessary to make the very substantial
        investments..." misunderstands the nature of the financial brokerage services provided by
        ED&F Man (identified at subparagraph 6.1 above). In particular where a PP did lack assets
        ED&F Man extended short term credit to the PP in order to facilitated the acquisition of the
        Security as follows:

        27.3.1.   secured and hedged from the Trade Date: from the moment of ED&F Man's
                  acquisition of the Security on the Trade Date on behalf of the PP (subparagraph
                  1 1.4. I 10.4.1 above), ED&F Man (1) held a fixed charge over the Security and the
                  PP's Custody Account with ED&F Man; and (2) was protected against market
                  movements in the value of the Security by the Hedge;

        27.3.2.   reimbursed on or shortly after Settlement Date: following (1) ED&F Man's payment
                  (on the Settlement Date) for the Security and the debit of that amount to the PP's
                  Custody Account (2) the Security was (a) on sold in the market or (b) acquired by
                  ED&F Man pursuant to its rights of use and disposal for a sum of money which was
                  then credited to the PP's Custody Account (and which substantially reversed the
                  debit) (subparagraph 10.4.5 above);

        27.3.3.   receipt of dividend: shortly thereafter ED&F Man (1) received funds into the
                  Omnibus Account in respect of the relevant dividend net of WHT; and (2) credited
                  that amount to the Custody Account (subparagraph 10.5 above);

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        27.3.4.   receipt of tax reclaim: within a further few   e    and w      u ail, SKAT paid the
                  WHT to the tax reclaim agent which sum was                \C-)credited to the Custody
                  Account (subparagraph 10.6 above), resulting (with the addition of any payment
                  pursuant to the Hedge) in an overall net credit to the Custody Account arising out
                  of the acquisition of the Security;

        27.3.5.   no requirement for substantial assets: it was in these circumstances that the PPs did
                  not need to have (1) the assets necessary to make "very substantial investments";
                  and/or (2) the means to "afford" the purchase of the relevant security. Instead ED&F
                  Man, fully secured and protected against market movements, was prepared to (and
                  did) enable the PPs to acquire the Security (and, for the avoidance of doubt, no third
                  party provided any funding or collateral);


27.4.   subparagraph 24(c) (the PPs' response to preliminary decisions) is not admitted. Without
        prejudice to that non-admission and with respect to the PPs who were ED&F Man's clients,
        ED&F Man understands from documents filed in United States legal proceedings that (1) in
        April and May 2018 SKAT issued final determination letters to the PPs; and (2) each of those
        PPs has filed an administrative appeal of SKAT's determination to the Tax Appeals Agency
        (Skatteankestyrelsen) or is in the process of doing so (and each of the Tax Appeals Agency
        expects the review process to take approximately 30 months);

27.5.   subparagraphs 24(i)(i) and (ii) (A) (alleged 'fictitious records of transactions" and "circular
        transactions")) are, with respect to the Relevant WHT Applications, denied. On the contrary
        ED&F Man has genuine records in respect of each of the Relevant WHT Applications ("the
        ED&F Man Records") including:
        27.5.1.   the Declaration as published by Bloomberg in respect of the security;


        27.5.2.   (1) the PP's order (ordinarily by email instruction) for both (a) the security and (b)
                  the Hedge; and (2) ED&F Man's confirmation (again by email) of the same;


        27.5.3.   a booking in ED&F Man's trading software recording ED&F Man's "Buy" of the
                  Security and "Sell" or "Return" to the PP;


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        27.5.4.   a journal entry in ED&F Man's trading s                           e nature, date and
                  amount of a dividend payment credited to th                     he Security;


        27.5.5.   entries in the PP's Custody Account recording ED&F Man's acquisition of the
                  Security on the Trade Date;


        27.5.6.   entries in the PP's Custody Account recording: (1) the credit of the net dividend
                  payment in respect of the Security; (2) the credit of the tax reclaim to the PP a few
                  weeks later; in the premises


        27.5.7.   the Relevant WHT Applications were (1) based on "genuine business records" (in
                  the words of counsel for SKAT when making this concession in relation to the PP
                  Tveter LLC Pension Plan Trust at the hearing on 26 June 2018) (2) in relation to
                  "genuine transactions" (in the words of Jacobs J. as accepted by counsel for SKAT
                  in the course of the same hearing); and (3) (with the exception of the Annex E Tax
                  Vouchers) resulted in an "actual" transfer of shares and dividends;

27.6.   subparagraph 24(i)(iv)(B)(iii) (WHT Applicant as "mere nominee") is denied. In particular:

        27.6.1.   the reference to the WHT Applicant not being "the beneficial owner" of the shares
                  is (as an allegation of falsity against ED&F Man) misconceived: the Custodian
                  Representations do not contain any statement in relation to the WHT Applicant's
                  beneficial ownership; in the premises

        27.6.2.   the allegation that the Relevant WHT Applicant was a "mere nominee" of the shares
                  is not understood: the relevant representation (if any) contained in the Tax Voucher
                  in relation to the shares was that the PP "...was holding [the Security] over the
                  dividend date...";

        27.6.3.   that representation was true: subparagraph 26.3 above is repeated,: further

        27.6.4. the matters set out in SKAT RFI Response/3 do not support SKAT's case that the
                  WHT Applicant was a "mere nominee" as regards the Security with no control as to
                  its disposition: subparagraph 27.3 is repeated; and (for the avoidance of doubt)

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              27.6.5. the WHT Applicant acquired (1) ownership                          Z) a right to receive
                       any dividends thereon from the Trade Date, not               ent Date (as alleged in
                       SKAT RFI Response/4.4 — 4.7).


      F. PROCEEDS OF THE WHT APPLICATIONS
28.   As to paragraph 25 (SKAT's payments to the Agents) it is not admitted that SKAT (1) made the
      payments "in reliance on the WHT Representations"; and (2) made the payments alleged to the
      Agents, and SKAT is put to strict proof of the same.


29.   ED&F Man does not plead to paragraphs 26 to 48 (payments by SKAT; transfers to SCP and the
      Alleged Fraud Defendants; and purchase of shares in Varengold and Dero) in circumstances where
      they do not contain any allegations against ED&F Man. For the avoidance of doubt (I) ED&F Man
      did not receive any payments directly from SKAT; and (2) subject only to the deduction of its fees,
      the amounts received into the accounts from the agents were credited in full to the relevant PP.

      G. THE WHT SCHEME
30.   As to paragraph 49 (the WHT Scheme), it is not admitted that the WHT Applications were made as
      part of the WHT Scheme in circumstances where ED&F Man (1) was not an Alleged Fraud
      Defendant; and (2) has no knowledge of the matters relied upon at subparagraphs 49 (a) to (d).

31.   ED&F Man does not plead to paragraphs 50 and 51 (the WHT Scheme and the role of the Alleged
      Fraud Defendants) which do not contain allegations against ED&F Man.

32.   As to paragraphs 52 to 54 (SKAT's decisions and purported rescissions), it is denied that SKAT is
      entitled to rescind the transactions by which payments were made in respect of the Relevant WHT
      Applications in circumstances where (1) paragraphs 24, 26 and 27 above are repeated; and (2) to the
      extent that such payments were ultimately received by ED&F Man (an innocent third party),
      rescission is not available.

      H. APPLICABLE LAW
33.   Paragraphs 55 and 56 (applicable law) are noted but not admitted. ED&F Man's defence is pleaded
      on the basis that English law, alternatively Danish law, is the law applicable to SKAT's claims.


      I. ENGLISH LAW CLAIMS AGAINST THE ALLEGED FRAUD DEFENDANTS
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34.   ED&F Man does not plead to paragraphs 57 to 85 (claims a                            efendants) which
      do not contain allegations against ED&F Man.

      J. ENGLISH LAW CLAIMS AGAINST THE NON-FRAUD DEFENDANTS
      J1. Tort/delict
35.   ED&F Man does not plead to paragraphs 86 to 90 (Agents' alleged liability for negligent
      misrepresentation) which do not contain allegations against ED&F Man.

36.   Paragraph 91 (ED&F Man's alleged liability for negligent representation) is denied, as further set out
      below.

37.   As to paragraph 92 (ED&F Man's alleged duty of care to SKAT):

      37.1.    it is denied that ED&F Man owed SKAT a duty to take reasonable care as alleged. In
               particular:

               37.1.1.   there was no contractual relationship between ED&F Man and SKAT, which was
                         not ED&F Man's client;

               37.1.2.   the Tax Vouchers were prepared for ED&F Man's client only and were not
                         submitted by ED&F Man to SKAT;

               37.1.3.   there were no written or oral communications at any material time between ED&F
                         Man and SKAT in relation to the Tax Vouchers or otherwise;

               37.1.4.   by the Tax Vouchers, ED&F Man did not make any representations to SKAT:
                         paragraph 244.2 above is repeated; moreover

               37.1.5.   at the time of receipt of the Tax Vouchers, SKAT knew or ought to have known
                         from the matters set out at subparagraph 24.1 above that (1) ED&F Man was not
                         assuming responsibility to SKAT for any (alleged) representations relating to the
                         beneficial ownership of shares or dividends described in the Tax Vouchers; and (2)
                         SKAT could not rely on such representations without independent inquiry.

      37.2.    it is denied that the facts and matters set out in sub-paragraphs 92 (a) to (i) support the
               imposition of the alleged duty of care. In particular:
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37.3.   subparagraph 92(a) (the AML obligations) is admitte                         terial times ED&F
        Man maintained suitable policies and procedures in accor               hese obligations;

37.4.   as to subparagraph 92(b) (ED&F Man's regulatory obligations), it is admitted that (1) ED&F
        Man is subject to Principles 2 and 3 and SYSC 6 of the Financial Conduct Authority
        Handbook; and (2) subparagraphs 92 (b) (i) and (ii) contain a broadly accurate summary of
        Principles 2 and 3 and (parts of) SYSC 6;

37.5.   subparagraph 92(c) (ED&F Man's access to trading activity records) is admitted;

37.6.   as to subparagraph 92(d) (ED&F Man's knowledge of Tax Vouchers' purpose):

        37.6.1.   it is admitted (as alleged at subparagraph 92 (d)(i)) that ED&F Man knew that PPs
                  engaged in the trading of shares in Danish companies for the purpose of making tax
                  reclaim applications to SKAT; and

        37.6.2.   it is admitted (as alleged at subparagraphs 92 (d)(ii) and (iii)) that ED&F Man knew
                  that the Tax Vouchers which it produced for the PPs were likely to be (1) used for
                  the purpose of the Relevant WHT Applications; and (2) communicated to SKAT for
                  such purpose; however

        37.6.3.   ED&F Man (1) had no role in the preparation of the Relevant WHT Applications;
                  and (2) was not qualified to advise as to (and did not advise as to) the Relevant WHT
                  Applicant's declaration as to beneficial ownership as contained in the Tax Relief
                  Form;

37.7.   as to sub-paragraph 92(e) (alleged reliance on Tax Vouchers to seek large WHT refunds):
        37.7.1.   as to subparagraph 92 (e)(i), it is denied that ED&F Man knew that the Tax Vouchers
                  "...would be relied upon to seek very large sums by way of WHT refunds..." as
                  alleged. In particular whilst (1) ED&F Man knew that the Tax Voucher was one of
                  a number of documents which SKAT required to be submitted by ED&F Man's
                  clients (the PPs) in support of WHT reclaim applications; (2) ED&F Man did not
                  know what other documentation was required by SKAT and/or the criteria which
                  SKAT applied in the assessment of a tax reclaim;

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        37.7.2.   as to subparagraph 92(e)(ii), it is admitted   at D&F             ew that 8 different
                  Investment Managers represented the 36 PPs                   enied (insofar as it is
                  apparently alleged) that the number of Investment Managers is relevant to the
                  imposition of a duty of care upon ED&F Man;

        37.7.3.   as to subparagraph 92(e)(iii) (payment of proceeds of WHT Applications), it is
                  denied that ED&F Man knew that "...they were paying the large majority of the
                  proceeds of the [Relevant] WHT Applications to persons other than..." the PPs: the
                  tax reclaims received by ED&F Man via the relevant tax reclaim agent were credited
                  directly to the PP's Custody Account;

37.8.   as to subparagraph 92(f) (alleged Custodian Representations), paragraph 24 above is repeated;

37.9.   as to subparagraph 92(g) (SKAT's reasonable reliance), it is denied that it was reasonable for
        SKAT to rely on any representations contained in the Tax Vouchers without further enquiry
        and subparagraph 24.1 above is repeated. Further:


        37.9.1.   it was a matter for SKAT as the tax authority in Denmark with overall responsibility
                  for processing WHT applications to devise and implement appropriate systems and
                  procedures which ensured that such applications were fairly and accurately
                  reviewed and assessed;


        37.9.2.   insofar as the matters set out at subparagraphs 92 (g) (ii) to (v) are true, such that
                  SKAT was unable fairly and accurately to review and assess the Relevant WHT
                  Applications, that was as a result of SKAT's own negligence as set out at paragraphs
                  40 and 41 below; and


        37.9.3.   it is denied that ED&F Man knew or ought to have known the matters set out at
                  subparagraphs 92 (g) (i) to (v): the extent of ED&F Man's knowledge at the material
                  time was as set out at subparagraphs 37.6 and 37.7 above; in the premises

37.10. subparagraph 92(h) (ED&F Man's alleged knowledge of SKAT's reliance) and subparagraph
        93(i) (alleged reasonable foreseeability of SKAT's losses) are denied; and

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      37.11. ED&F Man did not assume responsibility to SKA                             the accuracy of the
              representations (if any) contained in the Tax Vouchers; and or there was not a sufficiently
              proximate relationship between ED&F Man and SKAT; and/or it would not be fair, just and
              reasonable to impose a duty of care on ED&F Man, whether as alleged or at all.

38.   Paragraph 93 (ED&F Man's alleged breach of duty) is inadequately pleaded: SKAT has not set out
      any particulars in support of its assertion that ED&F Man failed to take reasonable care to ensure that
      the Tax Vouchers were accurate statements of the matters set out therein. Without prejudice to the
      foregoing and the matters set out in SKAT RFI Response/5, it is denied that ED&F Man acted in
      breach of duty as alleged or at all:

      38.1.   ED&F Man did not owe SKAT a duty of care: paragraph 37 above is repeated;

      38.2.   insofar as such duty was owed and representations were made, it related only to the Custodian
              Representations which were true: paragraphs 26 and 27 above are repeated; and in any event


      38.2A. the WHT Applicants did not hold the Security identified in the Tax Vouchers as a "mere
              nominee": paragraph 27.6 above is repeated;

      38.3.   with the exception of LL) the Annex A Tax Vouchers; and (2) the Annex E Tax Vouchers f in
              respect of which breach of duty is not admitted), ED&F Man exercised all due care and skill
              in making the Custodian Representations by reference to the ED&F Man Records (as to which
              subparagraph 27.5 above is repeated).

39.   As to paragraph 94 (payments made by SKAT in relation to the Relevant WHT Applications):
      39.1.   it is denied that SKAT (1) reasonably relied on the Custodian Representations (if made); or
              (2) was thereby induced by ED&F Man to make payments in respect of the Relevant WHT
              Applications; or (3) would not otherwise have made such payments: paragraphs 24 and 37
              above are repeated; in any event

      39.2.   it is not admitted that SKAT made payments of DKK582 million in respect of the Relevant
              WHT Applications as alleged in subparagraph 94 (d) and SKAT is put to strict proof of the
              allegation;


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      39.3.   save as aforesaid, ED&F Man does not plead to pa          ph 94 (paym  relating to Credit
              Advice Notes from Indigo, North Channel Bank an                          h does not contain
              allegations against ED&F Man.

40.   Further or alternatively, between 2012 and 2015 the systems and procedures in place at SKAT for
      managing the review and assessment of WHT reclaim applications were manifestly deficient in
      numerous respects. In particular and pending full disclosure:

      40.1.   ED&F Man relies on (1) the Rigsrevisionen Report dated February 2016; (2) the (undated)
              Intern Revision report relating to SKAT's administration of WHT tax; (3) judgments dated 7
              December 2017 and 23 May 2018 in relation to criminal proceedings against Sven Jorgen
              Nielsen (the "Nielsen Criminal Proceedings"); and (4) the additional documentation
              requirements introduced by SKAT since its discovery of the WHT Scheme;

      40.2.   SKAT had no written procedures in place to govern its processing of tax reclaim applications
              between 2012 and 2015 and:
              40.2.1.   approximately 90% of the WHT reclaim applications to SKAT were handled by
                        Sven Jorgen Nielsen ("Sven Nielsen"), who (despite the rapidly increasing number
                        of WHT reclaim applications from 2012) was the sole individual in the department
                        dealing with such applications ("the WHT Department") responsible for their
                        approval;
              40.2.2.   in practice Sven Nielsen did no more than check that: (1) the documents required by
                        SKAT had been submitted; and (2) the amount claimed had been accurately
                        calculated, in which event he authorised SKAT to pay the WHT reclaim application;
              40.2.3.   further, during the same period SKAT had no means of independently verifying the
                        identity of the beneficial owners of shares held by foreign shareholders in Danish
                        companies in custody accounts maintained outside Denmark (such shares being
                        registered as held by the custodian only);
              40.2.4.   notwithstanding the foregoing, SKAT did not seek supporting documentation from
                        the Relevant WHT Applicant or make other inquiries to verify whether the PP
                        identified in the Tax Voucher (1) was the owner of the shares on the Reference Date
                        and (2) had received the dividend described therein;
              40.2.5.   instead, SKAT unlawfully delegated the evaluation and approval of the information
                        and documentation submitted to SKAT in support of WHT applications to separate
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                  schemes operated by (1) the Danish bank    (2) VP Sec iti            A/S (the Danish
                  Central Securities Depository), which (in t                       necessary statutory
                  authority) resulted in the termination of the schemes in September and November
                  2015;
        40.2.6.   further, in breach of SKAT's guidance obligation (article 7 offorvaltingslov) and/or
                  investigation obligation (Officiahnaksinten) under Danish law, SKAT did not take
                  any or any sufficient steps to (1) publish guidance in relation to (a) the information
                  and documentation required from WHT applicants; or (b) the criteria governing
                  beneficial ownership; and (2) obtain and verify such               information and
                  documentation;
        40.2.7.   moreover (1) by 2011 SKAT had grounds to suspect that Sven Nielsen had
                  dishonestly received illicit payments of up to DKK2m from Torben Dilung between
                  2006 and 2011 (the "Dilung Payments"); however (2) in June 2011 SKAT
                  indefinitely suspended its investigation into Sven Nielsen in relation to the Dilung
                  Payments for no or no good reason and (3) SKAT permitted Sven Nielsen to remain
                  as an employee of SKAT until he was charged with fraud in Denmark in relation to
                  the Dilung Payments in May 2015; and
        40.2.8.   in 2013 SKAT did not implement the control functions set out in a statutory order
                  (the "2013 Statutory Order") which would have enabled SKAT upon receipt of a
                  WHT application to compare (1) the information received by SKAT from a Danish
                  Listed Company immediately after the Declaration as to (a) the identity of dividend
                  recipients; and (b) the amount of WHT; with (2) the information set out in the WHT
                  application in relation to (a) and (b);

40.3.   SKAT's senior management were aware of and/or complicit in the deficiencies set out above
        from 2012 at the latest (such deficiencies having been repeatedly raised with senior
        management by at least Lisbeth Romer (Head of WHT Department between 2002 and 2013))
        but took no or insufficient action to remedy the deficiencies until after the discovery of the
        WHT Scheme described in the Amended Particulars of Claim; in the premises

40.4.   SKAT failed adequately or at all:
        40.4.1.   to develop or implement any or any sufficient processes and/or controls to verify
                  whether applicants for WHT refunds were entitled to reclaim WHT;

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              40.4.2.   to ensure that the WHT Department wa appropriately st te to deal with the
                        volume of WHT applications received betwe                         1
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              40.4.3.   to respond appropriately in 2011 to its discovery o             ung Payments which cast
                        serious doubt on the honesty and integrity of Sven Nielsen;
              40.4.4.   to act on fundamental process issues raised by (at least) Lisbeth Romer prior to 2012
                        (including SKAT's inability to verify the underlying ownership of shares held in
                        Danish companies); and
              40.4.5.   to implement the 2013 Statutory Order.

41.   In the premises, and in circumstances where SKAT assumed responsibility for deciding whether the
      shares described in the Tax Vouchers were beneficially owned by the PPs on whose behalf the
      Relevant WHT Applications were made:

      41.1.   insofar as SKAT paid the Relevant WHT Applications (1) mistakenly, believing that the
              shares described in the Tax Vouchers were beneficially owned by the PPs; or (2) recklessly,
              not caring whether such shares were beneficially so owned, such payments were made as a
              result of SKAT's negligence;

      41.2.   SKAT's own negligence was the only real and substantial cause of the losses claimed against
              ED&F Man and/or eclipsed any causative effect of ED&F Man's alleged negligence (if
              proven); further or alternatively

      41.3.   any damages payable to SKAT on account of ED&F Man's alleged negligence ought to be
              reduced because SKAT's contributory negligence caused or aggravated the alleged damage.

      J2. Unjust enrichment/restitution
42.   As to paragraph 95 (SKAT's alleged mistaken payments to Agents):

      42.1.   SKAT was not mistaken as to the information set out in the Tax Vouchers in circumstances
              where (1) factually (with the exception of the Annex A and Annex E Tax Vouchers), the
              Custodian Representations were true; and (2) legally, the Custodian Representations did not
              contain any representation as to the PP's beneficial ownership of the shares described in the
              Tax Vouchers; further



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      42.2.   SKAT was itself in a state of doubt as to the PP's                         f such shares as a
              result of the matters set out at subparagraphs 24.1.4 an                 paid the tax reclaim
              agents anyway without taking reasonable or any steps to reso ye such doubt, and therefore
              SKAT was not relevantly mistaken in relation to the PP's beneficial ownership of the shares
              described in the Tax Vouchers; in any event

      42.3.   the Custodian Representations did not cause SKAT to make payments to tax reclaim agents
              in relation to the Relevant WHT Applications, which would have been made anyway;

      42.4.   further, such payments as were made to Global and GTS in relation to 270 of the 420 Relevant
              WHT Applications were not made to the Agents (as defined); and

      42.5.   in any event, it is not admitted that SKAT paid out the sums alleged to the Agents.

43.   As to paragraph 96 (ED&F Man's receipt of fees), it is admitted that ED&F Man received fees out
      of the proceeds of any successful WHT applications which included a Tax Voucher prepared by
      ED&F Man (the "ED&F Man Fees"). Save as aforesaid, paragraph 96 is denied:

      43.1.   the ED&F Man Fees were not received as a result of SKAT's mistaken payment of WHT
              refunds (see paragraph 42 above); further,

      43.2.   the receipt of the ED&F Man Fees was not unjust: the ED&F Man Fees were received by
              ED&F Man in good faith for payment of services provided to its clients; and in any event

      43.3.   as a result of receiving the ED&F Man Fees, ED&F Man changed its position in good faith
              by making payment of bonuses to employees which ED&F Man would not ordinarily have
              made: accordingly, SKAT is not entitled to restitution in respect of such payments.
44.   Paragraph 97 (ED&F Man's unjust enrichment at SKAT's expense) is denied. Paragraphs 42 and 43
      above are repeated.

45.   In the premises, it is denied that ED&F Man is liable to make restitution to SKAT of the ED&F Man
      Fees as alleged in paragraph 98 (ED&F Man's liability in restitution).

      K. ALTERNATIVE DANISH LAW CLAIMS
      Kl. Danish law
46.   Paragraph 99 (Danish law) is admitted as a broadly accurate summary of Danish law, save that:
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      46.1.   the liability of (1) a tortfeasor (subparagraphs 99(a)                      e accomplice of a
              tortfeasor (subparagraphs 99(c) and (d)) each fall to be                   e culpa standard by
              reference to the factors set out at subparagraph 99(b)):


      46.2.   a claimant's entitlement to restitution on the grounds of unjust enrichment (subparagraph
              99(e)) is a discretionary remedy based on a residual legal principle which is rarely applied.


      K2. Damages claims against the Alleged Fraud Defendants
47.   ED&F Man does not plead to paragraph 100 (misconduct of Alleged Fraud Defendants) which does
      not contain allegations against ED&F Man.

      K3. Damages claims against other Defendants
48.   As to paragraph 101 (Danish law negligence claim against ED&F Man), ED&F Man does not plead
      to sub-paragraph (c) (conduct of Agents and Global) which does not relate to ED&F Man. Otherwise
      it is denied W that (with the exception of (a) the Annex A Tax Vouchers; and (b) the Annex E Tax
      Vouchers (in respect of which violation and/or breach is not admitted)) ED&F Man's conduct
      violated the culpa standard or any other requisite standard of care as alleged in sub-paragraphs (a)
      and (b) or (2) that SKAT suffered the losses set out in paragraph 90(d) as a result as alleged in sub-
      paragraph (d). Paragraphs 37 to 41 above are repeated.

49.   ED&F Man does not plead to paragraph 102 (other Non-Fraud Defendants) which does not contain
      allegations against ED&F Man.

      K4. Unjust enrichment/restitution claims
50.   As to paragraph 103 (Danish law unjust enrichment claim against ED&F Man), (1) ED&F Man
      received payment (including the ED&F Man Fees) for the services it supplied and was not unjustly
      enriched thereby; (2) in the premises it is denied that ED&F Man is liable under Danish law in unjust
      enrichment and/or restitution. Paragraphs 42 to 44 and 0 above are repeated.

      K5. Proprietary claim
51.   ED&F Man does not plead to paragraph 104 (proprietary claims against selected Alleged Fraud
      Defendants) which does not contain allegations against ED&F Man.

      K6. Additional defences to Danish law claims

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52.   Further or alternatively, under principles developed in Dani      se law SKAT as a public authority)
      is not entitled to rescind decisions to grant WHT refunds whic                erly and on the basis
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      of Tax Vouchers prepared in good faith and where the information se      erein (save for the Annex
      A Tax Vouchers) was accurate.

53.   Further or alternatively, SKAT's claims against ED&F Man in respect of WHT refund payments
      made prior to 19 November 2012 are barred by the three year limitation period applicable in Danish
      law to public debt claims already obsolete on 19 November 2015.

      L. INTEREST
54.   As to paragraph 105 (English law interest claim) and paragraph 106 (Danish law interest claim), (1)
      it is noted that SKAT claims interest against ED&F Man only if Danish law applies; (2) in the
      premises it is denied that SKAT is entitled to the interest claimed or at all.

      M. CURRENCY OF CLAIMS
55.   Paragraphs 107 and 108 (currency of claims) are noted.

      N. REVENUE RULE
56.   Further or alternatively, in circumstances where SKAT seeks to enforce in the English courts the
      revenue laws of Denmark (including (1) the right of Danish companies to withhold tax under the
      Danish Withholding Tax Act 1967 in respect of shares beneficially owned by foreign shareholders;
      and (2) double taxation treaties between Denmark and the United States and Canada), SKAT's claims
      against ED&F Man are liable to be struck out on the grounds that the English courts lack jurisdiction
      to determine such claims.

      0. SCHEDULE 5T
57.   ED&F Man pleads to Amended Schedule 5T in Annex D to this Amended Defence.




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       P. PRAYER FOR RELIEF
58.    In the premises, it is denied that SKAT is entitled to the relief s               F Man in paragraph
      (4) (damages), paragraph (5) (restitution), paragraph (7) (interest) andjrafagraph (8) (costs) or to any
       relief.
                                                                                     ALI MALEK QC
                                                                             MATTHEW HARDWICK QC
                                                                                GEORGE McPHERSON

                                                                                     ALI MALEK QC
                                                                             MATTHEW HARDWICK QC
                                                                                GEORGE McPHERSON
                                               Statement of Truth

The Defendant believes that the facts stated in this Amended Defence are true and I am duly authorised by
it to sign this statement of truth on its behalf.


Signed:      0A.-. 1-13P Lej-         e  -AA-1- ii,d
Full Name: Christopher John Robert Smith
Title/Position: Managing Director of ED&F Man Capital Markets Limited
Date: )`'September 2019

Re-served this 6th day of September 2019 by Rosenblatt, of 9-13 St Andrew Street, London EC4A 3AF
solicitors to the 69th Defendant.




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                                                      Annex A — incorrect Tax Vouchers

     Schedule    Pension Plan                 Share and ISIN       Ex Date      Claimed        Claimed        Actual         Actual              Amount of
     1                                                                          shareholding   withheld       shareholding   withheld            overpayment
     reference                                                                                 dividend tax                  dividend tax        by SKAT
                                                                                               (DKK)                         entitlement         (DKK)
                                                                                                                             (DKK)


1.      174      JSH FARMS LLC 401 (K) PLAN   Lundbeck A/S         22/03/2013      95,900        51,786.00       60,900       32,886.00            18,900.00
                                              DKK0010287234
2.      177                                   Lundbeck A/S                                                       60,100       32,454.00            18,360.00
                                                                                   94,100        50,814.00
                 KRH FARMS LLC 401 (K) PLAN   DKK0010287234        22/03/2013
3.      180                                   Lundbeck A/S                                                       54,200       29,268.00            15,120.00
                                                                                   82,200        44,388.00
                 MGH FARMS LLC 401 (K) PLAN   DKK0010287234        22/03/2013
4.      183      MSJJ RETIREMENT GROUP        Lundbeck A/S                                                       58,400       31,536.00            18,900.00
                                                                                   89,400        48,276.00
                 TRUST                        DKK0010287234        22/03/2013
5.      186                                   Lundbeck A/S                                                       62,150       33,561.00            16,740.00
                                                                                   97,150        52,461.00
                 SRH FARMS LLC 401 (K) PLAN   D1(1(0010287234      22/03/2013
6.      188      SV HOLDINGS, LLC             Lundbeck A/S                                                      326,800       176,472.00           49,140.00
                                                                                   417,800      225,612.00
                 RETIREMENT PLAN              DKK0010287234        22/03/2013
7.      191      TEW ENTERPRISES, LLC         Lundbeck A/S                                                      326,400       176,256.00        48,600.00
                                                                                   416,400      224,856.00                                              ---...._
                 RETIREMENT PLAN              DKK0010287234        22/03/2013
                                                                                                                                                     DJ        "
8.      194                                   Lundbeck A/S                                                      223,300       120,582.00     0 1 , airD_.011-N
                                                                                   420,300      226,962.00
                 TEW, LP RETIREMENT PLAN      DKK0010287234        22/03/2013                                                                        r
9.      198      TRITON FARMS LLC 401 (K)
                 PLAN                         Lundbeck A/S         22/03/2013      101,250       54,675.00       64,250       34,695.00 u
                                                                                                                                           L--          `f) gl1.1
                                                                                                                                                   19,9 :'!J0
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                                              DKK0010287234                                                                                                      4
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                                                                                                                                Total                 2,po
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                   Annex B — further details in relation to ED&F Man clients

                          Client name                                    Agent              Jurisdiction
1.      Acorn Capital Strategies LLC Employee Pension     Acupay System LLC                 USA
        Profit Sharing Plan & Trust
2.      American Investment Group of New York, L.P.       Goal Taxback Limited              USA
        Pension Plan
3.      Autoparts Pension Group Trust                     Global Equities GmbH              USA
4.      Bluegrass Investment Management, LLC              Global Equities GmbH              USA
        Retirement Plan
5.      Bluegrass Retirement Group Trust                  Global Equities GmbH              USA
6.      Cambridge Way LLC 401K Profit Sharing Plan        Acupay System LLC Correct         USA
7.      Casting Pensions Group Trust                      Global Equities GmbH              USA
8.      Central Technologies Pensions Group Trust         Global Equities GmbH              USA
9.      DW Construction, Inc. Retirement Place            Goal Taxback Limited              USA
10.     Federated Logistics LLC 401 (K) Plan              Goal Taxback Limited              USA
11.     GSA Trading (Canada) Corporation Pension Plan     Globe Tax Services                Canada
                                                          Incorporated
                                                          &
                                                          Goal Taxback Limited
12.     Industrial Pensions Group Trust                   Global Equities GmbH              USA
13.     JSH Farms LLC 401 (K) Plan                        Global Equities GmbH              USA
14.     Kamco Investments. Inc Pension Plan               Goal Taxback Limited              USA
15.     Kamco LP Profit Sharing Pension Plan              Goal Taxback Limited              USA
16.     Koutroulakis & Co Corporation Pension Plan        Goal Taxback Limited              Canada
17.     KRH Farms LLC 401 (k) Plan                        Global Equities GmbH              USA
18.     Linden Associates Defined Benefit Plan            Goal Taxback Limited              USA
19.     MGH Farms LLC 401 (k) Plan                        Global Equities GmbH              USA
20.     Moira Associates LLC 401 (k) Plan                 Goal Taxback Limited              USA
21.     MSJJ Retirement Group Trust                       Global Equities GmbH              USA
22.     New Song Fellowship Church 401 (k) Plan           Goal Taxback Limited              USA
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                               Client name                                     Agent              Jurisdiction
23.          Oranje Canada Corporation Pension Plan             Goal Taxback Limited              Canada
24.          Riverside Associates Defined Benefit Plan          Goal Taxback Limited              USA
25.          SRH Farms LLC 401,(k) Plan                         Global Equities GmbH              USA
26.          Sterling Alpha LLC 401 (k) Profit Sharing Plan     Acupay System LLC                 USA
27.          SV Holdings, LLC Retirement Plan                   Global Equities GmbH              USA
28.          Tew Enterprises, LLC Retirement Plan               Global Equities GmbH              USA
29.          Tew, LP Retirement Plan                            Global Equities GmbH              USA
30.          The Goldstein Law Group PC 401 (k) Profit          Goal Taxback Limited              USA
             Sharing Plan
31.          Triton Farms LLC 401 (k) Plan                      Global Equities GmbH              USA
32.          Tveter LLC Pension Plan                            Goal Taxback Limited              USA


                            Annex C — members of Gibraltarian Partnerships



      Partner of Hamlyn LP
      1. Del Mar Asset Management Saving &            Goal Taxback Limited               USA
           Retirement Plan
      Partners of Cubix Managers Limited LLP
      2.    5T Advisory Services Retirement Plan      Goal Taxback Limited               USA
            Trust
      3.    KK Law Firm Retirement Plan Trust         Goal Taxback Limited               USA
      4.    Uplands Consulting Retirement Plan        Goal Taxback Limited               USA
            Trust
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                                    ANNEX D:                   ROLLS BUILDING
                        RESPONSE TO AMENDED SCH

1.       References to paragraph numbers in this Annex D                        h numbers in
         Amended Schedule 5T to the Amended Particulars of Claim.

         A. ED&F MAN CAPITAL MARKETS LIMITED
         Al. Description of Defendant

2.       Paragraph 1 (description of ED&F Man) is admitted. A description of ED&F Man and
         its business is set out at paragraph 6.1 of the Amended Defence.

3.       As to paragraph 2 (Custodian Representations), it is denied that ED&F Man made or
         SKAT relied on the Custodian Representations with respect to the Tax Vouchers.
         Section E of the Amended Defence is repeated.

4.      Paragraph 3 (attribution of individuals' knowledge to ED&F Man) is noted.


        A2. Unjust enrichment
5.      As to paragraph 4 (ED&F Man's receipt of fees), it is admitted that ED&F Man received
        fees in the circumstances described in paragraph 43 of the Amended Defence. It is
        denied that ED&F Man was unjustly enriched thereby, as further set out at paragraphs
        42 to 45 of the Amended Defence.

        A3. Negligent misrepresentation
6.      As to paragraph 5 (Tax Voucher description), it is assumed that the reference to
        paragraph 92(s) of the Particulars of Claim (which does not exist) is an error and that
        SKAT intended to refer to paragraph 92, and ED&F Man pleads accordingly. The
        description of the documents produced by ED&F Man as "Tax Vouchers" does not
        support the inference of knowledge alleged. Paragraph 37 of the Amended Defence is
        repeated.

        A4. Danish law claims
7.      As to paragraph 6 (ED&F Man's alleged negligence), it is denied (with the exception
        of (1) the Annex A Tax Vouchers-, and (2) the Annex E Tax Vouchers (in respect of
        which violation and/or breach is not admitted)) that ED&F Man's conduct violated the
        culpa standard or any other requisite standard of care under Danish law, whether as
        alleged or at all. Paragraphs 46.1 and 48 of the Amended Defence are repeated.
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8.      Paragraph 7 (ED&F Man's alleged unjust enrichmen                          that ED&F
        Man is liable in unjust enrichment and/or restitution                     graph 50 of
        the Amended Defence is repeated.

9.      Further, ED&F Man relies on the additional defences set out at paragraphs 52 and 53 of
        the Amended Defence.
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        Case 1:18-cv-05053-LAK Document
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                                  Annex E — incorrect Tax Vo

                                                                      Op
                                                                           JUS1 \
1.   ED&F Man produced 80 Tax Vouchers as particularised in Schedule 1 (64 Tax Vouchers) and
     Schedule 2 (16 Tax Vouchers) to this Annex E (the Annex E Tax Vouchers).

2.   The information in the Annex E Tax Vouchers was inaccurate in that the PP identified therein:

     2.L    had not "received" the amount set out therein by way of dividend from the Danish Listed
            Company; and

     2.2.   had not "suffered" WHT in the amount set out therein in relation to such dividend at the stated
            (27%) or any rate.

3.   Insofar as SKAT accepted or paid WHT reclaims in the sum of DKK183,902,400 or any sum in
     relation to the Relevant WHT Applications which included the Annex E Tax Vouchers, SKAT's own
     negligence was the real and substantial cause of such payments and/or eclipsed any causative effect
     of ED&F Man's negligence in relation to the Annex E Tax Vouchers (if proven). Paragraphs 40 and
     41 of the Amended Defence are repeated.
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                                           Annex E: Schedule 1 — incorrect Tax Vouchers

 A    B            C                                D                        E            F               G              11

      Schedule 1   Pension Plan                     Shareholding             Ex Date      Withheld        Withheld       Amount of
      reference                                                                           dividend tax    dividend tax   overpayment by
                                                                                          (DICK)          entitlement    SKAT (DKK)
                                                                                                          (DKK)

1.        505                                       500.000
                   DEL MAR ASSET MANAGEMENT         Coloplast A/S - B                                            =             945,000
                   SAVING & RETIREMENT PLAN                                  06/12/2013    945,000.00
2.        535      DEL MAR ASSET MANAGEMENT         7,850,000                                                    -            5,298.750
                   SAVING & RETIREMENT PLAN         Novozymes A/S - B        27/02/2014   5.298.750.00
3.        606      DEL MAR ASSET MANAGEMENT         24,000,000                                                   -            14.256.000
                   SAVING & RETIREMENT PLAN         TDC A/S                  07/03/2014   14,256,000.00
4.        629      DW CONSTRUCTION, INC.            3,300,000
                   RETIREMENT PLAN                  TDC A/S                  07/03/2014   1,960,200.00           =_           1.960.200
5.        632      KAMCO INVESTMENTS. INC.          2,000,000                                                                 1.188.000
                   PENSION PLAN                     TDC A/S                  07/03/2014   1.188.000.00           -
6.        634      LINDEN ASSOCIATES DEFINED        2,150,000                                                                 1.277,100
                   BENEFIT PLAN                     TDC A/S                  07/03/2014   1,277,100.00
7.        637      NEWSONG FELLOWSHIP CHURCH        2,500,000                                                                 1,485,0
                   401 (K) PLAN                     TDC A/S                  07/03/2014   1,485,000.00           -                             C
                                                                                                                                      0
8.        640      RIVERSIDE ASSOCIATES DEFINED     2,150,000                                                                 1,2 Z       •0   E
                   BENEFIT PLAN                     TDC A/S                  07/03/2014   1,277,100.00                           C
9.        646      THE GOLDSTEIN LAW GROUP PC       2,200,000                                                                 1, ,_, 00        F
                   401(K) PROFIT SHARING PLAN       TDC A/S                  07/03/2014   1,306,800.00                            CI,          C
10.       659      CAMBRIDGE WAY LLC 401K           8,000,000                                                                      tv          -
                                                                                                                 =            4 752 0
                   PROFIT SHARING PLAN              TDC A/S                  07/03/2014   4,752,000.00
11.       698      AMERICAN INVESTMENT GROUP        3,500,000                                                    =            4,252,500
                   OF NEW YORK, L.P. PENSION PLAN   Novo Nordisk A/S - B     21/03/2014   4,252,500.00
12.       699      DEL MAR ASSET MANAGEMENT         2,600,000                                                    =            3,159,000
                   SAVING & RETIREMENT PLAN         Novo Nordisk A/S - B     21/03/2014   3,159,000.00

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A     B            C                              D                        E            F               G              El

      Schedule 1   Pension Plan                   Shareholding             Ex Date      Withheld        Withheld       Amount of
      reference                                                                         dividend tax    dividend tax   overpayment by
                                                                                        (DKK)           entitlement    SKAT (DKK)
                                                                                                        (DKK)

13.       700      DW CONSTRUCTION, INC.          2.000,000                                                    =            1,080,000
                   RETIREMENT PLAN                Danske Bank A/S          19/03/2014   1,080,000.00
14.       701      DW CONSTRUCTION, INC.          3,850,000
                   RETIREMENT PLAN                Novo Nordisk A/S - B     21/03/2014   4,677,750.00           --           4,677.750
15.       702      FEDERATED LOGISTICS LLC        16,500,000
                   401(K) PLAN                    Danske Bank A/S          19/03/2014   8,910,000.00                        8,910,000
16.       703      FEDERATED LOGISTICS LLC        10,000,000
                   401(K) PLAN                    Novo Nordisk A/S - B     21/03/2014   12.150.000.00          -            12,150,000
17.       704      KAMCO INVESTMENTS, INC.        2,000.000
                   PENSION PLAN                   Danske Bank A/S          19/03/2014   1,080,000.00           --           1,080.000
18.       705      KAMCO INVESTMENTS. INC.        2,000,000
                   PENSION PLAN                   Novo Nordisk A/S - B     21/03/2014   2,430,000.00           --           2.430,000
19.       706      KAMCO LP PROFIT SHARING        7 375 000                                                                 3,982,500
                   PENSION PLAN                   Danske Bank A/S          19/03/2014   3,982,500.00           -
20.       708      LINDEN ASSOCIATES DEFINED      2,000,000                                                                 1,080,000
                   BENEFIT PLAN                   Danske Bank A/S          19/03/2014   1,080,000.00           -

21.       709      LINDEN ASSOCIATES DEFINED      2,000,000                                                                 2,43 %at)      C
                                                                                                                                           I
                   BENEFIT PLAN                   Novo Nordisk A/S - B     21/03/2014   2.430.000.00           -                  "77      r
                                                                                                                                 c_.       0
22.       710      MOIRA ASSOCIATES LLC 401 (K)   2,000,000                                                                 1,(j      00   a
                   PLAN                           Danske Bank A/S          19/03/2014   1,080,000.00           --                —k        C
                                                                                                                                  .—
23.       711      MOIRA ASSOCIATES LLC 401 (K)   3,150,000                                                                 3,8            C
                                                                                                                                           F
                   PLAN                           Novo Nordisk A/S - B     21/03/2014   3,827,250.00           --
24.       712      NEWSONG FELLOWSHIP CHURCH      2,000,000                                                                 1,080,000
                   401 (K) PLAN                   Danske Bank A/S          19/03/2014   1,080,000.00           n
25.       713      RIVERSIDE ASSOCIATES DEFINED   2,000,000                                                                 1,080,000
                   BENEFIT PLAN                   Danske Bank A/S          19/03/2014   1,080,000.00           --                          1


                                                                  2
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 A    B            C                              D                              E            F              G

      Schedule 1   Pension Plan                   Shareholding                   l'Ex Date    Withheld       Withheld       Amount of
      reference                                                                               dividend tax   dividend tax   overpayment bV
                                                                                              (DKK)          entitlement    SKAT (DKK)
                                                                                                             (DKK)

26.       714      RIVERSIDE ASSOCIATES DEFINED   2,000.000
                                                                                                                               2,430,000
                   BENEFIT PLAN                   Novo Nordisk A/S - B           21/03/2014   2,430,000.00          --
27.       715      THE GOLDSTEIN LAW GROUP PC     2,000.000                                                                    1,080,000
                   401(K) PROFIT SHARING PLAN     Danske Bank A/S                19/03/2014   1,080,000.00
28.       716      THE GOLDSTEIN LAW GROUP PC     2.000,000                                                                    2.430,000
                   401(K) PROFIT SHARING PLAN     Novo Nordisk A/S - B           21/03/2014   2,430,000.00          -
29.       829      DEL MAR ASSET MANAGEMENT       350.000                                                                      2,551,500
                   SAVING & RETIREMENT PLAN       Tryg A/S                       04/04/2014   2,551,500.00          =
30.       830      DEL MAR ASSET MANAGEMENT       12.000                                                            -          4.536.000
                   SAVING & RETIREMENT PLAN       A.P. Moller Ma rsk A/S - B     01/04/2014   4,536,000.00
31.       831      FEDERATED LOGISTICS LLC        300.000
                                                                                                                    =          2,187,000
                   401(K) PLAN                    Tryg A/S                       04/04/2014   2,187,000.00
32.       832      FEDERATED LOGISTICS LLC        18,000                                                                       6,804,000
                   401(K) PLAN                    A.P. Moller Mmrsk A/S - B      01/04/2014   6,804,000.00
33.       843      DW CONSTRUCTION, INC.          5.000                                                             -          1,890,000
                   RETIREMENT PLAN                A.P. Moller Mmrsk A/S - B      01/04/2014   1,890,000.00
                                                                                                                                              71
34.       844      KAMCO LP PROFIT SHARING        5,000                                                                            'd_7,020
                                                                                                                                        7     C
                                                                                                                                              orr
                                                                                                                               1,89L
                   PENSION PLAN                   A.P. Moller Mwrsk A/S - B      01/04/2014   1,890,000.00
35.       845      LINDEN ASSOCIATES DEFINED
                   BENEFIT PLAN
                                                  175,000                                                           ..         1   -g, 50     0
                                                  Tryg A/S                       04/04/2014   1,275,750.00
36.       846      MOIRA ASSOCIATES LLC 401 (K)   225,000                                                                                     C
                                                                                                                    -          1,6            F
                   PLAN                           Tryg A/S                       04/04/2014   1,640,250.00                                    2
                                                                                                                                              G
37.       847      MOIRA ASSOCIATES LLC 401 (K)   5,000
                   PLAN                           A.P. Moller Mwrsk A/S - B      01/04/2014   1,890,000.00          -          1,890,000
                                                                                                                    -
38.       848      NEWSONG FELLOWSHIP CHURCH      225,000
                   401 (K) PLAN                   Tryg A/S                       04/04/2014   1,640,250.00          -=         1,640,250      1



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      Schedule 1   Pension Plan                   Shareholding                  Ex Date      Withheld         Withheld       Amount of
      reference                                                                              dividend tax     dividend tax   overpayment by
                                                                                             (DKK)            entitlement    SKAT (DKK)
                                                                                                              (DKK)

39.       849      RIVERSIDE ASSOCIATES DEFINED   175.000
                   BENEFIT PLAN                   Tryg A/S                      04/04/2014   1,275,750.00                         1.275,750
40.       850                                     1,000,000
                   TVETER LLC PENSION PLAN        TDC A/S                       07/03/2014       594.000.00          -             594.000
41.       851                                     390.000
                   TVETER LLC PENSION PLAN        Danske Bank A/S               19/03/2014    210,600.00                          210,600
42.       852                                     225.000                                                                         273.375
                   TVETER LLC PENSION PLAN        Novo Nordisk A/S - B          21/03/2014    273.375.00             -
43.       853                                     800                                                                             302.400
                   TVETER LLC PENSION PLAN        A.P. Moller Mwrsk A/S - B     01/04/2014    302,400.00             -
44.       854                                     100 000                                                                          729.000
                   TVETER LLC PENSION PLAN        Tryg A/S                      04/04/2014       729.000.00
45.       1092     ACORN CAPITAL STRATEGIES LLC
                   EMPLOYEE PENSION PROFIT        20.000                                                                          7 560 000
                   SHARING PLAN & TRUST           A.P. Moller Mwrsk A/S - B     01/04/2014   7,560,000.00            -
46.       1093     CAMBRIDGE WAY LLC 401K         5,000,000                                                                       2,700,0      -
                   PROFIT SHARING PLAN            Danske Bank A/S               19/03/2014   2,700,000.00            -
                                                                                                                                       ..„.9
47.       1094     CAMBRIDGE WAY LLC 401K         612,500                                                                         4,4 .1 5
                   PROFIT SHARING PLAN            Tryg A/S                      04/04/2014   4,465,125.00            --               C
                                                                                                                                      Go       (
48.       1095     CAMBRIDGE WAY LLC 401K         20,000                                                                          7, , i HO    :r
                   PROFIT SHARING PLAN            A.P. Moller Mwrsk A/S - B     01/04/2014   7,560,000.00            -
49.       1096     CAMBRIDGE WAY LLC 401K         2,000.000                                                                       2 430 1I:1
                   PROFIT SHARING PLAN            Novo Nordisk A/S - B          21/03/2014   2,430,000.00            -
50.       1163                                    322,500
                   LINDEN ASSOCIATES DEFINED      Dampskibsselskabet Norden                                                       435,375
                   BENEFIT PLAN                   A/S                           24/04/2014       435,375.00          -



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      Schedule 1   Pension Plan                   Shareholding                Ex Date      Withheld         Withheld       Amount of
      reference                                                                            dividend tax     dividend tax   overpayment by
                                                                                           (DKK)            entitlement    SKAT (DKK)
                                                                                                            (DKK)

51.       1164                                    322.500
                   RIVERSIDE ASSOCIATES DEFINED   Dampskibsselskabet Norden                                                       435.375
                   BENEFIT PLAN                   A/S                         24/04/2014    435.375.00
52.       1165                                    215.000
                   THE GOLDSTEIN LAW GROUP PC     Dampskibsselskabet Norden                                                      290.250
                   401(K) PROFIT SHARING PLAN     A/S                         24/04/2014       290,250.00          -
53.       1166                                    240.000
                                                  Dampskibsselskabet Norden                                        -_             324,000
                   TVETER LLC PENSION PLAN        A/S                         24/04/2014    324,000.00
54.       1391                                    425.000
                   CAMBRIDGE WAY LLC 401K         Dampskibsselskabet Norden                                        =              573.750
                   PROFIT SHARING PLAN            A/S                         24/04/2014       573.750.00
55.       1508     DEL MAR ASSET MANAGEMENT       3.000.000                                                        =             3.240.000
                   SAVING & RETIREMENT PLAN       Coloplast A/S - B           09/05/2014   3,240,000.00
56.       1510     DW CONSTRUCTION. INC.          1,300.000                                                        =             1 404.000
                   RETIREMENT PLAN                Coloplast A/S - B           09/05/2014   1.404.000.00
57.       1511     FEDERATED LOGISTICS LLC        1,300.000                                                                      1,40 ' 6
                   401(K) PLAN                    Coloplast A/S - B           09/05/2014   1,404,000.00
58.       1513     KAMCO INVESTMENTS. INC.        1,300.000                                                        -             1.'   g 00
                   PENSION PLAN                   Coloplast A/S - B           09/05/2014   1,404,000.00                                ---1
59.       1520     LINDEN ASSOCIATES DEFINED      850.000                                                          -             91.
                   BENEFIT PLAN                   Coloplast A/S - B           09/05/2014       918 000.00
60.       1525     RIVERSIDE ASSOCIATES DEFINED   850.000
                   BENEFIT PLAN                   Coloplast A/S - B           09/05/2014       918,000.00          -              918.000
61.       1537                                    115,000
                   TVETER LLC PENSION PLAN        Coloplast A/S - B           09/05/2014       124 200.00          -              124,200



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A     B            C                                D                     E            F                G              H

      Schedule 1   Pension Plan                     Sharer-I' r,g         -'7' Date    Withheld         Withheld       Amount of
      reference                                                                        dividend tax     dividend tax   overpayment by
                                                                                       IDKK)            entitlement    SKAT (DKK)
                                                                                                        (DKK)

62.       1583     CAMBRIDGE WAY LLC 401K           2.850.000
                   PROFIT SHARING PLAN              Coloplast A/S - B     09/05/2014   3,078 000.00            -            31078,000
63.       1945     NEWSONG FELLOWSHIP CHURCH        50.000
                   40 1 IK1PLAN                     IC Grout) A/S         25/09/2014       40.500.00           _-            40.500
64.       2064     AMERICAN INVESTMENT GROUP        750000
                   OF NEW YORK. L.P. PENSION PLAN   Novozymes A/S - B     26/02/2015       607.500.00          -_            607,500
                                                                                                             Total         161.586.900




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                                         Annex E: Schedule 2 — incorrect Tax Vouchers

 A    B            C                                D                   E             F              G               1-1

      Schedule 1   Pension Plan                    Shareholding         Ex Date       Withheld       Withheld        Amount of
      reference                                                                       dividend tax   dividend tax    overpayment by
                                                                                      (DKK)          entitlement     SKAT (DKK)
                                                                                                     (DKK)

1.        527      CAMBRIDGE WAY LLC 401K PROFIT   2,000,000                                             2,835,000             945 000
                                                                         06/12/2013   3,780,000.00
                   SHARING PLAN                    Coloplast A/S - B
2.        615      AMERICAN INVESTMENT GROUP OF    5,000 000                                             1,782,000         1,188,000
                                                                         07/03/2014   2,970,000.00
                   NEW YORK, L.P. PENSION PLAN     TDC A/S
3.        617      AUTOPARTS PENSIONS GROUP        3,705,000                                             1,525,037         675 734
                                                                         07/03/2014   2,200,771.00
                   TRUST                           TDC A/S
4.        620      BLUEGRASS INVESTMENT
                   MANAGEMENT, LLC RETIREMENT      4,248,000             07/03/2014   2,523,312.00       1,815,264         708,048
                   PLAN                            TDC A/S
5.        621      BLUEGRASS RETIREMENT GROUP      1,610,000
                                                                         07/03/2014     956,340.00        716,958          239,382
                   TRUST                           TDC A/S
6.        623                                      3,402,400
                                                                         07/03/2014   2,021,025.60       1,543,628         477,398
                   CASTING PENSIONS GROUP TRUST    TDC A/S
7.        624      CENTRAL TECHNOLOGIES PENSIONS   1,570,000
                                                                         07/03/2014     932,580.00       700,920           231
                   GROUP TRUST                     TDC A/S
                                                                                                                                  „h0
8.        631      INDUSTRIAL PENSIONS GROUP       3,713,200
                                                                         07/03/2014   2,205,640.80       1,515,947         6 9...d 3
                   TRUST                           TDC A/S
9.        633      KAMCO LP PROFIT SHARING         5,000,000                                                               1            00
                                                                         07/03/2014   2,970,000.00       1,782,000
                   PENSION PLAN                    TDC A/S
10.       636      MOIRA ASSOCIATES LLC 401 (K)    6,000,000                                                                   CI‘
                                                                                                                           2,37 , 00
                                                                         07/03/2014   3,564,000.00       1,188,000
                   PLAN                            TDC A/S
11.       642      SV HOLDINGS, LLC RETIREMENT     3,073,200                                                               694 148
                                                                         07/03/2014   1,825,480.80       1,131,332
                   PLAN                            TDC A/S
12.       644      TEW ENTERPRISES, LLC            4,569,000                                                               673 596
                                                                         07/03/2014   2,713,986.00       2,040,390
                   RETIREMENT PLAN                 TDC A/S

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A     B            C                                D                       E            F              G               H

      Schedule 1   Pension Plan                     Shareholding            F;'Date      Withheld       Withheld        Amount of
      reference                                                                          dividend tax   dividend tax    overpayment by
                                                                                         (DKK)          entitlement     SKAT (DKK)
                                                                                                        (DKK)

13.       645                                      4,959,200                                                                 956 340
                                                                            07/03/2014   2,945,764.80       1,989,425
                   TEW, LP RETIREMENT PLAN         TDC A/S
14.       658.     CAMBRIDGE WAY LLC 401K PROFIT   7,900,000                                                877 500         4,455,000
                                                                            27/02/2014   5,332,500.00
                   SHARING PLAN                    Novozymes A/S - B
15.       697      AMERICAN INVESTMENT GROUP OF    7,750,000                   _.                           1,620,000       2,565,000
                                                                            19/03/2014   4,185,000.00
                   NEW YORK, L.P. PENSION PLAN     Danske Bank A/S
16.       707      KAMCO LP PROFIT SHARING         4,400,000                                                                4,252,500
                                                                            21/03/2014   5,346,000.00       1,093,500
                   PENSION PLAN                    Novo Nordisk A/S - B
                                                                                                             Total          22,315,499




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                                                    ROLLS BUILDING
                 Amended by Order of The Honou ab e Mr Justice ea e dated 6 March
                 2019 (as varied by Order of The H o able Mrs us ce Cockerill
                 dated 20 May 2019)
                                                           \C'C


                       Claim Nos.: CL-2018-000297; CL-2018-000404; CL-2018-000590
                 IN THE HIGH COURT OF JUSTICE

                 BUSINESS AND PROPERTY COURTS OF ENGLAND AND WALES

                 COMMERCIAL COURT

                 BETWEEN:

                                         SKAT
                      (THE DANISH CUSTOMS AND TAX ADMINISTRATION)
                                                              Claimant
                                         - and -

                     ED&F MAN CAPITAL MARKETS LIMITED AND OTHERS
                                                            Defendants




                                         AMENDED DEFENCE




                 Rosenblatt
                 9-13 St Andrew Street
                 London EC4A 3AF
                 Tel: (020) 7955 0880
                 Fax: (020) 7955 0888
                 DX: LDE 493

                 Solicitor's Ref: TS/ASF/EDF/1/57
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 ED&F
 MAN                                                     E D & F MAN CAPITAL MARKETS LIMITED



                                            Tax Voucher
    We ED&F Man Capital Markets Ltd, based at Cotton's Centre, Hays Lane, London SE1 2QE
    and registered in the United Kingdom — confirm, The Goldstein Law Group PC 401(K) Profit
    Sharing Plan FBO Sheldon and Scott Goldstein — Suite 1915, 61 Broadway, New York City,
    New York, 10006, United States of America, was holding the below security over the dividend
    date.

    Security Description:              TDC NS
    ISIN:                              DK0060228559
    SEDOL:                             5698790
    Ex Date:                           07th March 2014
    Record Date:                       11th March 2014
    Pay Date:                          12th March 2014
    Quantity:                          2,200,000 Shares
    Gross Div Rate:                    DKK 2.20
    Amount Received:                   DKK 3,533,200.00
    WHT Suffered:                      DKK 1,306,800.00
    WHT %:                             27%

    ED&F Man Capital Markets Limited has no beneficial interest in the holding and will not be
    reclaiming the tax. The dividends specified on this credit advice were paid net of withholding
    tax to The Goldstein Law Group PC 401(K) Profit Sharing Plan FBO Sheldon and Scott
    Goldstein. If you have any further concerns or issues please do not hesitate to contact us.


    AUTHORISED              SIGNATORY


    Christina MacKinnon



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    Head of Securities Operations




  Cottons Centre                                                                    Telephone: +44 (0)20 7089 8000
  Hay's Lane                        Regulated by the Financial Services Authority
  London SE1 2QE                        Registered in England No.1292851
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 MAN                                                      E D & F MAN CAPITAL MARKETS LIMITED



                                            Tax Voucher
    We ED&F Man Capital Markets Ltd, based at Cotton's Centre, Hays Lane, London SE1 2QE
    and registered in the United Kingdom — confirm, The Goldstein Law Group PC 401(K) Profit
    Sharing Plan FBO Sheldon and Scott Goldstein - 61 Broadway, Suite 1915, New York, NY
    10006, , USA, was holding the below security over the dividend date.

                           Security Description:                         Danske Bank A/S
                           ISIN:                                          DK0010274414
                           SEDOL:                                               4588825
                           Ex Date:                                           19/03/2014
                           Record Date:                                       21/03/2014
                           Pay Date:                                          24/03/2014
                           Quantity:                                        2,000,000.00
                           Gross Div Rate:                                             2
                           Amount Received:                                 2,920,000.00
                           WHT Suffered:                                    1,080,000.00
                           Currency                                                 DKK
                           WHT %:                                                   27%

    ED&F Man Capital Markets Limited has no beneficial interest in the holding and will not be
    reclaiming the tax. The dividends specified on this credit advice were paid net of withholding
    tax to The Goldstein Law Group PC 401(K) Profit Sharing Plan FBO Sheldon and Scott
    Goldstein. If you have any further concerns or issues please do not hesitate to contact us.


    AUTHORISED            SIGNATORY


    Christina MacKinnon




    Head of Securities Operations




  Cottons Centre                                                                           Telephone: +44 (0)20 7089 8000
  Hay's Lane                        Regulated by the Financial Services Authority
  London SE1 2QE                        Registered in England No.1292851
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  ED&F
  MAN                                                     E D & F MAN CAPITAL MARKETS LIMITED



                                            Tax Voucher
     We ED&F Man Capital Markets Ltd, based at Cotton's Centre, Hays Lane, London SE1 2QE
     and registered in the United Kingdom — confirm, The Goldstein Law Group PC 401(K) Profit
     Sharing Plan FBO Sheldon and Scott Goldstein - 61 Broadway, Suite 1915, New York, NY
     10006, USA, was holding the below security over the dividend date.

                           Security Description:                         Novo Nordisk A/S
                           ISIN:                                          DK0060534915
                           SEDOL:                                              BHC8X90
                           Ex Date:                                           21/03/2014
                           Record Date:                                       25/03/2014
                           Pay Date:                                          26/03/2014
                           Quantity:                                        2,000,000.00
                           Gross Div Rate:                                            4.5
                           Amount Received:                                 6,570,000.00
                           WHT Suffered:                                    2,430,000.00
                           Currency                                                 DKK
                           WHT %:                                                    27%

    ED&F Man Capital Markets Limited has no beneficial interest in the holding and will not be
    reclaiming the tax. The dividends specified on this credit advice were paid net of withholding
    tax to The Goldstein Law Group PC 401(K) Profit Sharing Plan FBO Sheldon and Scott
    Goldstein. If you have any further concerns or issues please do not hesitate to contact us.


    AUTHORISED SIGNATORY


    Christina MacKinnon




    Head of Securities Operations




  Cottons Centre                                                                            Telephone: +44 (0)20 7089 8000
  Hays Lane                         Regulated by the Financial Services Authority
  London SE1 2QE                        Registered In England No.1292851
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 ED&F
 MAN                                                     E D & F MAN CAPITAL MARKETS LIMITED



                                            Tax Voucher
    We ED&F Man Capital Markets Ltd, based at Cotton's Centre, Hays Lane, London SE1 2QE
    and registered in the United Kingdom — confirm, The Goldstein Law Group PC 401(K) Profit
    Sharing Plan FB0 Sheldon and Scott Goldstein - 61 Broadway, Suite 1915, New York,
    10006, USA, was holding the below security over the dividend date.

                           Security Description:                           D/S Norden NS
                           ISIN:                                           DK0060083210
                           SEDOL:                                               B1WP656
                           Ex Date:                                            24/04/2014
                           Record Date:                                        28/04/2014
                           Pay Date:                                           29/04/2014
                           Quantity:                                           215,000.00
                           Gross Div Rate:                                              5
                           Amount Received'                                    784,750.00
                           WHT Suffered:                                       290,250.00
                           Currency                                                  DKK
                           WHT %,                                                    27%

    ED&F Man Capital Markets Limited has no beneficial interest in the holding and will not be
    reclaiming the tax. The dividends specified on this credit advice were paid net of withholding
    tax to The Goldstein Law Group PC 401(K) Profit Sharing Plan FBO Sheldon and Scott
    Goldstein. If you have any further concerns or issues please do not hesitate to contact us.


    AUTHORISED SIGNATORY


    Christina MacKinnon



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    Head of Securities Operations




  Cottons Centre                                                                            Telephone: +44 (0)20 7089 8000
  Hay's Lane                        Regulated by the Financial Services Authority
  London SE1 2QE                        Registered in England No.1292851
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                                         CUSTODY AGREEMENT

      THIS CUSTODY AGREEMENT is made on 21June 2012

      BETWEEN:

      (1)   E D & F MAN CAPITAL MARKETS LIMITED, registered in England and Wales with
            company number 1292851, whose registered office is at Cottons Centre, Hay's Lane,
            London, 5E1 2QE (the "Custodian"); and
      (2)   THE GOLDSTEIN LAW GROUP PC 401(K) PROFIT SHARING PLAN FBO SHELDON
            AND SCOTT GOLDSTEIN the "Client").

      IT IS AGREED as follows:

      1.    DEFINITIONS AND INTERPRETATION

      1.1   Definitions

            Capitalised terms in this Agreement have the meaning given to them below:

            "Authorised Signatory" means any person who is designated in writing by the Client
            from time to time to act on behalf of the Client in respect of this Agreement

            "Business Day" means a day on which the Trans-European Automated Real-time Gross
            settlement Express Transfer (TARGET) system is open;

            "Client Cash" means cash in any currency arising out of or in connection with the Client
            Securities and any amounts standing to the credit of the Client Cash Account;

            "Client Property" means the Client Cash and/or the Client Securities;

            "Client Securities" means any securities (including evidence thereof, evidence of title
            thereto and all rights in respect thereof) deposited or transferred by the Client or on the
            Client's behalf to the Custodian or a Sub-Custodian or collected by the Custodian or a
            Sub-Custodian for the Client's account;

            "Client Securities Voting Rights" means each and any right to vote exercisable in
            respect of the Client Securities;

             Costs and Expenses" means costs, charges, losses, liabilities, expenses and other sums
            (including legal, accountants' and other professional fees) and any Tax thereon;

            °Custody Accounts" means the Client Cash Accounts and the Client Securities Accounts,
            and "Custody Account" shall mean any or a particular one of them as the context requires;

            "FSA" means the Financial Services Authority of the United Kingdom (including any
            successor or replacement regulatory authority);

            "FSA Rules" means the rules promulgated by the FSA pursuant to FSMA and set out in
            the FSA's handbook of rules and guidance, as updated, amended or repealed from time
            to time;
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            FsMA" means the Financial Services and Markets Act 2000;

            "Secured Liabilities" has the meaning given to such term in the Security and Set-Off
            Deed;

            "Security and Set-Off Deed" means the security and set-off deed dated on or about the
            date hereof between the Custodian and the Client

            "Sub-Custodian" means "Deutsche Bank Custody Services" or any other sub-custodian
            appointed by the Custodian from time to time;

            "Tax" or "taxation" or "tax" includes any tax, levy, impost, duty, charge, fee, contribution,
            deduction or withholding of any nature, and any interest or penalties in respect thereof.

      1.2   Construction of particular terms

            Unless otherwise specified, any reference to:

            (a)   an "affiliate" means in relation to any person, a subsidiary of that person or a
                  holding company of that person or any other subsidiary of that holding company;
            (b)   "assets" includes properties, revenues and rights of every kind, present, future and
                  contingent, and whether tangible or intangible;
            (c)   a "company" includes any company, corporation or other body corporate,
                  wherever and however incorporated or established;
            (d)   "holding company" means a holding company within the meaning of section 1159
                  of the Companies Act 2006;
            (e)   "law" includes common or customary law, principles of equity and any constitution,
                  code of practice, decree, judgement, decision, legislation, order, ordinance,
                  regulation, bye-law, statute, treaty or other legislative measure in any jurisdiction or
                  any present or future directive, regulation, guideline, request, rule or requirement
                  (in each case, whether or not having the force of law but, if not having the force of
                  law, the compliance with which is in accordance with the general practice of
                  persons to whom the directive, regulation, guideline, request, rule or requirement is
                  intended to apply) of any governmental, intergovernmental or supranational body,
                  agency, department or regulatory, self-regulatory or other authority or
                  organisation;
            (f)   "liability" includes, and "liabilities' include, any loss, damage, cost, charge, claim,
                  demand, expense, judgement, action, proceeding or other liability whatsoever
                  (including, without limitation, in respect of taxes, duties, levies, imposts and other
                  charges);
            (g)   a "person" includes any natural person, firm, company, corporation, undertaking,
                  government, state or agency of a state, any local or municipal authority, trust, any
                  association or partnership (whether or not having separate legal personality) of two
                  or more of the foregoing or other legal entity;
            (h)   a "regulation° includes any regulation, rule, official directive, request or guideline
                  (in each case, whether or not having the force of law but, if not having the force of
                  law, the compliance with which is in accordance with the general practice of
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                  persons to whom the regulation, rule, official directive, request or guideline is
                  intended to apply) of any governmental, intergovernmental or supranational body,
                  agency, department or regulatory, self-regulatory or other authority or
                  organisation;
            (i)   "rights" includes all rights, title, benefits, powers, privileges, interests, claims,
                  authorities, discretions, remedies, liberties, easements, quasi easements and
                  appurtenances (in each case, of every kind, present, future and contingent);
            (j)   "security" or "security interest" includes any mortgage, charge, pledge, lien,
                  security assignment, hypothecation or trust arrangement for the purpose of
                  providing security and any other encumbrance or security interest of any kind
                  having the effect of securing any obligation of any person (including, without
                  limitation, the deposit of moneys or property with a person with the intention of
                  affording such person a right of set-off or lien) and any other agreement or any
                  other type of arrangement having a similar effect; and
            (k)   "subsidiary" means a subsidiary within the meaning of section 1159 of the
                  Companies Act 2006 and a subsidiary undertaking within the meaning of section
                  1161 of the Companies Act 2006.

      1.3   Interpretation

            (a)   Words importing the singular shall include the plural and vice versa.
            (b)   Unless a contrary indication appears, a reference to any party or person shall be
                  construed as including its and any subsequent successors in title, permitted
                  transferees and permitted assigns, in each case in accordance with their respective
                  interests.
            (c)   Unless a contrary indication appears, a reference to a time of day shall be
                  construed as referring to London time.
            (d)   Section, clause and Schedule headings are for ease of reference only and shall be
                  ignored in construction.
            (e)   Unless a contrary indication appears, references to any provision of any law or
                  regulation are to be construed as referring to that provision as it may have been, or
                  may from time to time be, amended or re enacted, and as referring to all bye laws,
                  instruments, orders and regulations for the time being made under or deriving
                  validity from that provision.
            (0    A reference to any document is a reference to that document as amended,
                  restated, supplemented, novated or replaced from time to time (except where the
                  context otherwise requires).

      2.    APPOINTMENT

            (a)   The Client hereby appoints the Custodian to act as bare trustee for the purposes of
                  safekeeping the Client Property upon the terms of this Agreement and the
                  Custodian agrees to act as such upon the terms and conditions set out in this
                  Agreement.
            (b)   The Custodian shall open the following accounts:
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                 (i)    one or more custody accounts in the Custodian's books recording any Client
                        Securities (the "Client Securities Accounts"); and
                 (ii)   one or more accounts in the Custodian's books recording any Client Cash
                        held by or on behalf of the Custodian on account of the Client (the "Client
                        Cash Account").

           (c)   Each Custody Account shall be maintained in London, England.
           (d)   Subject to Clause 2(c), the Client Property may be held by the Custodian at any of
                 the Custodian's places of business or (in accordance with Clause 4 (Use of Sub-
                 Custodians)) by a Sub-Custodian in the United Kingdom or elsewhere, at the
                 Custodian's absolute discretion.
           (e)   The Client Securities shall be held, recorded, registered and segregated in
                 accordance with the FSA Rules or, where held outside the United Kingdom, the
                 equivalent of the FSA Rules relating solely to these matters, provided that the
                 Custodian shall not be required to comply with any equivalent of the FSA Rules
                 which require any consent to be obtained or notification to be given by the
                 Custodian.
           (f)   The Custodian shall only accept custody under this Agreement of Client Property.

      3.   CATEGORISATION

           (a)   The Client hereby acknowledges that the Custodian shall classify the Client as a
                 "Elective Professional Client" for the purpose of the FSA Rules; that the Client has
                 not objected to this classification; and the Client hereby confirms that it consents to
                 such classification.
           (b)   The Client may be entitled to request a different categorisation under the ESA
                 Rules. However, a different categorisation could result in the loss of certain client
                 protections.

      4.   USE OF SUB-CUSTODIANS

           (a)   The Custodian may from time to time delegate to a Sub-Custodian any of the
                 Custodian's duties under this Agreement, including (without limitation) the
                 safekeeping of the Client Property, and each such Sub-Custodian shall hold the
                 Client Property at the Client's risk and, subject to Clauses 2(e) and 4(b), on such
                 terms and conditions as such Sub-Custodian may require.
           (b)   The Client acknowledges that any Sub-Custodian may delegate or appoint an
                 agent or sub -custodian to perform any of its duties as Sub-Custodian.
           (c)   Holdings of the Client Property by Sub-Custodians will be subject to applicable
                 laws and regulations including, without limitation, any applicable rules of the
                 relevant Sub-Custodian and the Custodian is under no obligation to take or refrain
                 from taking any action in relation to such Client Property, whether pursuant to a
                 Client Instruction or otherwise, except to the extent the Custodian has a right to
                 require the Sub-Custodian to take or refrain from taking such action.
           (d)   Notwithstanding any other provision of this Agreement, where the Client Property
                 is held by a Sub-Custodian the Custodian has no liability or responsibility of any
                  nature whatsoever to the Client in relation to the Client Property except to the
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                 extent that the Sub-Custodian has an equivalent liability to the Custodian in
                 relation to the Client Property under the Sub-Custody Agreement.

      5.   CUSTODY OF THE CLIENT SECURITIES

           (a)   The Client shall deliver assets intended for custody under this Agreement to the
                 Custodian or as the Custodian may direct at the Clients expense and risk, in the
                 manner, and accompanied by such documents, as the Custodian may require.
           (b)   The Custodian will identify in the Custodian's books that the Client Securities are
                 beneficially owned by the Client. The Custodian will require Sub-Custodians to
                 identify in their books that the Client Securities are held to the order of the
                 Custodian.
           (c)   The Custodian may pool the Client Securities with securities held by the Custodian
                 for other clients. The Client Securities may be held by the Custodian or by any Sub-
                 Custodian in a fungible account in which case the Custodian will identify in its
                 books that such Client Securities belong to the Client. The Custodian may use the
                 Client Securities for the account of another customer and vice versa.
           (d)   The Custodian may hold any document of title or document evidencing title to the
                 Client Securities:

                 (i)     in the Custodian's physical possession;
                 (ii)    with a Sub-Custodian; or
                 (iii)   otherwise, with the prior written consent of the Client

           (e)   Notwithstanding any other provision of this Agreement, but without prejudice to
                 the Client's proprietary rights, the Client Securities will be deemed to be fungible
                 for the purposes of this Agreement. Accordingly, the Customer's redelivery rights
                 in respect of the Client Securities are not in respect of the Securities actually
                 deposited with the Custodian from time to time but rather in respect of Securities
                 of the same number, class, denomination and issue as those Securities originally
                 deposited with the Custodian from time to time. A reference in this Agreement to
                 "Client Securities" (and similar expressions) shall be construed accordingly.

      6.   REGISTRATION OF SECURITIES

           (a)   All Client Securities delivered to the Custodian shall be registered in the name of
                 the Client, Custodian, nominee or agent of the Custodian, or Sub-Custodian in
                 compliance with FSA Rules.
           (b)   The Client acknowledges that where Client Securities are registered in the name of
                 the Custodian, the Client Securities may not be segregated from other securities
                 held by the Custodian and the Client Securities and may not be identifiable by
                 separate certificates or other physical documents of title. Consequently, should the
                 Custodian become insolvent, the Client securities may not be protected from claims
                 made on behalf of the general creditors of the Custodian.
           (c)   The Client acknowledges that where the Client Securities are held by a Sub-
                 Custodian outside the United Kingdom, different settlement, legal and regulatory
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                 requirements, and different practices relating to the segregation of those securities,
                 may apply.
           (d)   Where the Client Securities are registered in the same name as the securities of
                 other clients of the Custodian, the Client is warned that its entitlements to
                 particular Client Securities may not be identifiable by separate certificates or other
                 physical documents of title, and that, should the Custodian default, any shortfall in
                 the Client Securities registered in that name may be shared pro rata among all
                 Clients whose securities are registered.
           (e)   Where the Client has instructed the Custodian on the holding, registration or
                 recording of Client Securities, the Client is hereby notified that the consequences of
                 doing so are at the Client's own risk unless the Custodian has agreed otherwise.
           (f)   Where any Client Securities are in uncertificated form or are otherwise transferable
                 by book entry transfer, the Client agrees that the Custodian may (where this is
                 market practice) use the services of any securities depository, clearing or settlement
                 system, account controller or other participant in the relevant system, on such
                 terms as the Custodian may think fit, for the purposes of the holding and transfer
                 of such Client Securities (or entitlements thereto). Such Client Securities or
                 entitlements will, so far as is practicable, be separately identifiable from any Client
                 Securities or entitlements held within the same system for the account of the
                 Custodian.

      7.   AUTHORISED SIGNATORIES

           The Client shall provide the Custodian with a list of Authorised Signatories together with
           specimens of their signatures and the Custodian shall be entitled to rely upon the
           continued authority of the Authorised Signatories until the Custodian receives written
           notice from the Client to the contrary.

      8.   CUENT INSTRUCTIONS

           (a)   The Custodian may act on instructions ("Client Instruction?) from an Authorised
                 Signatory or Client Instructions purporting to be given by an Authorised Signatory
                 received by the Custodian in writing, or by electronic or other medium agreed in
                 writing between the parties. Client Instructions given by an agreed electronic
                 medium shall be deemed to have been given by an Authorised Signatory.
           (b)   Client Instructions shall continue in full force and effect until cancelled or
                 suspended.
           (c)   The Custodian may, in the Custodian's absolute discretion (but shall be under no
                 duty to), refuse to act on Client Instructions which are not given in accordance with
                 this Agreement.
           (d)   If any Client Instructions are incomplete, unclear, ambiguous, and/or in conflict with
                 other Client Instructions, the Custodian may at the Custodian's absolute discretion
                 and without any liability on the Custodian's part, act upon what the Custodian
                 believes in good faith such Client Instructions to be or refuse to act on such Client
                 Instructions until any incompleteness, lack of clarity, ambiguity and/or conflict has
                  been resolved to the Custodian's satisfaction.
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            (e)   The Custodian will promptly inform an Authorised Signatory if it is not going to act
                  on a particular Client Instruction received from such individual.
            (f)   Client Instructions shall be carried out subject to the rules, operating procedures
                  and market practice of any relevant stock exchange, Sub-Custodian or market (the
                  "Custody Rules"). The Custodian may refuse to carry out Client Instructions if in
                  the Custodian's reasonable opinion they are contrary to the Custody Rules or any
                  applicable law, or other regulatory or fiscal requirement and shall be entitled at the
                  Custodian's absolute discretion to amend Client Instructions so that they comply
                  with the Custody Rules, in which case the Custodian shall promptly notify the Client
                  of such amendment
            (g)   The Custodian shall be under no duty to challenge or make any enquires
                  concerning any Client Instruction and, subject to Clause 8(d), all Client Instructions
                  shall be deemed to be conclusive of the Client's order or instruction.

      9.    SETTLEMENT AND REDELIVERY

            (a)   In accordance with Client Instructions and subject to Clause 8 (Client Instructions),
                  the Custodian will arrange for the settlement of transactions which have been
                  executed by the Client or on the Client's behalf
            (b)   The Custodian shall credit the Client Cash Account with the proceeds of any sale or
                  exchange of Client Securities and debit the Client Cash Account for the cost of any
                  Client Securities purchased or acquired only on the date on which such proceeds or
                  Client Securities are received by the Custodian.
            (c)   If Client Instructions are given to transfer to Client or at its direction, Client Property
                  other than as contemplated by the foregoing provisions of this Clause 9 then,
                  subject to Clauses 8 (Client Instructions) and 9(d) and subject to the Custodian
                  being able to give effect to such Client Instructions in accordance with their terms,
                  the Custodian shall give effect to the relevant transfer.
            (d)   The Custodian shall be under no obligation to act on Client Instructions:

                  (i)     to settle any purchase of Client Securities unless and until there is sufficient
                          Client Cash in the Client Cash Account (or other arrangements for payment
                          satisfactory to the Custodian have been made);
                  (ii)    to settle or give effect to any sale or other transfer of Client Securities unless
                          the Client Securities are in deliverable form in the relevant Client Securities
                          Accounts; or
                  (iii)   to give effect to any transfer to the Client or at its direction, of Client Cash
                          unless there is sufficient Client Cash in the Client Cash Account.

      10.   ACTIONS NOT REQUIRING CLIENT INSTRUCTIONS

            In the absence of contrary Client Instructions, the Custodian is authorised by the Client to
            carry out the following actions relating to Client Property without reference to the Client,
            namely:

            (a)   to take such actions as are necessary to settle: (i) the transactions contemplated by
                  the Transaction Documents (as defined in the Security and Set-Off Deed); and (ii)
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                  transactions contemplated by any instruction in respect of the Client Securities
                  given by the Client to its broker,
            (b)   to collect and receive, for the Client's account, all payments (whether income or
                  capital), income and dividends in respect of Client Property and to credit such to
                  the Client Cash Account, and to take any action necessary and proper in connection
                  with the same and the endorsement for collection of cheques, drafts and other
                  negotiable instruments and the deduction or withholding of any sum on account of
                  any Tax which may be due from either the Custodian or the Client in respect of
                  Client Property;
            (c)   to execute on the Client's behalf such ownership and other certificates as may be
                  required to obtain payment in respect of the Client Securities;
            (d)   to exchange interim or temporary documents of title to the Client Securities for
                  definitive ones; and
            (e)   to perform and carry out on the Client's behalf or otherwise all acts which, in the
                  Custodian's reasonable opinion or the reasonable opinion of any Sub-Custodian,
                  are requisite or desirable to enable the Custodian or a Sub-Custodian, to
                  implement any Client Instructions or otherwise to perform the Custodian's duties
                  and exercise the Custodian's rights under this Agreement

      11.   OTHER SERVICES AND SCOPE OF RESPONSIBILITY

            (a)   The Custodian shall use all reasonable care in performing its obligations under this
                  Agreement and shall look after the Client Securities with all reasonable care.
            (b)   Income, dividends and redemption proceeds on the Client Securities will only be
                  credited (net of Taxes) after actual receipt and reconciliation.
            (c)   Provided the Custodian receives the requisite information acting in its capacity as
                   custodian under this Agreement, the Custodian shall use reasonable endeavours to
                  notify the Client of all calls for redemption, grants or expiration of conversion rights
                  or subscription rights, mergers, takeover or other offers, consolidations,
                  reorganisations and capitalisations affecting the Client Securities.
            (d)   For the avoidance of doubt, and subject to Clause 10 (Actions not requiring Client
                  Instructions), the Custodian shall not, except in accordance with Client Instructions,
                  take any action in relation to the matters referred to in Clause 11(c) and the
                  Custodian is not responsible for the exercise of any conversion or subscription
                  rights or for dealing with takeover or other offers or capital restructuring.
            (e)   The Custodian shall notify the Client when the Client Securities Voting Rights
                  become exercisable by the Custodian in respect of any Client Securities promptly
                  upon becoming aware of the same and shall, subject to Clause 11(f), exercise such
                  Client Securities Voting Rights in accordance with the Client's written instructions
                  provided such instructions are received so as to allow the Custodian acting on its
                  best efforts to do so. If no such instructions are received from the Client then the
                  Custodian shall not exercise such Client Securities Voting Rights.
            (f)    The Custodian shall not be obliged to act in accordance with the written
                  instructions given under Clause 11(e) unless:

                  (i)    such instructions are clear, unambiguous and lawful; and
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                (ii)    the exercise by the Custodian of the Client Securities Voting Rights in
                        accordance with such instructions is lawful; and
                (iii)   the proposed resolution or matter in respect of which the Client Securities
                        Voting Rights are to be exercised in accordance with such instructions is
                        lawful.

         (g)    Unless otherwise agreed in writing and subject to Clause 10 (Actions not requiring
                Client Instructions), the Client shall be responsible for all filings, Tax returns and
                reports on any transactions undertaken or settled pursuant to this Agreement
                which must be made to any relevant authority whether governmental or otherwise
                for the payment of all unpaid calls, Taxes (including, without limitation, any value
                added tax) or any other liability or payment arising out of or in connection with the
                Client Property.
         (h)    The Client shall, if required in connection with any Taxes required to be withheld or
                otherwise paid in respect of interest, dividends, redemption proceeds or other
                income arising from the Client Property, provide any relevant information to the
                Custodian and co-operate with the Custodian in furnishing information, executing
                documents or otherwise. The Custodian shall rely on such information as has been
                provided by the Client, and the Client shall be responsible for notifying the
                Custodian of any changes affecting its Tax position or status. Other than as may be
                expressly provided in this Agreement, the Custodian shall have no responsibility
                with regard to the Client's Tax position or status in any jurisdiction.
         (i)    Neither the Custodian nor any Sub-Custodian shall be obliged to:

                (i)     institute legal or administrative proceedings on behalf of the Client or in
                        respect of any Client Property or any Tax; or
                (ii)    file a claim or proof of claim in any insolvency proceedings.

         (i)    The Custodian shall be under no duty or obligation to insure the Client Property or
                any part of the Client Property, for the Client against any risk.
         (k)    The Custodian shall be under no duty to take or omit to take any action with
                respect to the Client Property or otherwise except in accordance with this
                Agreement.
          (I)   Without prejudice to Clause 11(g) above, the Client will be responsible for all filings,
                returns, reports and statements with any regulatory authority which it is required to
                make either by that authority or under applicable laws, rules or regulations.
          (m)   The Custodian does not act as manager or investment adviser to the Client under
                this Agreement, and responsibility for the selection, acquisition and disposal of the
                Client Property remains with the Client at all times.
          (n)   The Custodian may appoint agents to conduct any of the services referred to in this
                Clause 11 (or in any other agreement expressed to form part of this Agreement)
                including, without limitation, any of its affiliates or persons connected with any
                 Sub-Custodian.
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     12.   RECORDS AND STATEMENTS

           (a)   The Custodian shall keep all records and statements as may be necessary to give
                 the Client a complete record of all Client Property held by it on behalf of the Client
                 from time to time and of all material actions taken by it pursuant to this
                 Agreement.
           (b)   The Custodian shall provide the Client with a statement of Client Property held by
                 the Custodian on behalf of the Client at intervals to be agreed with the Client.
           (c)   The basis on which Client Property is valued as shown in such statements shall be
                 notified to the Client.

     13.   UMITATIONS OF UABIUTY

           (a)   The Custodian shall only be liable to the Client for any liability, loss or cost suffered
                 by or incurred by the Client to the extent that such liability, loss or cost is a direct
                 result of its own breach of duty, the wilful default, fraud or negligence of the
                 Custodian in providing services under this Agreement.
           (b)   Subject to Clause 13(a) above, the Custodian shall not be liable to the Client for any
                 liability, loss or cost suffered by the Client arising from:

                 (i)     the acts, omissions or the insolvency of any Sub-Custodian or its agent in the
                         absence of breach of duty, negligence or wilful default by the Custodian in
                         the initial selection of any Sub-Custodian;
                 (ii)    the collection or deposit or crediting to the relevant Client Securities Account
                         of invalid, fraudulent or forged Client Securities or any entry in the Client
                         Securities Accounts or the Client Cash Account which may be made in
                         connection with that collection, deposit, crediting or entry;
                 (iii)   any delay arising while the Custodian obtains clarification of Client
                         Instructions in accordance with Clause 8(d);
                 (iv)    acting on what the Custodian in good faith believes to be valid Client
                         Instructions or in relation to notices, requests, waivers, consents, receipts,
                          corporate resolutions or their equivalent or other documents which the
                         Custodian in good faith believes to be genuine; or
                 (v)     effecting delivery or payment against an expectation of receipt, except where
                          such delivery or payment is contrary to the Client Instruction or relevant local
                         market practice.

           (c)   Investing in foreign markets and holding assets overseas may involve special risks.
                 The Client should be aware that there may be different settlement, legal and
                 regulatory requirements in overseas jurisdiction from those applying in the United
                 Kingdom, together with different practices for the separate identification of Client
                 Securities where the Custodian arranges for such Client Securities to be held
                 overseas.
           (d)   For the avoidance of doubt and subject to Clause 13(a) above, the Custodian
                 accepts no liability whatsoever for any liability, loss or cost suffered or incurred by
                 the Client resulting from the general risks of investment or the holding of assets
                 including, but not limited to, losses arising from nationalisation, expropriation or
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                  other governmental actions, regulations of the banking or securities industries,
                  including changes in market rules, currency restrictions, devaluations or
                  fluctuations, and market conditions affecting the execution or settlement of
                  transactions or the value of assets.
            (e)   The Custodian shall not be responsible for any loss resulting from acts of war,
                  terrorism, insurrection, revolution, acts of God, strikes or work stoppages, failures of
                  settlement systems to settle transactions, or other events beyond the reasonable
                  control of the Custodian.
            (f)   Any liability of any nature which arises from the provision by the Custodian of its
                  services under this Agreement shall be limited to the amount of the Client's actual
                  loss at the time the loss is discovered (which loss shall, in respect of any asset which
                  has been mislaid or lost, be determined solely by reference to the market value of
                  that asset) but without reference to any special conditions or circumstances known
                  to the Custodian at the time of entering into this Agreement, or at the time of
                  accepting any Client Instructions, which increases the amount of the loss. In no
                  event shall the Custodian be liable for any consequential or special damages,
                  including, without limitation, any loss of reputation, goodwill or business suffered
                  by the Client.
            (g)   The Custodian and each of its affiliates may have an interest in or in relation to, as
                  the case may be, any Client Property or transaction held, executed or settled, as the
                   case may be under this Agreement as investment manager, investment adviser,
                   broker, underwriter, counterparty or creditor or in any other capacity. The
                  Custodian and each of its affiliates may receive and retain any fee or brokerage due
                   or paid, as the case may be, to it or any of them, as the case may be, and shall not
                   be liable to account to the Client for any such fee or brokerage or any information
                   obtained by it or any of them as the case may be, by reason of the interest referred
                  to above.

      14.   FEES AND EXPENSES

            (a)   The Client shall pay such fees ("Fees") to the Custodian in respect of the services
                  provided under this Agreement as the Custodian may, from time to time,
                  determine and notify to the Client
            (b)   The Client shall on demand reimburse the Custodian's reasonable Costs and
                  Expenses properly incurred in connection with this Agreement.

      15.   INTEREST

              To the extent permitted by applicable law, if any sum of money payable to the
              Custodian is not paid when due, interest shall accrue upon such unpaid sum as a
              separate debt, at such reasonable market rate as the Custodian may determine, for the
              actual number of days during the period from and including the date on which payment
              was due but excluding the date of payment.
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     16.    INDEMNITY

            (a)   The Client hereby agrees on demand to indemnify the Custodian, and keep the
                  Custodian fully and effectively indemnified against:

                  (i)     each liability, loss and cost which may be suffered or incurred by the
                          Custodian in connection with the Client Property, this Agreement or the
                          performance of the Custodian's obligations under this Agreement (other
                          than Tax); and
                  (ii)    any Tax for which the Custodian is or may be liable or accountable in
                          connection with the Client Property, this Agreement or the performance of
                          the Custodian's obligations under this Agreement (including without
                          limitation the purchase and/or sale of Client Securities, the collection and/or
                          realisation of coupons, dividends, interest or other payments, the receipt of
                          or entitlement to receive any income, and the Custodian acting as or being
                          deemed to be a trustee, branch or agent of the Client) provided that this
                          indemnity shall not extend to Tax on or attributable to any Fees.

            (b)   The indemnity in Clause 16(a) shall not extend to any liability, loss or cost arising
                  out of the wilful default fraud or negligence of the Custodian or any Sub-
                  Custodian appointed by the Custodian under this Agreement.

     17.    REPRESENTATIONS AND WARRANTIES

            (a)   The Client hereby represents and warrants to the Custodian that

                  (i)     the Client is 401K Plan
                  (ii)    the Client was, on or immediately prior to the deposit or transfer of any
                          Client Securities by the Client or on the Client's behalf with or to the
                          Custodian or a Sub-Custodian, the beneficial owner of such Client Securities
                          free of mortgage, charge, pledge, lien, right of set-off or any security interest,
                          encumbrance and claim whatsoever in favour of a third party;
                  (iii)   the Client is acting as principal and not as agent with respect to each
                          transaction or asset that is the subject of this Agreement and
                  (iv)    the Client has not relied on or been induced to enter into this Agreement by
                          any representations other than those expressly set out in this Agreement and
                          the Custodian is not liable to the Client for any representation that is not set
                          out in this Agreement.

            (b)    The representations and warranties set out in Clause 17(a) shall be continuing and
                   shall be deemed repeated by the Client on the date of this Agreement and each
                   time the Client deposits Client Property with, or withdraws Client Property from, the
                   Custodian.

      18.   CONFIDENTIALITY

            (a)    The Custodian will not (subject to the other provisions of this Agreement, including
                   Clauses 18(b) and 18(c)) disclose to any other person any confidential information
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                 acquired as a result of or pursuant to this Agreement ("Client Confidential
                 Information") except (a) to an affiliate of the Custodian; (b) as appropriate to
                 perform its services under this Agreement or (c) as authorised by the Client.
           (b)   Client Confidential Information may be disclosed by the Custodian if the Custodian
                 is required to do so by any applicable law, statute or other regulation or by any
                 court order or similar process enforceable in any relevant jurisdiction and if
                 required to do so by any fiscal body or regulatory body or self-regulatory
                 organisation (whether of a governmental nature or otherwise) in any relevant
                 jurisdiction.
           (c)   Client Confidential Information may be disclosed to any Sub-Custodian.
           (d)    The Custodian may collect, use and disclose personal data about individuals
                 associated with the Client in connection with the services to be provided under this
                  Agreement and in compliance with all applicable laws. The Custodian may also
                  transfer this personal data to any country, including countries outside the European
                 Economic Area, for any of the purposes set out above.

     19.   NOTICES

           (a)   Any communication to be made under or in connection with this Agreement shall
                 be made in writing and, unless otherwise stated, may be made by fax e-mail or
                 letter to the following:

                 (i)     in the case of the Client to:

                       Address:        61 Broadway
                                       Suite 1915
                                       New York
                                       NY 10006
                                       USA
                       Attention:      Sheldon Goldstein, Scott Goldstein


                       Tel:


                 (H)      in the case of the Custodian to:

                       Address:        E D& F Man Capital Markets Limited
                       Attention:      Legal & Compliance
                       Address:        Cottons Centre
                                       Hays Lane
                                       London,
                                       SE1 2QE
                                       England.
                       Email:          BackOfficeftedfmcs.com & comp] ance@edfmca.corri
                       Tel:             +44 20 7089 8000
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                 or any substitute address or fax number or e-mail address as a party to this
                 Agreement may notify to the other parties hereto by not less than five Business
                 Days' notice.

           (b)   Any notice or other communication required in this Agreement to be given in
                 writing by the Client to the Custodian shall be signed by one or more Authorised
                 Signatories and sent by post or delivered personally to the address for the
                 Custodian specified in Clause 19(a) and marked with any contact name for the
                 Custodian identified in Clause 19(a).
           (c)   Any communication made by one party to this Agreement to another under or in
                 connection with this Agreement will only be effective:

                 (i)     if by way of fax, at the time when the fax transmission has been sent in its
                         entirety and the sender's fax machine shall have generated a successful
                         transmission report; or
                 (ii)    if by way of e-mail electronic messaging, at the time that the e-mail
                         electronic message is sent for the attention of the legal department and
                         trading desk detailed in Clause 19 and the senders e-mail electronic
                         messaging system shall not immediately thereafter have generated an
                         unsuccessful transmission report, and, in either case, if made to the
                         Custodian, only if addressed in such manner as the Custodian may from time
                         to time specify for this purpose; or
                 (iii)   if by way of letter, when such letter has been delivered at the relevant
                         address noted in Clause 19 or, in the case of posting, upon one Business Day
                         after the date of registered or recorded delivery posting addressed to it at
                         that address,
                 (iv)    and, if a particular department, officer or person is specified as part of its
                         address details provided under Clause 19(a), if addressed to that department,
                         officer or person.

     20.   MISCELLANEOUS

           (a)   The Client undertakes upon request to notify the Custodian its place of
                 incorporation, principal place of business, residence, control or management, home
                 office, tax file number or other information which may affect the Client's status or
                 accessibility for taxation purposes in any country by reason of this Agreement.
           (b)   The Client acknowledges that the provision of services outlined in this Agreement
                 by the Custodian to the Client arose solely as a consequence of the initiative of the
                 Client and did not result from any form of solicitation on the part of the Custodian.
           (c)   Unless otherwise agreed in writing, this Agreement may only be amended by
                 written agreement of the parties except that the Custodian may amend this
                 Agreement on written notice to the Client if the Custodian believes the
                 amendments are requisite or desirable in order for the Custodian to comply with,
                 or reflect in the Agreement, any applicable law or regulation or any rule of any
                 governmental agency to which the Custodian or any Sub-Custodian may become
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                subject in any jurisdiction, including without limitation, in USA or the United
                Kingdom or its obligations under Clause 2(e),
          (d)   If any of the provisions of this Agreement become invalid, or illegal or
                unenforceable in any respect under any law, the validity, legality and enforceability
                of the remaining provisions shall not in any way be affected or impaired.
          (e)   The rights and obligations of the parties under this Agreement shall not, other than
                pursuant to the Security and Set-Off Deed, be assigned, charged or otherwise dealt
                with by either of them. The Custodian may however assign, charge or otherwise
                deal with its rights and obligations under this Agreement with or to any of its
                affiliates, including without limitation by delegating any of its rights and obligations
                to an affiliate. Subject to this Clause 20(e), this Agreement shall be binding upon
                and shall inure to the benefit of the parties and their respective successors and
                assigns.
          (f)   The parties to this Agreement do not intend that any term of this Agreement
                should be enforceable, by virtue of the Contracts (Rights of Third Parties) Act 1999,
                by any person who is not a party to this Agreement.
          (g)   A waiver (whether express or implied) by one party of any provision of this
                Agreement or of any breach of or default of the other party under this Agreement
                shall not constitute a continuing waiver and that waiver shall not prevent the
                waiving party from subsequently enforcing any of the provisions of this Agreement
                not waived or from acting on any subsequent breach of or default by the other
                party under any of the provisions of this Agreement.
          (h)   Telephone conversations between the Client and the Custodian may be recorded
                and monitored by the Custodian and any recording may be used as evidence in the
                case of any dispute.
          (i)   The Custodian may be required by law or the rules and regulations of the ESA
                and/or other relevant regulatory agencies, authorities and exchanges to perform or
                refrain from certain acts or report or disclose details of Client Instructions or
                transactions effected with or for the Client or any other matters. In particular,
                disclosure and reporting obligations may arise under the rules referred to in Clause
                8(f) and the Money Laundering Regulations 2003 (and related legislation), The
                Client hereby authorises the Custodian to do or refrain from such acts, and
                consents to such reporting or disclosure.
          (j)   The Client and the Custodian agree that any services provided by the Custodian to
                the Client under this Agreement shall be deemed to be a "Netting Transaction" for
                the purposes of any Terms of Business (as defined in the Security and Set-Off
                Deed).
          (k)   The Client and the Custodian agree that this Agreement is in all respects subject to
                the terms of the Security and Set-off Deed and that, in the event of any
                inconsistency between this Agreement and the Security and Set-off Deed, the
                terms of the Security and Set-off Deed shall prevail to the extent of any
                inconsistency.
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      21.   TERMINATION

            (a)   The Custodian may terminate this Agreement on giving not less than 30 calendar
                  days' written notice to the Client.
            (b)   The Client may terminate this Agreement on giving not less than 45 calendar days'
                  written notice to the Custodian, provided that the Client shall not be entitled to
                  terminate this Agreement until all the Secured Liabilities have been irrevocably paid
                  or discharged in full.
            (c)   All remedies under this Agreement shall survive the termination of this Agreement.
            (d)   Subject to the completion of transactions already initiated under this Agreement
                  and the exercise by the Custodian of the Custodian's rights under this Agreement,
                  the Custodian shall as soon as reasonably practicable after termination of this
                  Agreement deliver to the Client the Client Property held by the Custodian.
            (e)   clauses 13 (Limitations of Liability), 14 (Fees and Expenses), 15 (Interest) and
                  16 (Indemnity) will continue to be effective despite the termination of this
                  Agreement.

      22.   GOVERNING LAW, LANGUAGE AND JURISDICTION

            (a)   This Agreement shall be governed by, and shall be construed in accordance with,
                  the laws of England.
            (b)   Any notice given under or in connection with this Agreement shall be in English.
            (c)   All other documents provided under or in connection with this Agreement shall be:

                  (i)    in English; or
                  (ii)   if not in English, accompanied by a certified English translation if requested
                         by the relevant recipient and, in this case, the English translation shall prevail
                         unless the document is a statutory or other official document.

            (d)   The courts of England have non-exclusive jurisdiction to settle any dispute arising
                  out of or in connection with this Agreement (including a dispute regarding the
                  existence, validity or termination of this Agreement) (a "Dispute").
            (e)   The parties to this Agreement agree that the courts of England are the most
                  appropriate and convenient courts to settle Disputes and accordingly no party will
                  argue to the contrary.
            (f)   The parties to this Agreement shall not be prevented from taking proceedings
                  relating to a Dispute in any other courts with jurisdiction. To the extent allowed by
                  law, the parties may take concurrent proceedings in any number of jurisdictions.
            (g)   The parties irrevocably consent to service of process or any other documents in
                  connection with proceedings in any court by personal service at any address
                  specified in Clause 19, by mail, by facsimile or in any other manner permitted by
                  English law, or by the law of the place of service and the law of the jurisdiction
                  where proceedings are instituted.
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     IN WITNESS WHEREOF the parties to this Agreement have executed this Agreement as of the
     date first above written.
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                                           SIGNATURES

    The Client

    SIGNED BY 9401,904)   e.  4011fr           )
    for and on behalf of                       )
    The Goldstein Law Group PC 401(K) Profit   )
    Sharing Plan FB0 Sheldon and Scott
    Goldstein


    The Custodian

    SIGNED BY
    for and on behalf of
    E D & F MAN CAPITAL MARKETS LIMITED                 Verrona Browne   Sharon Heath
                                                        COO Operations   Compliance / Documentation
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                                       SECURITY AND SET-OFF DEED

    THIS SECURITY AND SET-OFF DEED is made on 21 June 2012.

    BETWEEN:

    (1)   E D & F MAN CAPITAL MARKETS LIMITED, registered in England and Wales with company
          number 1292851, whose registered office is at Cottons Centre, Hay's Lane, London, 5E1 2QE in
          its capacity as chargee (the "Chargee"); and
    (2)   E D & F MAN CAPITAL MARKETS LIMITED , registered in England and Wales with company
          number 1292851, whose registered office is at Cottons Centre, Hay's Lane, London, 5E1 2QE in
          its capacity as Custodian under the Custody Agreement (the "Custodian"); and
    (3)   THE GOLDSTEIN LAW GROUP PC 401(K) PROFIT SHARING PLAN FRO SHELDON AND
          SCOTT GOLDSTEIN (the "Chargor").

    1.    DEFINITIONS

    1.1   Definitions

          Capitalised terms in this Deed have the meaning given to them below

          "Business Day" means a day on which TARGET is open.

          "Charged Property" means the property, assets, undertaking and rights for the time being
          comprised in or subject to the security interests created by this Deed;

          "Custody Accounts" has the meaning given to such term in the Custody Agreement, including
          all credit balances now or at any time in future on such accounts, all debts from time to time
          represented by such credit balances and all other rights accruing or arising in relation to each of
          such accounts;

          "Custody Agreement" means the custody agreement dated on or about the date hereof
          between the Chargor and the Custodian;

          "Derived Investments" means all present and future rights, moneys and property whatsoever
          which may from time to time or at any time be derived from, accrue on or be offered in respect
          of the Investments whether by way of redemption, conversion, exchange, substitution, bonus or
          otherwise;

          "Enforcement" (and all grammatical variations or derivations thereof) means the taking of steps
          (or attempting to do so) by the Chargee to:

          (a)   sell, repossess or take possession of any rights or assets the subject of the security
                conferred by this Deed; or
          (b)   appoint an administrator in respect of the Chargor, or
          (c)   enforce any security interest created by or pursuant to this Deed or to exercise any rights
                or powers in relation to enforcement conferred by this Deed after the security conferred
                by this Deed has become enforceable,

          unless such action is taken to preserve or protect (rather than to enforce) such security interest.
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        "Event of Default" means the occurrence of any of the following events:

        (a)   the Chargor fails to perform any of its obligations under the Transaction Documents; or
        (b)   a Bridging Event (as defined in the ISDA Master Agreement) and a default, event of
              default or other similar condition or event (however described) in respect of the Chargor
              under any Transaction Document; or
        (c)   an event of default (howsoever described) or termination event (howsoever described)
              occurs under any of the Transaction Documents; or
        (d)   any representation made by the Chargor under the Custody Agreement is untrue when
              made; or
        (e)   a material adverse change occurs, in the opinion of the Chargee, in the financial
              condition, results of operations or business of the Chargor, or
        (0    the Chargor becomes or is deemed for the purposes of any law to be insolvent or unable
              to pay its debts as they fall due, or the value of its assets is less than the amount of its
              liabilities (taking into account contingent and prospective liabilities); or
        (g)   any step is taken with a view to a composition or similar arrangement with any of its
              creditors by the Chargor, or with a view to rescheduling or avoiding default or a
              moratorium or suspension of payments in relation to any of its debts or any analogous
              procedure or step is taken in any jurisdiction; or
        (h)   any step is taken with a view to the winding-up or reorganisation of, or the appointment
              of an administrator, receiver or administrative receiver in relation to, the Chargor or any
              of its assets, or the holder of any Security over any asset of the Chargor takes any step to
              enforce that Security or any analogous procedure or step is taken in any jurisdiction; or
        (i)   any asset of the Chargor is subject to attachment or execution or similar process; or
        (j)   it becomes unlawful or impossible for the Chargee to perform any of its obligations or to
              fund amounts outstanding under any Transaction Document or
        (k)   it becomes unlawful for the Chargor to perform any of its obligations under any
               Transaction Document or the Chargor repudiates, or threatens to repudiate, any
               Transaction Document.

        "Investment" means the Securities, all Derived Investments, all dividends, interest and other
        distributions and income paid or payable in respect of the Securities, or any Derived
        Investments, all rights from time to time attached to any of the foregoing, all rights to acquire
        the foregoing and all proceeds of sale of any of the foregoing;

        15DA Master Agreement" means the ISDA Master Agreement dated on or about the date
        hereof between the Chargor and Deutsche Bank Custody Services or BNP Paribas Security
        Services , including all confirmations or transactions entered into under or in accordance with
        that agreement;

         "LPA 1925" means the Law of Property Act 1925;

         "Relevant Business Day" means a day on which TARGET is open and securities markets are
         open for trading in the place in which the exchange is situated on which relevant Securities are
         traded and in such other place(s) as the Bank may notify to the Borrower from time to time.
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          "Secured Liabilities" means all moneys and liabilities whatsoever which now are or at any time
          hereafter may (whether before or after demand) become due, owing or payable to the Chargee
          by the Chargor, whether actually or contingently and whether owed jointly or severally or in any
          other capacity whatever, under or in respect of any of the Transaction Documents, together
          with all costs (including legal costs), charges, expenses and damages sustained or incurred by
          the Chargee in connection with the Transaction Documents or in connection with the
          enforcement, defence or protection of the security constituted by this Deed or the appointment
          of any receiver or other insolvency practitioner, delegate or sub-delegate hereunder or the
          pursuit of any rights herein contained or under or in connection with the other Transaction
          Documents;

          "Securities" means all securities and cash from time to time credited to or recorded in the
          Custody Accounts;

          "TARGET" means the Trans-European Automated Real-time Gross settlement Express Transfer
          (TARGET) system;

          "Terms of Business" means any applicable terms of business under which the Chargee, in any
          capacity, provides services to the Chargor; and

          "Transaction Documents" means:

          (a)       the Custody Agreement;

          (b)       this Deed;

          (c)       any Terms of Business;

          (d)       the ISDA Master Agreement; and

          (e)       any other document designated as such by the Chargor and the Chargee.

    1.2   Construction of particular terms

          In this Deed, unless otherwise specified, any reference to:

          (a)   "assets" includes properties, revenues and rights of every kind, present, future and
                contingent and whether tangible or intangible;
          (b)   "authorisation" or "consent" shall be construed as including, without limitation, any
                authorisation, consent, approval, resolution, licence, exemption, filing, notarisation or
                registration;
          (c)   a "company" includes any company, corporation or other body corporate, wherever and
                however incorporated or established;
          (d)   "this Deed" or any other agreement or instrument is a reference to this Deed or other
                agreement or instrument as it may have been amended, supplemented, replaced or
                novated from time to time and includes a reference to any document which amends,
                supplements, replaces, novates or is entered into, made or given pursuant to or in
                accordance with any of the terms of this Deed or, as the case may be, the relevant deed,
                 agreement or instrument
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         (e)    "indebtedness" includes any obligation (whether incurred as principal or as surety) for
                the payment or repayment of money, whether present or future, actual or contingent
         (f)    "law" includes common or customary law, principles of equity and any constitution, code
                of practice, decree, judgement decision, legislation, order, ordinance, regulation, bye-law,
                statute, treaty or other legislative measure in any jurisdiction or any present or future
                directive, regulation, guideline, request rule or requirement (in each case, whether or not
                having the force of law but if not having the force of law, the compliance with which is in
                accordance with the general practice of persons to whom the directive, regulation,
                guideline, request rule or requirement is intended to apply) of any governmental,
                intergovernmental or supranational body, agency, department or regulatory, self-
                regulatory or other authority or organisation;
         (g)    a "person" includes any natural person, firm, company, corporation, undertaking,
                government, state or agency of a state, any local or municipal authority, trust any
                association or partnership (whether or not having separate legal personality) of two or
                more of the foregoing or other legal entity;
         (h)    a "regulation" includes any regulation, rule, official directive, request or guideline (in
                each case, whether or not having the force of law but if not having the force of law, the
                compliance with which is in accordance with the general practice of persons to whom the
                regulation, rule, official directive, request or guideline is intended to apply) of any
                governmental, intergovernmental or supranational body, agency, department or
                regulatory, self-regulatory or other authority or organisation;
         (i)    "rights" includes all rights, title, benefits, powers, privileges, interests, claims, authorities,
                discretions, remedies, liberties, easements, quasi easements and appurtenances (in each
                case, of every kind, present, future and contingent);
         (j)    "security" or "security interest" includes any mortgage, charge, pledge, lien, security
                assignment hypothecation or trust arrangement for the purpose of providing security
                and any other encumbrance or security interest of any kind having the effect of securing
                any obligation of any person (including, without limitation, the deposit of moneys or
                property with a person with the intention of affording such person a right of set-off or
                lien) and any other agreement or any other type of arrangement having a similar effect;
                and
         (k)    "subsidiary" means a subsidiary within the meaning of section 1159 of the Companies
                Act 2006 and a subsidiary undertaking within the meaning of section 1161 of the
                Companies Act 2006.

    2.   INTERPRETATION

         (a)    Words importing the singular shall include the plural and vice versa.
         (b)    Unless a contrary indication appears, a reference to any party or person shall be
                construed as including its and any subsequent successors in title, permitted transferees
                and permitted assigns, in each case in accordance with their respective interests.
         (c)    Unless a contrary indication appears, a reference to a time of day shall be construed as
                referring to London time.
          (d)   Section, clause and Schedule headings are for ease of reference only and shall be ignored
                in construction.
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          (e)   Unless a contrary indication appears, references to any provision of any law or regulation
                are to be construed as referring to that provision as it may have been, or may from time
                to time be, amended or re enacted, and as referring to all bye laws, instruments, orders
                and regulations for the time being made under or deriving validity from that provision.
          (f)   A reference to any document is a reference to that document as amended, restated,
                supplemented, novated or replaced from time to time (except where the context
                otherwise requires).

    3.    DELIVERY OF SECURITIES

          The Chargor covenants with the Chargee that it will, upon acquiring the Securities, deliver those
          Securities to the relevant Custody Account or to such other account as the Chargee, in its
          capacity as custodian under the Custody Agreement, shall notify to the Chargor.

    4.    COVENANT TO DISCHARGE SECURED LIABILITIES

          The Chargor covenants with the Chargee that it will pay and discharge to the Chargee the
          Secured Liabilities at the time or times when, in the manner in which and in the currencies in
          which, they are expressed to be due and payable under the Transaction Documents.

    5.    SECURITY

    5.1   Fixed Charge and assignment

          (a)   The Charger with full title guarantee, hereby charges by way of first fixed legal mortgage
                to the Chargee, as a continuing security for the full and punctual payment or discharge of
                the Secured Liabilities, all of its rights, title, interest and benefit, present and future, in, to
                and under the Investments;
          (b)   The Chargor with full title guarantee, hereby charges by way of first fixed legal mortgage
                to the Chargee, as a continuing security for the full and punctual payment or discharge of
                the Secured Liabilities, all of its rights, title, interest and benefit, present and future, in, to
                and under the Custody Accounts; and
          (c)   The Chargor with full title guarantee, as a continuing security for the full and punctual
                payment or discharge of the Secured Liabilities, hereby assigns absolutely and charges by
                way of first fixed charge to the Chargee all of its rights under the Custody Agreement, the
                assignment of which is hereby notified to, and acknowledged by the Custodian.

    5.2   Floating Charge

          (a)    Creation of Floating Charge

                 The Chargor with full title guarantee, hereby charges by way of floating charge, all its
                 present and future rights and interests in the Charged Property expressed to be assigned
                 or charged by clause 5.1 (Fixed Charge and assignment).

          (b)    Ranking

                 The floating charge created by the Chargor in clause 5.2(a) (Creation of Floating Charge)
                 shall rank behind all the fixed charges and mortgages created by clause 5.1 (Fixed Charge
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               and assignment) but shall rank in priority to any other security created by it after the date
               of this Deed.

         (c)   Crystallisation by notice from Chargee

               The Chargee may, at any time after an Event of Default has occurred or if the Chargee
               considers any of the Charged Property to be in danger of being seized or sold under any
                form of distress, attachment, execution or other legal process or to be otherwise in
               jeopardy, convert the floating charge created by clause 5.2(a) (Creation of Floating
                Charge) into a fixed charge on all or such of the Charged Property of the Chargor as shall
               be specified (whether generally or specifically) by notice to the Chargor.

         (d)   Automatic crystallisation

               In the event that, without the prior written consent of the Chargee:

               (i)     the Chargor creates or permits to subsist any security interest on, over or with
                       respect to any of the Charged Property, or attempts to do so; or
               (ii)    any person levies or attempts to levy any distress, attachment, execution or other
                       legal process against any of the Charged Property; or
               (iii)   an administrator is appointed in respect of the Chargor,

               the floating charge created by this Deed shall, with effect from the instant before such
               event occurs, automatically convert into a fixed charge over the Charged Property which
               is the subject of such security interest or process or, in the case of the appointment of an
               administrator, over all of the Charged Property.

    6.   PERFECTION OF SECURITY

         The Chargor shall, if requested by the Chargee, promptly deliver to the Chargee:

         (a)   all certificates, documents of title and other documentary evidence of ownership in
               relation to the Investments; and
         (b)   transfers of the Investments duly executed by it or its nominee with the name of the
               transferee left blank or, if the Chargee so requires, in favour of the Chargee or its
               nominee and duly stamped.

    7.   CONTINUING SECURITY

         (a)   The security created by this Deed shall be a continuing security and will extend to the
               ultimate balance of all the Secured Liabilities regardless of any intermediate discharge or
               payment in whole or in part and notwithstanding any settlement of account or the
               existence at any time of a credit balance on any current or other account or any other act.
         (b)   The covenants and provisions of this Deed shall remain in force from the date of this
               Deed for so long as any of the Secured Liabilities are outstanding or any security interest
               created under this Deed has not been released or discharged.
         (c)   The security created by this Deed is intended to secure further advances.
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    8.    ADDITIONAL SECURITY

          The security created by this Deed and the rights of the Chargee under this Deed shall be in
          addition to, and not prejudiced by, any other security or guarantee or any other right which the
          Chargee has in respect of or in connection with any or all of the Secured Liabilities. All such
          rights may be exercised from time to time as often as the Chargee may deem expedient.

    9.    IMMEDIATE RECOURSE

          The Chargee need not before exercising any of the rights, title, benefit and interest conferred
          upon it by this Deed or by law (i) take action or obtain judgement against the Chargor or any
          other person in any court, (ii) make or file any claim or proof in the liquidation of the Chargor or
          any other person or (iii) enforce or seek to enforce the recovery of the moneys and liabilities
          hereby secured or enforce or seek to enforce any other security interest or guarantee.

    10.   WAIVER OF DEFENCES

          (a)   Without prejudice to the provisions of this Deed, neither this Deed nor the security
                created under this Deed nor the liability of the Chargor for the Secured Liabilities shall be
                prejudiced or affected by.

                (i)      any variation or amendment of, or waiver or release granted under or in
                         connection with, any other security or any guarantee or indemnity or other
                         document or
                (ii)     any time or waiver granted, or any other indulgence or concession granted, by the
                         Chargee to the Chargor or any other person; or
                 (iii)   the taking, holding, failure to take or hold, varying, realisation, non-enforcement
                         non-perfection or release by the Chargee or any other person of any other security
                         or any guarantee or indemnity or other document or
                 (iv)    the insolvency, administration, reorganisation, liquidation or dissolution of, or any
                         analogous proceeding in respect of, the Chargor or any other person; or
                 (v)     any change in the constitution of the Chargor; or
                 (vi)    any amalgamation, merger or reconstruction that may be effected by the Chargee
                         with any other person, including any reconstruction by the Chargee involving the
                         formation of a new company and the transfer of all or any of its assets to that
                         company, or any sale or transfer of the whole or any part of the undertaking and
                        assets of the Chargee to any other person; or
                 (vii) the existence of any claim, set-off or other right which the Chargor may have at
                        any time against the Chargee or any other person; or
                 (viii) the making or absence of any demand for payment or discharge of any Secured
                        Liabilities on the Chargor or any other person, whether by the Chargee or any
                         other person; or
                 (ix)    any arrangement or compromise entered into by the Chargee with the Chargor or
                         any other person; or
                 (x)     any other thing done or omitted or neglected to be done by the Chargee or any
                         other person or any other dealing, fact, matter or thing which, but for this
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                       provision, might operate to prejudice or affect any of the security interests created
                       under this Deed or the liability of the Chargor for the Secured Liabilities.

          (b)   No delay or omission by the Chargee in exercising any right provided by law or under
                this Deed shall impair, affect, or operate as a waiver of, that or any other right. The single
                or partial exercise by the Chargee of any right shall not preclude or prejudice any other
                or further exercise of that, or the exercise of any other, right. The rights of the Chargee
                under this Deed are in addition to and do not affect any other rights available to it by
                law.

    11.   FURTHER ASSURANCE

          In addition and without prejudice to any other provision of this Deed, the Chargor shall, at the
          request of the Chargee but at its own cost, promptly take whatever action the Chargee may
          from time to time require:

          (a)   to ensure that the security intended to be created by this Deed is and remains valid,
                legally binding and enforceable;
          (b)   to perfect, preserve or protect the security interests created or intended to be created
                under this Deed; and
          (c)   to facilitate the exercise of any and all of the rights vested or intended to be vested in the
                Chargee by or pursuant to this Deed and to facilitate the realisation of the Charged
                Property;

          and for such purposes it shall in particular, but without limitation, execute all such documents,
          transfers, conveyances, assignments and assurances in respect of the Investments and give all
          such notices, orders, instructions and directions as the Chargee may require.

    12.   EXERCISE OF RIGHTS

          (a)   Each of the assignments, mortgages and charges on the terms set out in clause 5
                constitutes and effects an immediate and full mortgage, charge and assignment of the
                Charged Property and shall be effective, and the security intended to be created by this
                 Deed shall be constituted, immediately upon its execution.
          (b)    Notwithstanding but without prejudice to clause 12(a) above, the Chargee agrees that,
                 subject to clause 12(c) below, the Chargor shall continue to be entitled to receive
                 payments and to exercise all of the rights, powers, discretions, claims and remedies which
                 would (but for this Deed) be vested in the Chargor under and in respect of the Charged
                 Property unless and except to the extent that either the Chargee requires otherwise.
          (c)    Nothing in this clause 12 limits or affects the rights of the Chargee under clause 17.

    13.   COVENANTS

    13.1 General

          The Chargor covenants with the Chargee that from the date of this Deed for so long as any of
          the Secured Liabilities are outstanding or any security interest created under this Deed has not
          been released or discharged:
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          (a)   it shall not without the prior written consent of the Chargee at any time be entitled to, or
                agree or seek to, withdraw or require the repayment of, and the Chargee shall be under
                no obligation to repay or redeliver, all or any part of any credit balance on the Custody
                Accounts until all Secured Liabilities have been unconditionally and irrevocably paid or
                discharged in full and the Chargor does not have any further liability or obligation under
                any Transaction Document
          (b)   it shall not create or permit to subsist any security interest over any of the Charged
                Property without the prior written consent of the Chargee save for the security interests
                created by or pursuant to this Deed;
          (c)   it shall promptly obtain, comply with and do all that is necessary to maintain in full force
                and effect any authorisation required under any law or regulation of its jurisdiction of
                incorporation to enable it to create security and perform its obligations under this Deed
                and to ensure the legality, validity, enforceability or admissibility in evidence in its
                jurisdiction of incorporation of this Deed and the security created under this Deed;
          (d)   it shall comply in all respects with all laws and regulations to which it may be subject, if
                 failure so to comply would materially impair the security created under or evidenced by
                this Deed or its ability to perform its obligations under this Deed;
          (e)   it shall remain liable to observe and perform all of the obligations and liabilities assumed
                by it under or in respect of the Charged Property to the same extent as if the security
                interests under this Deed had not been created:
          (f)   it shall duly and promptly pay, and indemnify the Chargee against all calls and other
                moneys which may lawfully be required to be paid and other liabilities that may be
                sustained, incurred or made against the Chargee in respect of the Investments;
          (g)   it shall notify the Chargee immediately on the occurrence of any Event of Default.

    13.2 Custodian direction

          The Chargor hereby irrevocably directs the Custodian, and the Custodian agrees with each of
          the Chargor and the Chargee that, until such time as the Custodian receives written notice from
          the Chargee that all Secured Liabilities have been unconditionally and irrevocably paid or
          discharged in full and the Chargor does not have any further liability or obligation under any
          Transaction Document, the Custodian shall not act on any Client Instructions (as that term is
          defined in the Custody Agreement) without the prior consent of the Chargee.

    14.   SET-OFF

          (a)   The Chargee may, at any time, apply the Charged Property, or any of it, to satisfy any
                obligations of the Chargor to the Chargee under any Transaction Document.
          (b)   The Chargee reserves the right as against the Chargor to effect a set off between any
                obligation of the Chargee (actual or contingent) to make a payment to the Chargor
                under any Transaction Document and any obligation of the Chargor (actual or
                contingent) to make a payment to the Chargee under any Transaction Document. This
                right is in addition to the Chargee's rights under any Terms of Business, the ISDA Master
                Agreement and the Chargee's legal and equitable rights of set off and combination of
                account, whether arising by agreement (express or implied), operation of law or custom
                 or otherwise.
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          (c)   The Chargee may but shall be obliged to notify the Chargor upon its exercise of any of its
                rights under this Clause 14.

    15.   LIABILITY OF THE CHARGEE

    15.1 Possession

          If the Chargee shall take possession of the Charged Property, it or he may at any time relinquish
          such possession.

    15.2 Chargee's liability

          The Chargee will not in any circumstances (whether by reason of taking possession of the
          Charged Property or for any other reason whatsoever and whether as mortgagee in possession
          or on any other basis whatsoever):

          (a)   be liable to account to the Chargor or any other person for anything except the
                Chargee's own actual receipts; or
          (b)   be liable to the Chargor or any other person for any costs, charges, losses, damages,
                liabilities or expenses arising from or connected with any realisation of the Charged
                Property or from any act, neglect, default, omission or misconduct of any nature of the
                Chargee, or any of its officers, employees or agents in relation to the Charged Property,
                except to the extent that they shall be caused by the fraud or wilful default or gross
                negligence of the Chargee or any of their respective officers, employees or agents.

    15.3 Indemnity

          The Chargee shall be entitled to be indemnified out of the Charged Property in respect of all
          liabilities and expenses incurred by any of them in the execution or purported execution of any
          of its rights and against all actions, proceedings, costs, claims and demands in respect of any
          matter or thing done or omitted in anyway relating to this Deed or the Charged Property, and
          the Chargee may retain and pay all sums in respect of them out of any moneys received.

          The obligations contained in this clause 15.3 shall survive the expiration of this Deed.

    16.   RELEASE

    16.1 Discharge of Secured Liabilities

          (a)   If the Chargee is satisfied that all Secured Liabilities have been unconditionally and
                irrevocably paid or discharged in full then the Chargee shall at the request and cost of
                the Chargor release and discharge the security constituted by this Deed or such part
                thereof as may still be subsisting and vested in the Chargee from the security created
                 under this Deed.
          (b)    Any re-assignment, release, settlement or discharge (whether in respect of any of the
                 Secured Liabilities or any security for those liabilities or otherwise) shall be conditional
                 upon no payment to, or security provided to, the Chargee in respect of the relevant
                 Secured Liabilities being avoided, invalidated or reduced or required to be restored or
                 paid away by virtue of any requirement having the force of law.
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    16.2 Request for Release

          Notwithstanding the provisions of Clause 16.1, the Chargor shall be entitled to request the
          release of an Investment from the security constituted by this Deed at any time but not fewer
          than 4 Relevant Business Days prior to the date of requested release, such release to be at the
          Chargee's absolute discretion. In connection with any request, the Chargee shall be entitled to
          require evidence in a form satisfactory to the Chargee that the Chargor is able to discharge the
          Secured Liabilities.

    17.   ENFORCEMENT

    17.1 Security enforceable

          (a)   Immediately upon and at any time after the occurrence of an Event of Default, the
                security created by this Deed shall become enforceable and the Chargee shall be entitled
                (whether or not it shall have taken possession or appointed a receiver) without notice or
                further demand to exercise all the rights, powers and remedies possessed by it according
                to law as a secured party in respect of the Charged Property in any manner it sees fit and
                to:

                (i)     demand and receive all and any monies due under or arising out of the Charged
                        Property and apply them in or towards the payment or discharge of the Secured
                        Liabilities;
                (ii)    exercise in relation to the Charged Property all such rights as the Chargor was then
                        entitled to exercise in relation to the Charged Property or might, but for the terms
                        of this Deed;
                (iii)   apply, set off or transfer any or all of the Charged Property in or towards the
                        payment or other satisfaction of the Secured Liabilities or any part of them; and
                (iv)    the Chargee shall be entitled and authorised to arrange for any of the Investments
                        which are in registered form to be registered in the name of the Chargee or its
                        nominee or any purchaser.

          (b)   If an Event of Default has occurred, the Chargee shall be entitled, without prior notice to
                the Chargor or prior authorisation from any court, to sell or dispose of all or any part of
                the Charged Property at the times and in the manner and on the terms it sees fit. The
                Chargee shall be entitled to apply the proceeds of that sale or disposal in paying the
                costs of that sale or disposal and in or towards the discharge of the Secured Liabilities.

    17.2 Power of sale

          (a)    Notwithstanding any other provisions of this Deed, the Secured Liabilities shall be
                 deemed for the purposes of section 101 of the LPA 1925 to have become due and
                 payable within the meaning of section 101 of the LPA 1925, and the power of sale and
                 other powers conferred on mortgagees by the LPA 1925 as varied or extended by this
                 Deed including the power to appoint a receiver or an administrative receiver shall arise,
                 immediately on execution of this Deed.
          (b)    Section 103 of the LPA 1925 shall not restrict the exercise by the Chargee of the statutory
                 power of sale conferred on it by section 101 of the LPA 1925 which power may be
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                exercised by the Chargee without notice to the Chargor on or at any time after the
                occurrence of an Event of Default and the provisions of the LPA 1925 relating to and
                regulating the exercise of the said power of sale shall, so far as they relate to the Charged
                Property, be varied and extended accordingly.
          (c)   Sub-section 109(1) of the LPA 1925 shall not apply to this Deed.

    17.3 Consolidation

          The Chargee shall, so far as it is lawful, be entitled to consolidate all or any of the security
          created under this Deed with any other securities whether now in existence or hereafter created.
          The restriction on the right of consolidating mortgage securities which is contained in sub-
          section 93(1) of the LPA 1925 shall not apply to this Deed.

    17.4 Other rights

          At any time after an Event of Default has occurred, the Chargee shall do all such ads and things
          it may consider necessary or expedient for the realisation of any of the Charged Property or
          incidental to the exercise of any of the rights conferred on it under or in connection with this
          Deed or under applicable law.

    17.5 Appropriation

          To the extent that any of the Charged Property constitutes "financial collateral" and this Deed
          and the obligations of the Chargor hereunder constitute a "security financial collateral
          arrangement" (in each case for the purposes of the Financial Collateral Arrangements (No. 2)
          Regulations (SI 2003/3226)) the Chargee shall have the right to appropriate all or any part of
          such financial collateral in or towards discharge of the Secured Liabilities.

    18.   ATTORNEY

          (a)    The Chargor irrevocably and by way of security for the performance of its obligations
                 under this Deed appoints the Chargee, every receiver and every delegate of the Chargee
                 severally to be the attorney of the Chargor on its behalf and in its name or otherwise and
                 as its act and deed, at such time and in such manner as the attorney may think fit:

                 (i)    to take any action which it is obliged to take under this Deed or the other
                        Transaction Documents but has not taken promptly following a request to do so
                        from the Chargee; and
                 (ii)   to take whatever action may be required for enabling the Chargee to exercise all or
                        any of the rights, powers, authorities and discretions conferred on them by or
                        pursuant to this Deed, the other Transaction Documents or by law,

                 and the taking of action by the attorney or attorneys shall (as between it and any third
                 party) be conclusive evidence of its right to take such action.

          (b)    The Chargor undertakes to ratify and confirm everything that any attorney does or
                 purports to do in the exercise or purported exercise of the power of attorney under this
                 Clause 18.
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    19.   GOVERNING LAW AND JURISDICTION

          (a)   This Deed is governed by, and shall be construed in accordance with, the laws of England.
          (b)   The courts of England have non-exclusive jurisdiction to settle any dispute arising out of
                or in connection with this Deed (including a dispute regarding the existence, validity or
                termination of this Deed) (a "Dispute").
          (c)   The parties to this Deed agree that the courts of England are the most appropriate and
                convenient courts to settle Disputes and accordingly no party will argue to the contrary.
          (d)   The parties to this Deed shall not be prevented from taking proceedings relating to a
                Dispute in any other courts with jurisdiction. To the extent allowed by law, the parties
                may take concurrent proceedings in any number of jurisdictions.

    20.   SERVICE OF PROCESS

          The parties irrevocably consent to service of process or any other documents in connection with
          proceedings in any court by personal service at any address specified below, by mail, by
          facsimile or in any other manner permitted by English law, or by the law of the place of service
          and the law of the jurisdiction where proceedings are instituted.

    21.   PARTIAL INVALIDITY

          If, at any time, any provision of this Deed is or becomes illegal, invalid or unenforceable in any
          respect under the law of any jurisdiction, neither the legality, validity or enforceability of the
          remaining provisions hereof nor the legality, validity or enforceability of such provision under
          the law of any other jurisdiction shall in any way be affected or impaired thereby.

    22.   NOTICES

    22.1 Communications in writing

          Any communication to be made under or in connection with this Deed shall be made in writing
          and, unless otherwise stated, may be made by fax, e-mail or letter.

    22.2 Addresses

          The address, e-mail address and fax number (and the department or officer, if any, for whose
          attention the communication is to be made) of each Party for any communication or document
          to be made or delivered under or in connection with this Deed is that identified with its name
          below or any substitute address, e-mail address, fax number or department or officer as the
          Party may notify to the other Parties by not less than five Business Days' notice.

    22.3 Delivery

          (a)    Any communication or document made or delivered by one person to another under or
                 in connection with this Deed will only be effective:

                 (i)    if by way of fax, when received in legible form; or
                 (ii)   if by way of e-mail, at the time that the e-mail is sent for the attention of the legal
                        department and trading contact and the sender's e-mail system shall not
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                        immediately thereafter have generated an unsuccessful transmission report, and, in
                        either case, if made to the Chargee, only if addressed in such manner as the
                        Chargee may from time to time specify for this purpose; or
                (iii)   if by way of letter, when it has been delivered at the relevant address noted on
                        page one or, in the case of posting, upon one Business Day after the date of
                        registered or recorded delivery posting addressed to it at that address,

                and, if a particular department or officer is specified as part of its address details
                provided under clause 22.2 (Addresses), if addressed to that department or officer.

          (b)   Any communication or document to be made or delivered to the Chargee will be
                effective only when actually received by the Chargee and then only if it is expressly
                marked for the attention of the department or officer identified with the Chargee's
                signature below (or any substitute department or officer as the Chargee shall specify for
                this purpose).

    22.4 English language

          Any notice given under or in connection with this Deed must be in English.

    23.   THIRD PARTY RIGHTS

          The Parties do not intend that any term of this Deed should be enforceable by virtue of the
          Contracts (Rights of Third Parties) Act 1999, by any person who is not a party to this Deed.

    24.   ASSIGNMENT

          (a)   The rights, interests and obligations of the Chargor under this Deed are personal to it.
                Accordingly, they are not capable of being assigned, transferred or delegated in any
                manner. The Chargor undertakes that it shall not at any time assign or transfer any of its
                rights, interests or obligations under or in respect of this Deed to any person.
          (b)   The Chargee may, at any time, without the consent of the Chargor, assign or transfer any
                of its rights and obligations under this Deed.

    25.   EXECUTION AS A DEED

          Each of the parties to this Deed intends it to be a deed and confirms that it is executed and
          delivered as a deed, in each case notwithstanding the fact that any one or both of the parties
          may only execute this Deed under hand.

    26.   COUNTERPARTS

          This Deed may be executed in any number of counterparts, and by the parties on separate
          counterparts, but will not be effective until each party has executed at least one counterpart.
          Each counterpart shall constitute an original of this Deed, but all the counterparts will together
          constitute one and the same instrument.
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    27.   MISCELLANEOUS

          Telephone conversations between the Chargee and Chargor may be recorded and monitored
          by the Chargee and any recording may be used as evidence in the case of a dispute.



    IN WITNESS of which this document has been executed as a deed and delivered on the date stated at
    the beginning of this Deed.
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                                             SIGNATURES

   EXECUTED as a deed for and on behalf of     )
   THE GOLDSTEIN LAW GROUP PC                  )
   401(K) PROFIT SHARING PLAN FRO              )
   SHELDON AND SCOTT GOLDSTEIN by              )
   stook) e
   being [a person/persons who], in
   accordance with the laws of its
   jurisdiction of incorporation, are duly
   authorised to executed this deed on its
    behalf
    Address for notices or other
    communications
    Address:                                        61 Broadway
    Attention:                                      Suite 1915
    Facsimile No:                                   New York
    Telephone No:                                   NY 10006
                                                    USA



    EXECUTED as a deed by
    E D & F MAN CAPITAL MARKETS
    LIMITED as Chargee
    acting by its attorney
                                                )
                                                )
                                                )
                                                )
                                                                       LA. qtrasoku
                                                                   Verrona Browne
                                                                                    Sharon Heath
                                                )                  COO Operations   Compliance / Documentation
    in the presence of:
    Signature of witness:

    Name (in BLOCK CAPITALS)
    Address:



    Address for notices or other
    communications
    Address:                                         Cottons Centre,
    Attention:                                       Hay's Lane,
    Facsimile No:                                    London,
    Telephone No:                                    SE12QE
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    EXECUTED as a deed by
    E D & F MAN CAPITAL MARKETS
    UMITED as Custodian
    acting by its attorney                        Verrona Browne   Sharon HeathDocumentation
                                                  COO Operations   Compliance I
    in the presence of:
    Signature of witness:

    Name (in BLOCK CAPITALS)
    Address:




    Address for notices or other
    communications
    Address:                         Cottons Centre,
    Attention:                       Hay's Lane,
    Facsimile No:                    London,
    Telephone No:                    SE1 2QE
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ED&F
MAN                                              E D & F MAN CAPITAL MARKETS LIMITED


  21 June 2012

  The Goldstein Law Group PC 401(K) Profit Sharing Plan FBO Sheldon and Scott Goldstein
  61 Broadway
  Suite 1915
  New York
  NY 10006
  USA


  Dear Sirs:

  We refer to:

      (a) the Security and Set-Off Deed dated 21 June 2012 between E D & F Man Capital Markets
          Limited (hereinafter "us") and The Goldstein Law Group PC 401(K) Profit Sharing Plan FBO
          Sheldon and Scott Goldstein (hereinafter "you") ("Security and Set-Off Deed");
      (b) the ISDA Master Agreement entered into between us and you on 21 June 2012 ("ISDA Master
          Agreement");
      (c) the Custody Agreement entered into between us and you on 21 June 2012 ("Custody
          Agreement"); and
      (d) any applicable terms of business under which you receive services from us in any capacity
          ("Terms of Business").

  The purpose of this letter is to confirm our agreement that in consideration of the custodian and
  related services provided by us in connection with our entering into with, or arranging for you the
  above agreements and transactions (including any related or supporting transactions), together with
  our effecting with or for you any subsequent, similar transactions (each, a "Transaction"), you shall
  pay to us a fee (each, a "Custodian Fee"). Prior to entering into a Transaction, we will agree the
  specific amount of the Custodian Fee to be payable and confirm this with you in writing. Each
  Custodian Fee shall become payable upon settlement of all amounts for each Transaction, and we will
  subsequently either invoice you or alternatively at our discretion deduct such amounts from any funds
  you hold on account with us.

  For the purposes of:

      (a) the Security and Set-off Deed, this letter agreement is a "Transaction Document";
      (b) the ISDA Master Agreement, this letter agreement, the Custody Agreement, the Security and
          Set-Off Deed and any Terms of Business will constitute Bridged Agreements and be subject to
          the Cross-Agreement Bridge; and
      (c) any Terms of Business, the services and consideration provided under this letter agreement is
          deemed to be a "Netting Transaction".



 Cottons Centre                                                                          Telephone. +44 (0)20 7089 8000
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    ED&F
    MAN
     Please confirm your agreement to be bound by the terms of this letter agreement by executing a copy
     of the letter agreement and returning it to us.

     We are very pleased to have concluded this Transaction with you.



     Yours sincerely,

     E D & F Man Capital Markets:


                                                                By:
                                                                                                                         Sharon Heath
                                                                Name:                                                    Compliance / Document3tion
                                                                                      Verrona Browne
                                                                Title:                COO Operations

                                                                Accepted and agreed for and on behalf of
                                                                The Goldstein Law Group PC 401(K) Profit
                                                                Sharing Plan FBO Sheldgp and Scott Goldstein:

                                                                By:                                > 11
                                                                Name:            514 idp                  607-a 7e ,\)
                                                                Title:




    Cottons Centre                                                                                        Telephone: +44 (0)20 7089 8000
    Hay's Lane                      Authorised and Regulated by the Financial Services Authority
    London SE1 20E                       Registered in England No.1292851
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ED&F
MAN                                                 E D & F MAN CAPITAL MARKETS LIMITED
 13 March 2014

 The Goldstein Law Group PC 401(K) Profit Sharing Plan FBO Sheldon and Scott Goldstein
 61 Broadway
 Suite 1915
 New York
 NY 10006
 USA
 Dear Sirs:

 We refer to the letter agreement dated 21 June 2012 between ED & F Man Capital Markets Ltd
 (hereinafter “us”) and The Goldstein Law Group PC 401(K) Profit Sharing Plan FBO Sheldon and Scott
 Goldstein (hereinafter “you”).

 In consideration of the custodian and related services provided by us in connection with our entering
 into with, or arranging for you the agreements and transactions referred to in the letter agreement
 (including any related or supporting transactions), together with our effecting with or for you the
 specific transaction in respect of 2,200,000 shares in the capital of TDC A/S (TDC DC) (the
 “Transaction”), you shall pay to us a fee of DKK 48,400 (the “Custodian Fee”).

 The Custodian Fee shall become payable upon settlement of all amounts for the Transaction and we
 will subsequently either invoice you or alternatively at our discretion deduct such amounts from any
 funds you hold on account with us.

 Please confirm your agreement to be bound by the terms of this letter agreement by executing a copy
 of the letter agreement and returning it to us.

 We are very pleased to have concluded this Transaction with you.

 Yours sincerely,
 ED & F Man Capital Markets Ltd




 By:
 Name: Steve Hawksworth
 Title: European CEO

                                                              Accepted and agreed for and on behalf of
                                                              The Goldstein Law Group PC 401(K) Profit
                                                              Sharing Plan FBO Sheldon and Scott Goldstein


                                                              By:
                                                              Name:
                                                              Title:


Cottons Centre                                                                                   Telephone: +44 (0)20 7089 8000
Hay’s Lane                        Authorised and Regulated by the Financial Services Authority
London SE1 2QE                         Registered in England No.1292851
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MAN                                                E D & F MAN CAPITAL MARKETS LIMITED
  18 March 2014

  The Goldstein Law Group PC 401(K) Profit Sharing Plan FBO Sheldon and Scott Goldstein
  61 Broadway
  Suite 1915
  New York
  NY 10006
  USA
  Dear Sirs:

  We refer to the letter agreement dated 21 June 2012 between ED & F Man Capital Markets Ltd
  (hereinafter "us") and The Goldstein Law Group PC 401(K) Profit Sharing Plan FRO Sheldon and Scott
  Goldstein (hereinafter "you").

  In consideration of the custodian and related services provided by us in connection with our entering
  into with, or arranging for you the agreements and transactions referred to in the letter agreement
  (including any related or supporting transactions), together with our effecting with or for you the
  specific transaction in respect of 2,000,000 shares in the capital of DANSKE BANK A/S (DANSKE DC)
  (the "Transaction"), you shall pay to us a fee of DKK 40,000 (the "Custodian Fee").

  The Custodian Fee shall become payable upon settlement of all amounts for the Transaction and we
  will subsequently either invoice you or alternatively at our discretion deduct such amounts from any
  funds you hold on account with us.

  Please confirm your agreement to be bound by the terms of this letter agreement by executing a copy
  of the letter agreement and returning it to us.

  We are very pleased to have concluded this Transaction with you.

  Yours sincerely,
  ED & F Man Capital Markets Ltd




  By:
  Name: Steve Hawksworth
  Title: European CEO

                                                            Accepted and agreed for and on behalf of
                                                            The Goldstein Law Group PC 401(K) Profit
                                                            Sharing Plan FBO Sheldon aid Scott Go tein

                                                            By:
                                                            Name:                                    n
                                                            Title: Sc-Z s                 rl   Ids

 Cottons Centre                                                                                  Telephone: +44 (0)20 7089 8000
 Hay's Lane                     Authorised and Rogu/ated by the Financial Services Authority
 London SEI 2QE                      Registered in England No.1292851
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               EXHIBIT K
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ED&F
MAN                                                E D & F MAN CAPITAL MARKETS LIMITED
   25 March 2014

  The Goldstein Law Group PC 401(K) Profit Sharing Plan FBO Sheldon and Scott Goldstein
  61Broadway
  Suite 1915
  New York
  NY 10006
  0
  USA
  Dear Sirs:

  We refer to the letter agreement dated 21 June 2012 between ED & F Man Capital Markets Ltd
  (hereinafter "us") and The Goldstein Law Group PC 401(K) Profit Sharing Plan FBO Sheldon and Scott
  Goldstein (hereinafter "you").

  In consideration of the custodian and related services provided by us in connection with our entering
  into with, or arranging for you the agreements and transactions referred to in the letter agreement
  (including any related or supporting transactions), together with our effecting with or for you the
  specific transaction in respect of 2,000,000 shares in the capital of NOVO NORDISK A/S-B (NOVOB
  DC) (the "Transaction"), you shall pay to us a fee of DKK 90,000 (the 'Custodian Fee").

  The Custodian Fee shall become payable upon settlement of all amounts for the Transaction and we
  will subsequently either invoice you or alternatively at our discretion deduct such amounts from any
  funds you hold on account with us.

  Please confirm your agreement to be bound by the terms of this letter agreement by executing a copy
  of the letter agreement and returning it to us.

  We are very pleased to have concluded this Transaction with you.

  Yours sincerely,
  ED & F Man Capital Markets Ltd




  By:
  Name: Steve Hawksworth
  Title: European CEO

                                                            Accepted and agreed for and on behalf of
                                                            The Goldstein Law Group PC 401(K) Profit
                                                            Sharing Plan FB • Sheldon gnd Scott Ggtfstein


                                                            By.
                                                            Name: 1: ii\oz,        don
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 Cottons Centre                                                                                Telephone: +44 (0)20 7039 8000
 Hay's Lane                     Authorised and Regulated by the Financial Services Authority
 London SE1 2QE                      Regislered inEnAland No.1292851
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                EXHIBIT L
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                                             E D & F MAN CAPITAL MARKETS LIMITED
   01 May 2014

   The Goldstein Law Group PC 401(K) Profit Sharing Plan FBO Sheldon and Scott Goldstein
   61 Broadway
   Suite 1915
   New York
   NY 10006
   USA
   Dear Sirs:

   We refer to the letter agreement dated 21 June 2012 between ED & F Man Capital Markets Ltd
   (hereinafter "us") and The Goldstein Law Group PC 401(K) Profit Sharing Plan FBO Sheldon and Scott
   Goldstein (hereinafter "you").

   In consideration of the custodian and related services provided by us in connection with our entering
   into with, or arranging for you the agreements and transactions referred to in the letter agreement
   (including any related or supporting transactions), together with our effecting with or for you the
   specific transaction in respect of 215000 shares in the capital of D/S NORDEN (DNORD DC) (the
   "Transaction"), you shall pay to us a fee of DKK 10750 (the "Custodian Fee").

   The Custodian Fee shall become payable upon settlement of all amounts for the Transaction and we
   will subsequently either invoice you or alternatively at our discretion deduct such amounts from any
   funds you hold on account with us.

   Please confirm your agreement to be bound by the terms of this letter agreement by executing a copy
   of the letter agreement and returning it to us.

   We are very pleased to have concluded this Transaction with you.

   Yours sincerely,
   ED & F Man Capital Markets Ltd




   By:
   Name: Steve Hawksworth
   Title: European CEO

                                                   Accepted and agreed for and on behalf of
                                                   The Goldstein Law Group PC 401(K) Profit
                                                   Sharing Plan FBO Sheldon and Scott G dstein


                                                   By:
                                                   Name: Sh .el z ion & o ld             y\
                                                   Title: ---—ytt
